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                                       RELATED DDJ                  FILED
                                                              CLERK U.S. DISTRICT COURT

              ROBERT LACAMBRA
              INDIGENT LITIGATOR                                09/23/2021
-NO CV-30 2   NO CURRENT ADDRESS                            CENTRAL DISTRICT OF CALIFORNIA
              robertsjustice@live.com                                  DVE
                                                            BY:                    DEPUTY
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          4                                                   IFP SUBMITTED

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                                    UNITED STATES DISTRICT COURT
         9
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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        11
              ROBERT LACAMBRA,                    CASE NO. 8:21-cv-01563-JWH-(MAA)
        12
              Plaintiff                           VERIFIED COMPLAINT
        13
                    v.
        14                                        28 U.S. CODE ~ 1330 - FSIA
                                                  FOREIGN SOVEREIGN IMMUNITY ACT
        15
              REPUBLIC OF THE PHILIPPINES,
        16    PHILIPPINE CONSULAR GENERAL         BENCH TRIAL COMPULSARY
              OF SAN DIEGO (in his official
        17    and personal capacity),
              PHILIPPINE HONORARY CONSULAR
        18    GENERAL OF LOS ANGELES ( in
              his official and personal
        19    capacity), ROES 1-20
              INCLUSIVE
        20
              Defendants
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    1   1.    May it please the court, Plaintiff Robert Lacambra,

    2   hereinafter referred to as ROBERT, brings this civil action

    3   against Defendants Republic of the Philippines a sovereign nation

    4   hereinafter referred to as "PHILIPPINES," the Philippine Consul

    5   General of San Diego, hereinafter referred to as ~~CONGEN/SD, the

    6   Philippine Consul General of Los Angeles, hereinafter referred to

    7   as "CONGEN/LA" and hereinafter referred to collectively as

    8   ~~DEFENDANTS.

    9   2.    Plaintiff invokes federal and state causes of action

  10    including:

  11            1. Fraud - California Civil Code 1709 ~ 1710

  12            2. Negligence - California Civil Code ~ 1714(a)

  13            3. Negligent Infliction of Emotional Distress

  14            4. Intentional Infliction of Emotional Distress

  15            5. Unruh Civil Rights Act - California Civil Code § 51

  16            6. 42 U.S. Code ~ 1983 - Civil action for deprivation of

  17              rights

  18            7. 42 U.S. Code ~ 2000d - Prohibition against exclusion

  19              from participation

  20            8. California Civil Code ~ 3294 - Punitive Damages

  21

  22    3.    Plaintiff sues defendants individually and severally and

  23    seeks the court's equitable powers to make available for him the

  24    opportunity to seek justice, to right a wrong and to heal. He

  25    alleges upon information and belief, except as to allegations

  26    against him, as follows:

  27    4.    ROBERT sues defendant s) individually and severally and

  28    seeks the court's equitable powers to make available for him the
                                            5
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    1   opportunity to seek justice, to right a wrong and to heal. He

    2   alleges upon information and belief, except as to allegations

    3   against him, as follows:

    4

   5                                 INTRODUCTION

   6    5.       This case is about a homeless man who needs to return to

   7    the land of his birth, but is unable to. He is being denied entry

   8    to his native Philippines because of his homelessness here in the

   9    USA. Thus far, representatives of the Philippine government

  10    have:

  11            1. Delayed his assistance, ignored appointment requests.

  12         2. Scheduled an appointment 30 days out, without good

  13              cause.

  14         3. Cancelled the appointment effectively at the last

  15              minute causing travel cancellation fees.

  16         4. Claimed that an email about the appointment was never

  17              sent/received by/from a colleague.

  18         5. Insisted that ROBERT return for another appointment

  19              despite presenting all documents for a replacement

  20              passport.

  21         6. Deceitfully used COVID-19 as an excuse for denying his

  22              request to obtain a replacement passport.

  23         7. Deceitfully pretended his middle name could not be read,

  24              denying his replacement passport application.

  25         8. Deceitfully pretended the names ROBERTO on a birth

  26              certificate and ROBERT on a California ID was enough to

  27              deny the reissuance of a replacement passport.

  28         9. Deceitfully pretended that all the information they need
                                            6
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    1           to grant his replacement passport application do not

    2           exist in their databases, considering his request is for

    3           the replacement and not a new issuance.

    4

    5   6.    After some 40 years of residence in America, almost 13

    6   years as a homeless individual, it was time to make a change.

   7    Change, they say, is difficult and often only happens because

   8    there is no other choice. The death of his mom in December of

    9   2020 hit him unexpectedly hard, causing the loss of all his jobs,

  10    that which for a while sustained his indigent lifestyle. It was

  11    yet another reversal in his life that reminded him it was time

  12    for something new. A glaring and undeniable reason was that his

  13 ~ mom's estate needed to be settled. The only thing was, he needed

  14    to go half-way around the world to do so.

  15    7.    Before his mother's passing, the idea of returning to his

  16    old country had never even crossed his mind. The last time he was

  17    in the Philippines was in the early eighties. Life is strange

  18    that way, it is often sprinkled with serendipitous events that

  19    lead us somewhere we had not even dreamed of. Looking at it, his

  20    return appears to be a logical step to bring him closer to an

  21    inspiring change he had been seeking. Here in America, he lives

  22    in a broken down and non-drivable 1990 GMC Suburban parked behind

  23    a liquor store in the city of Orange. Over the years he has lost

  24    just about everything and has practically nothing except a few

  25    belongings that are necessary for his unique work and life

  26    situation. There in his old country, his mom left him some land

  27    which he can make of something valuable, to cultivate or develop

        or even sell. Until he makes such a decision, he will have
                                            7
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    1   something, sweet-scented dirt underneath his feet that he can say

    2   is entirely his.

    3   8.    Now that his return is required, he is being hampered by

    4   his old government. They have created barriers and excuses that

    5   serves as nothing more than an enormous impediment to his return.

    6   Laws of every nation instills upon its people certain rights,

    7   including the right to travel freely, especially to his country.

    8   It is a right he feels that he is being deprived of, and that he

    9   wishes to reclaim, with the assistance of this honorable court.

  10

  11                            JURISDICTION AND VENUE

  12    9.    This US District Court, Central District of California has

  13    subject matter jurisdiction over this action pursuant to 28 USC ~

  14    1330 because the Defendants in this action include a foreign

  15    sovereign and their officers who in the course of commercial

  16    activity committed torts in the meaning of US laws, and violated

  17    a treaty with the United States of America.

  18    10.   This US District Court, Central District of California has

  19    subject matter jurisdiction over this action pursuant to 28 USC ~

  20    1350 because the Defendants in this action include a

  21    foreign sovereign and their officers who in the course

  22    of commercial activity committed torts while within the premises

  23    of a consulate, premises defined as foreign sovereign in the

  24    meaning of the Vienna Convention on Consular Relations.

  25    11.   This US District Court, Central District of California has

  26    subject matter jurisdiction over this action pursuant to 28 USC ~

  27    1331 because of a federal question arising from 42 USC 81983

  28    and 42 USC §2000d, in particular for prohibitions on civil rights
                                            8
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    1   deprivations and discriminatory practices by entities that

    2   receive federal financial funds, respectively.

    3   12.   The US District Court, Central District of California has

    4   supplemental jurisdiction over this action pursuant to 28 USC §

    5   1367, for violations of state statutes and common law, and

    6   whereby the causes of action are so inextricably linked with

    7   all other violations alleged.

    8   13.   Furthermore, DEFENDANTS conduct their consular businesses

    9   in the cities of Los Angeles and San Diego California. DEFENDANTS

  10    have had sufficient contact in this district such that the

  11    exercise of jurisdiction would be consistent with traditional

  12    notions of fair play and substantial justice.

  13    14.   Plaintiff individually seeks relief that is within the

  14    jurisdictional limits of this court, which will exceed the amount

  15    of $75,000 including reimbursement damages, attorneys' fees, or

  16    any other element of damages sought in this lawsuit. However, 28

  17    USC § 1330 does not have a monetary value requirement for suits.

  18

  19                         THE PARTIES TO THIS ACTION

  20                                   PLAINTIFF

  21    15.   PLAINTIFF ROBERT is a homeless litigator who resides in a

  22    broken down and non-drivable 1990 GMC Suburban parked behind a

  23    liquor store in the City of Orange, California. For the purpose

  24    of his advocacy, he is a patron of public libraries, cafes and

  25    public spaces where all of his attorney work-product is

  26    produced.

  27    16.   He founded the organization @RobertsJustice, to

  28    perpetuate his lifelong goal of making available "universal
                                            9
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     1   justice," a condition in jurisprudence that guarantees

     2   the aggrieved always prevails irrespective of their social status

     3   or financial condition.

     4

     5                                 DEFENDANTS

     6   17.   The Republic of the Philippines (~~PHILIPPINES") is a

     7   foreign sovereign in the meaning of all treatise and

     8   international conventions. It is an archipelago that is situated

     9   in Southeast Asia. It has a land area of 120,000 sq. miles

    10   comprising approximately 7,600 islands. It has a population

   11    of approximately 110 million people referred to as Filipinos.

   12    18.   On December 10, 1898, the entire Philippine Island chain

   13    was ceded to the United States of America by the Kingdom of Spain

   14    to conclude the Spanish-American War. It was annexed as a

   15    commonwealth of the USA after disbursing payment in the amount

   16    of $20M to Spain, from which an American civilian government

   17    was immediately established.

   18    19.   On December 7, 1900, in clarification of a previous

   19    agreement, the Kingdom of Spain relinquished titles of Cagayan,

   20    Sulu and Sibutu, areas situated in the Southern Philippines and

   21    all its outlying islands and islets to the United States upon

   22    disbursement in the amount of $100,000.

   23    20.   On July 4, 1946, ten months after the conclusion of the

   24    Second World War, the United States granted the Philippine

   25    Islands full independency in accordance with the Philippine

   26    Independence Act (Tydings-McDuffy Act). On the same day,

   27    President Harry S. Truman issued Proclamation 2695 formally

   28    recognizing its independence.
                                            10
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     1   21.    On August 30, 1951, the Philippines and the United States

     2   of America signed a treaty entitled ~~Mutual Defense Treaty." It

     3   provides in relevant parts:

     4         "Desiring further to strengthen their present efforts for

     5         collective defense for the preservation of peace and

     6         security pending the development of a more comprehensive

     7         system of regional security in the Pacific area."

     8   22.    DEFENDANT PHILIPPINES is recognized as an independent

     9   sovereign nation by the United Nations, its member states and the

    10   international community.

    11 ~ 23.   DEFENDANT CONGEN/SD is the Honorary Consular General for

    12   the Republic of the Philippines in the City of San Diego,

    13   California.

    14   24.   DEFENDANT CONGEN/LA is the Consular General for the

   15    Republic of the Philippines in the City of Los Angeles,

   16    California.

   17    25.   ROBERT is informed and believes that there were at least 8

   18    individuals that he personally interacted with, or were

   19    recipients of forwarded emails.     There were at least that many

   20    more who were involved in the decision, planning and execution of

   21    DEFENDANTS' denial response to his request for a replacement

   22    passport. ROBERT sues them as ROES 1 - 20 and will seek leave of

   23    court to insert their true names and identities as soon as they

   24    are ascertained through discovery.

   25

   26                             GENERAL ALLEGATIONS

   27    26.   Plaintiff incorporates by reference the allegations in all

   28    preceding paragraphs of this complaint as though fully set forth
                                            11
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     1   in this paragraph.

     2   27.   ROBERT is an indigent litigator who proceeds in pro se, and

     3   forma pauperis. He is by birth a Philippine national. The death

     4   of his mother in December 2020 now requires that he return to the

     5   Philippines to settle her estate. His desire to travel is

     6   currently being barred by the Republic of the Philippines based

     7   on his self-confessed homelessness, a fact shared during his

     8   email exchanges and in conversations with consular

     9   representatives.

    10   28.   PHILIPPINES, through sovereign right is the only source of

    11   passports and legal documents for Philippine nationals who wish

   12    to travel to and from the Republic of the Philippines.

   13    29.   PHILIPPINES, through sovereign right is the source of ("Red

   14    Ribbon") consulate notary services for legal documents executed

   15    outside the Republic of the Philippines that renders the document

   16    legally sufficient and effective within its borders.

   17    30.   DEFENDANTS through negligence and wrongdoing caused to

   18    cancel a previously scheduled appointment at the consulate office

   19    in San Diego after ROBERT had already made travel arrangements,

   20    causing him to pay a cancellation fee amounting to $14.67.

   21    31.   DEFENDANTS deprived PLAINTIFF the issuance of a replacement

   22    passport, using unacceptable excuses including the COVID-19

   23    pandemic, the variance of "Roberto" and "Robert" that appear on

   24    different documents and the supposed not-so legible birth

   25    certificate that they claim renders his middle name "Lagdameo"

   26    difficult to read. However, the unaltered birth certificate was

   27    sourced from one of their government agencies, the Philippines

   28    Statistics Authority, in the Republic of the Philippines.
                                            12
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     1 I~ 32.   DEFENDANTS are purposefully denying ROBERT the right of his

     2   return travel because on several correspondences he revealed to

     3   them that he is homeless here in the USA. They are of the belief

     4   that he will become a ward of the state upon his return to the

     5   Philippines.

     6   33.    PHILIPPINES, being the only source of the documents that

     7   ROBERT seeks, and having been duly denied of them, is being

    8    deprived his rights in the meaning of all applicable US

    9    laws, treaties and conventions that PHILIPPINES, the United

   10    States of America and all other nations to which this matter

   11    pertains to are signatories.

   12    34.    At all times herein mentioned, DEFENDANTS and their agents

   13    had an obligation not to violate any laws of the United States of

   14    America, the State of California, and treatise to which it is a

   15    signatory to, and all regulations, statutes and laws that govern

   16    a sovereign state's dealings inside its host nation.

   17    35.    At all times relevant to this action, ROBERT engaged

   18    DEFENDANTS through the Internet whether through DEFENDANTS' web

   19    presence or by direct email, with respondents replying from their

   20    consulate offices in San Diego and Los Angeles.

   21    36.    At all times relevant to this action, ROBERT engaged

   22    DEFENDANTS by personal appearance on September 7, 2021 at their

   23    consulate offices in Los Angeles California.

   24    37.    ROBERT is informed and believes and based thereupon alleges

   25    that at all times herein mentioned each of the DEFENDANT S) were

   26    agents, servants and/or employees or occupied other relationships

   27    with each of the other named DEFENDANT(S), and at all times

   28    herein mentioned acted within the course and scope of said agency
                                            13
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     1   and/or employment and/or other relationship and each other.

     2   DEFENDANT has ratified, consented to, and approved the acts of

     3   their agents, employees, and representatives, and that each

     4   actively participated in, aided and abetted, or assisted one

     5   another in the commission of the wrongdoing alleged in this

     6   Complaint.

     7

     8                            CHRONOLOGY OF EVENTS

     9   38.    Plaintiff incorporates by reference the allegations in all

   10    preceding paragraphs of this complaint as though fully set forth

   11    in this paragraph.

   12    39.    DECEN~ER 7, 2007 - ROBERT becomes homeless.

   13    40.    SOMETIME IN `08-'09 - ROBERT'S storage facility in Aliso

   14    Viejo California is foreclosed upon. He loses every piece of

   15    property stored inside it including his Philippine-issued

   16    Passport and USA-issued Resident Alien Card (Green Card).

   17    41.    JUNE 18, 2020 - ROBERT'S 1990 GMC Suburban is burglarized.

   18    The thief absconds with 3 bags, one of which contained his birth

   19    certificate, high school records and other official documents

   20    required to obtain a replacement passport. (EXHIBIT A)

   21    42.    DECEN~ER 12, 2020 - ROBERT's mother dies. (EXHIBIT B)

   22    43.    JANUARY 22, 2021 - ROBERT learns from his cousin of

   23    inheritances including certain properties in the Philippines from

   24    his mother.

   25

   26          (All emails are inserted herein as EXHIBIT C and referenced

   27    and cross-referenced by the date and time of transmittal)

   28
                                            14
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     1   44.   FEBRUARY 27, 2021 - 1205PM - ROBERT sends email to San

     2   Diego Consulate Office with the heading INQUIRY RE: PASSPORT

     3   INQUIRY OR EMERGENCY TRAVEL DOCUMENT.

     4   45.   MARCH 1, 2021 - 1023AM - STAFF/SD responds, states they are

     5   able to provide emergency travel documents and notarial services,

     6   but not passports.

     7   46.   MARCH 1, 2021 - 1112AM - ROBERT requests an appointment

     8   with the Philippine Consulate in San Diego.

     9   47.   MARCH 2, 2021 - 1050AM - STAFF/SD responds: "The emergency

    10   travel document is allowed only for applicants who cannot be

   11    issued a Philippine passport and have emergency travel to the

   12    Philippines such as due to medical or legal reasons or death in

   13    the family. It can only be used one-way to the Philippines. For

   14    you to leave the Philippines, you will need to apply for a new

   15    passport."

   16    48.   MARCH 2, 2021 - 0218PM - LAPCG/LA - REFERRED BY CG/SD,

   17    SENDS ROBERT LIST OF DOCUMENTS AND ITEMS NEEDED FOR EMERGENCY

   18    TRAVEL DOCUMENT (ETD).

   19    49.   MARCH 3, 2021 - ROBERT enters into an agreement with his

   20    cousin to represent him for the potential sale of certain

   21    properties in the Philippines.

   22    50.   MARCH 3, 2021 - 1106AM - ROBERT sends email to HONCON/SD:

   23    ~~Attached is my mother's death certificate, signifying the reason

   24    for my return - that being to settle her estate in the

   25    Philippines."

   26    51.   APRIL 7, 2021 - 1120AM - ROBERT TO STAFF/SD - INQ: The

   27    Philippine Consulate requires emergency travelers

   28    to state his/her travel itinerary. Does that require show of an
                                            15
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     1   actual airline ticket?

     2   52.   APRIL 7, 2021 - 0300PM - STAFF/SD - RES: Yes, it is

     3   required for you to show the purchased airline tickets

     4   (itinerary). And only foreign passport holders are not allowed in

     5   the Philippines unless they can present a valid Visa.

     6   53.   APRIL 7, 2021 - 0412PM - ROBERT TO STAFF/SD - INQ: In

     7   deference to your instructions this requires me to see the Los

     8   Angeles Consulate, which I will do. However, for the purpose of

     9   inquiry, what will the Hong Kong authorities do when you say they

    10   can detain me?

   11    54.   APRIL 7, 2021 - 0548PM - STAFF/SD - RES: My apologies, but

   12    I am not the right person to ask about being detained in other

   13    countries. I am saying that since you opted to travel using

   14    emergency travel, its use might be limited within the US

   15    territory only. That is why we advise that you book connecting

   16    flights within US only. And I understand that you are homeless, I

   17    had already sought assistance and forwarded your previous email

   18    to the Assistance to Filipino National section in Los Angeles so

   19    they can assist you further.

   20    55.   MAY 23, 2021 - ROBERT receives his birth certificate

   21    obtained by his cousin from the Philippine Statistics Authority

   22    in Manila, Philippines.

   23    56.   MAY 28, 2021 - 0958PM - ROBERT TO LAPCG - INQ: I was able

   24    to secure a ride on the 5th of June to present my documents, if a

   25    spot is available. I would appreciate very much a quick

   26    response.

   27    57.   JULY 16, 2021 - 0146PM - RNL TO STAFF/SD - INQ: WHAT

   28    DOCUMENTS ARE NEEDED FOR NOTARIAL APPOINTMENT.
                                            16
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     1   58.   JULY 17, 2021 - 0140PM - STAFF/SD - RES: Thank you for your

     2   inquiry. We understand that you need assistance with document

     3   authentication. We have a temporary restriction and can book

     4   appointments for San Diego County residents only.

     5   59.   JULY 17, 2021 - 0732PM - STAFF/SD - RES: ASKS RNL TO STATE

     6   Address: Document type: Total number of documents for

     7   authentication: Total number of signers:

     8   60.   JULY 17, 2021 - 0733PM - ROBERT TO STAFF/SD -       I live in

     9   Orange County, equidistant between San Diego and Los Angeles. I

   10    would prefer an appointment at your office, if at all possible. I

   11    would like to arrange notarization and red ribbon for two sets of

   12    documents. In addition, I would like to secure emergency travel

   13    documents to the Philippines. Having said that, may I request an

   14    appointment at your office?

   15    61.   JULY 19, 2021 - 0934AM - STAFF/SD - RES: Thank you for the

   16    information. I had set you the earliest appointment available on

   17    August 19 at 1:15 PM.

   18    62.   JULY 19, 2021 - 0945AM - STAFF/SD - MES: This email

   19    confirms your appointment for document authentication at the

   20    Philippine Consulate in San Diego on 19 August 2021, Thursday at

   21    1:15 P.M. for 2 documents with 1 signer.

   22    63.   JULY 19, 2021 - 0946AM - STAFF/SD - MES: Thank you for

   23    reaching out Philippine Consulate of San Diego. We can assist in

   24    processing emergency travel documents. The emergency travel

   25    document is for Filipino/Dual citizens who cannot be issued a

   26    Philippine passport and have emergency travel to the Philippines

   27    due to medical or legal reasons or death in the family. It can

   28    only be used one-way to the Philippines.
                                            17
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     1   64.   AUGUST 13, 2021 - 0932AM - STAFF/SD - INQ: Please confirm

     2   that you have a valid ID to present on your appointment on August

     3   the 19th. Either a drivers license or a State ID will do.

     4   65.   AUGUST 13, 2021 - 1149AM - ROBERT TO STAFF/SD - RES:        Yes,

     5   I have a California ID card and a driver's license. Is there

     6   anything else you need?

     7   66.   AUGUST 13, 2021 - 1218PM - STAFF/SD - RES: Thank you for

     8   the confirmation, Sir. Regarding the emergency travel document, I

     9   am afraid we are unavailable to process this for you as it

   10    requires proof of citizenship like passport. And you had

   11    mentioned that your passport was stolen.

   12    67.   AUGUST 13, 2021 - 1226PM - ROBERT TO STAFF/SD - RES: No,

   13    the passport itself was not stolen. It was lost during an

   14    eviction of my storage facility. It was the other documentation

   15    that could provide me with a passport that got stolen (i.e. birth

   16    certificate, school records and other official documents).

   17    68.   AUGUST 13, 2021 - 0208PM - ROBERT TO STAFF/SD - RES: I was

   18    able to obtain my birth certificate only because it can now be

   19    acquired online. Here it is for you reference. Most of the other

   20    documents for a passport can only be obtained once I am home.

   21    69.   AUGUST 16, 2021 - ROBERT takes the bus to the Santa Ana

   22    Amtrak station to purchase train tickets from Santa Ana to San

   23    Diego. He pays $58.70.

   24    70.   AUGUST 16, 2021 - 1043AM - STAFF/SD - MES: We regret to

   25    inform that we have to cancelled your appointment here in San

   26    Diego, as we cannot process your request for emergency travel

   27    document. This matter has been forwarded to the Philippine

   28    Consulate General in Los angeles and someone from LA will reach
                                            18
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     1   out to you.

     2   71.     AUGUST 16, 2021 - 1046AM - ADMIN/SD - MES: We are sorry to

     3   hear about your situation. Unfortunately, the Philippine

     4   Consulate of San Diego is an honorary consulate and does not have

     5   the same jurisdiction as Los Angeles Consulate, we do not

     6   have jurisdiction over passports, civil records and cannot

     7   provide legal advice, your appointment at San Diego is cancelled,

    8    however, your inquiry was relayed to Los Angeles Consulate and

    9    their staff will reach out to you with further assistance.

   10    72.     AUGUST 16, 2021 - 0355PM - ROBERT TO STAFF/SD - MES: I will

   11    sti11 plan to travel to San Diego, unless you can explain to me

   12    with adequate satisfaction why you cannot provide me with the Red

   13    Ribbon request.

   14    73.     AUGUST 16, 2021 - 0415PM - ADMIN/SD - MES: Your appointment

   15    at San Diego is cancelled as San Diego Consulate has

   16    limited jurisdiction, however, your inquiry was relayed to Los

   17    Angeles Consulate and their staff will reach out to you with

   18    further assistance. Your inquiry will be fully handled by Los

   19    Angeles Consulate and their Assistance to Nationals team. Our

   20    apologies for any inconvenience, the staff from Los Angeles

   21    Consulate will reach out to you shortly.

   22    74.     AUGUST 17, 2021 - ROBERT returns to the .Amtrak Station in

   23    Santa Ana and gets a refund. He is docked $14.67 as cancellation

   24    fee.

   25    75.    AUGUST 30, 2021 - 0225PM - ROBERT TO STAFF/SD, ADMIN/SD,

   26    ADMIN/PHILCON, ALSO FORWARDED TO LAPGC - INQ: RE: PROMISED

   27    APPOINTMENT. (EXHIBIT D)

   28           Please find the following documents served to
                                            19
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     1   you herewith:

     2         1. Correspondence - In re: Promised Appointment

     3         2. Image of purchased tickets to/from SNA and SAN

     4         3. Image of cancellation confirmation w/ charged fee

     5         4. Copy of Robert Lacambra's Birth Certificate

     6

     7   76.    AUGUST 31, 2021 - 0231PM - ROBERT TO LAPGC - INQ: RE:

     8   PROMISED APPOINTMENT. (EXHIBIT D)

     9         Please find the following documents served to

   10    you herewith:

   11            1. Correspondence - In re: Promised Appointment

   12            2. Image of purchased tickets to/from SNA and SAN

   13            3. Image of cancellation confirmation w/ charged fee

   14            4. Copy of Robert Lacambra's Birth Certificate

   15

   16    77.    SEPTEMBER 1, 2021 - 0439 - ROBERT TO STAFF/SD, ADMIN/SD,

   17    ADMIN/PHILCON, ALSO FORWARDED TO LAPGC - 2ND REQUEST FOR IMMEDIATE

   18    RESPONSE. (EXHIBIT E)

   19          Please find the following documents served to you

   20    herewith:

   21          1. Correspondence - In re: Promised Appointment

   22          2. Image of purchased tickets to/from SNA and SAN

   23          3. Image of cancellation confirmation w/ charged fee

   24          4. Copy of Robert Lacambra's Birth Certificate

   25

   26    78.   SEPTEMBER 1, 2021 - 0445PM - ROBERT TO LAPGC - 2ND REQUEST

   27    FOR IMMEDIATE RESPONSE. (EXHIBIT E)

   28          Please find the following documents served to you
                                            20
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     1   herewith:

     2           1. Correspondence - In re: Promised Appointment

     3           2. Image of purchased tickets to/from SNA and SAN

     4           3. Image of cancellation confirmation w/ charged fee

     5           4. Copy of Robert Lacambra's Birth Certificate

     6

     7   79.   SEPTEMBER 2, 2021 - 0925AM - LAPCG - RES: Good day, This is

     8   to acknowledge receipt of your email. Further, this is my first

     9   time to know about your situation. If you are in need of a Travel

    10   Document (TD), kindly mail the following requirements to:

    11   80.   SEPTEMBER 2, 2021 - 0944AM ATTACHMENT - LAPCG TO ALNEE -

   12    MES: "Hazel, please find out from the Consulate whether

   13    they actually forwarded the request of Mr. Lacambra to us. Based

   14    on his email, he is in need of an apostille for his document/s

   15    and an ETD. Let us properly advise our clients about the

   16    procedures for document authentication as well as

   17    on setting   appointments for consular documents with us and with

   18    any HonCon office under our jurisdiction for us to avoid

   19    complaints."

   20    81.   SEPTEMBER 2, 2021 - 1014AM - LAPCG TO STAFF/SD CC'D TO

   21    ROBERT - INQ: "In one of your correspondence that his application

   22    for ETD has been referred to the Philippine Consulate General in

   23    Los Angeles. May I request the details of your referral, i.e.

   24    date of referral and what section did you refer the application?"

   25    82.   SEPTEL~ER 2, 2021 - 0249PM - ROBERT TO LAPCG - MES: The

   26    correspondence and attached emails I sent you specifically

   27    requested an appointment for "Red Ribbon" conformance of two

   28    documents relating to a case on docket at the Regional Trial
                                            21
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     1   Court in Quezon Province.

     2   83.     SEPTEI~ER 2, 2021 - 0405PM - LAPGC - Your schedule for

     3   Notarial Services will be on Tuesday, 07 Sep 2021 at 10 am. Just

     4   go to the Consulate and give your name to our

     5   receptionist.    Should the receptionist cannot find your name in

     6   the list, you may look for me,Hazel Mendoza (ATN Officer)

     7   84.     SEPTEI~ER 2, 2021 - 0410PM - ROBERT TO LAPGC - MES: "I must

    8    to (sic) take the train from Orange. Could you please set an

     9   appointment for early afternoon ..."

   10    85.     SEPTEMBER 2, 2021 - 0412PM - ROBERT TO LAPGC - INQ: I must

   11    to take the train from Orange County. Could you please set an

   12    appointment for early afternoon to make sure I arrive there on

   13    time?    I would very much appreciate it.

   14    86.     SEPTEN~ER 2, 2021 - 0611PM - LAPGC - MES: Noted on this.

   15    can you email me the copy of the document that needs to be

   16    notarized so I can assess if we accept such document? thanks

   17    87.     SEPTEN~ER 2, 2021 - 0639PM - ROBERT TO LAPGC - RES: ~~Here

   18    are the two documents that need your Red Ribbon notarization.

   19    They are to be filed in the Regional Trial Court, Quezon

   20    Province. Awaiting your reply on an appointment around 1:30PM for

   21    the 7th of September, if possible."

   22    88.     SEPTEN~ER 2, 2021 - 0639PM - LAPGC - RES: Ok po. we

   23    notarized thise documents po. (TRANSLATION: OK. We notarize these

   24    documents.)

   25    89.     SEPTEMBER 2, 2021 - 0652PM - ROBERT TO LAPGC - INQ:

   26    Salamat, po. Paki confirm kung pwede ilipat ang appointment

   27    ko sa 1:30PM ng September 7. Ang appointment ko

   28    a y kasalukuyang nakalagda ng
                                            22
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     1   10:OOAM. Kailangan ko pong sumakay ng train galing sa Orange

     2   County at baka magipit at hindi makaabot. Paki

     3   email nalang ninyo ako. Salamat sa inyong tulong.

     4

     5         ENGLISH TRANSLATION:

     6         Thank you. Please confirm that we can change the appointment

     7         to 1:30PM. My appointment is currently scheduled for

     8         10:00AM. I need to take the train from Orange County and may

     9         experience delays. Plese email me. Thanks for your help.

    10

    11   90.    SEPTEMEBR 2, 2021 - 0705PM - LAPGC - RES: yes, pwede po

    12   basta dumating kayo ng before 3 pm. (TRANSLATION: Yes, we can. So

   13    long as you get here before 3 PM)

   14    91.    SEPTEMEBR 2, 2021 - 0739PM - ROBERT TO LAPGC INQ:

   15          Maraming salamat, po.

   16          Luluwas po ako ng maaga at tutuloy ako agad sa opisina ninyo

   17          Kung ano mang oras akong makarating, magpapakilala nalanq ak

   18          o sa security guard.

   19          Matanong ko po sa inyo.

   20          Dahil kailangan ko pong makabalik sa Pilipina upang maayos k

   21          o ang estate ng aking namatay na ina.

   22          Iyong unang pasaporte ko ay nawala nang na-forclose ang

   23          storage locker ko. Tinignan ko

   24          ang listahan ng mga kailangan upang makakuha ng bagong (reel

   25          acement) pasaporte.

   26          Kamalasan naman, iyong mga tamang dokumento na pwedeng maipa

   27          kita sa inyo nanakaw sa Tsang burglary.

   28          Ito po ang parte ng police report nakasilid dito sa email.
                                            23
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     1        Nakakuha na po ako ng birth

     2        certificate dahil pwedeng makuha online.

     3        Nakita po ninyo iyon sa nakalipas na email sa inyo.

     4        Ngunit and baptismal ko at high school records ko

     5        ay hindi ko makuha.

     6        Sa kasalukuyan ay homeless ako at wala pang trabaho.

     7        Sa madaling salita, wala po akong pondo para makakuha nung i

     8        ba pang dokumento na nasa Pilipinas.

     9        Kung maipakita ko po ang police report

   10         a t mapatunayan ko sa aking pananalita na ako'y Pilipino,

   11         pwedo ho ba ninyo akong tulungang makabalik sa Pilipinas?

   12

   13         Ang inyong linkod,

   14         ROBERT LACAMBRA

   15

   16    (ENGLISH TRANSLATION)

   17         Thank you very much.

   18         I will depart early and proceed to your office. Whatever

   19         time I get there, I'll introduce myself to the security

   20         guard. May I inquire? I need to return to the Philippines so

   21         that I can settle the estate of my deceased mother. My first

   22         passport was lost when my storage locker was foreclosed. I

   23         looked at the list of requirements for a (replacement)

   24         passport. Unfortunately, the documents that can be shown to

   25         you were stolen in a burglary. Attached in the email is a

   26         portion of the police report. I do have my birth certificate

   27         because it can now be obtained online. You've seen that in

   28         the past email to you. However, my baptismal and high school
                                            24
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     1           record could not be obtained. Currently, I am homeless and

     2           unemployed. In other words, I don't have the funds to get

     3           any other documents in the Philippines. If I can show the

     4           police report and prove through my speech that I am

     5           Filipino, can you help me return to the Philippines?

     6           Yours truly,

    7            ROBERT LACAMBRA

    8

    9    92.     SEPTEMBER 3, 2021 - ADM/SD TO LAPGC - RES: RE: WHEN THIS

   10    CASE WAS FORWARDED TO THE NATIONALS TEAM. Good

   11    morning, HonCon forwarded the request to ConGen and was informed

   12    that Mr. Lacambra's request will be handled by the Assistance to

   13    Nationals team,

   14    93.     SEPTEMBER 7, 2021 - 0345PM - STAFF/SD TO ROBERT, CON/SD -

   15    MES: Apologies for the delayed response. Please refer to the

   16    attached email. ATTACHMENT: TO LAPGC, DYANPASTRANA,

   17    PC/SD -    Hi Ms. Hazel, Good afternoon. Are you able

   18    to assist this constituent who is unable to provide supporting

   19    documents for his emergency travel request. I had attached his

   20    mother's death certificate for your perusal. Or if you can direct

   21    me to the right department please. My apologies for the added

   22    work.

   23    94.     SEPTEI~ER 07, 2021 - ROBERT travels by train to the

   24    PHILIPPINE CONSULATE - LA to obtain consulate notarization for a

   25    ~~Special Power of Attorney" (SPA) and ~~Extra-judicial Settlement"

   26    (EJS) from the consulate, as well as a replacement passport.

   27    95.     ROBERT receives two tickets from the receptionist - one for

   28    the consulate notarial service and the other for an emergency
                                            25
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     1 I travel document ("TD") appointments. He was met at the entrance

     2   b y Hazel Mendoza whom he had corresponded via email to obtain an

     3   appointment. ROBERT explains to Ms. Mendoza that because of the

     4   length of time it took for him to finally make an appearance at

     5   the consulate, he was able to collect all the documents required

     6   to obtain a replacement passport. Ms. Mendoza tells him that his

     7   appointment cannot be changed from a request for an "Emergency

    8    Travel Document" to ~~Replacement Passport." She cites COVID-19

     9   procedures that the consulate instituted in response to the

   10    pandemic.

   11    96.   ROBERT objects and renews his request for a replacement

   12    passport. His request was once again denied, and was told that

   13    they can only honor the original request. ROBERT bit his tongue

   14    expecting that he will get a chance to make a plea with the

   15    person who will attend to his actual request.

   16    97.   ROBERT proceeds to his first appointment for

   17    the notary service. He pays the extra fee for expedited

   18    signatures for the ~~SPA" and the ~~EJS" (EXHIBIT I)     He is told

   19    the documents will be ready before they go on lunch break.

   20    98.   ROBERT proceeds to his next appointment for the travel

   21    document and begins at COUNTER #1 (PROCESSING) staffed by

   22    Michelle who refused to give her last name. ROBERT explains that

   23    he now has all documents to complete his application for a

   24    replacement passport. Repeating what Ms. Mendoza said, Michelle

   25    denies his request for a replacement passport.

   26    99.   ROBERT insists and prevails upon her to inspect the

   27    documents that he brought with him. Following a checklist, he was

         sure that all the documents were there including a filled-out
                                            26
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     1   application and a notarized ~~Affidavit of Lost Passport."

     2   100.   Upon inspection of the documents, Michelle remarks that all

     3   the documents needed were in fact there and presented. However,

     4   the ~~Birth Certificate" provided was not legible that his middle

     5   name, according to her, could not be made out by the naked eye.

     6   She instructs ROBERT to obtain another copy of his Birth

     7   Certificate in the form she called a ~~Local Civil Registrar's

     8   Copy of Birth Certificate" (LCR)     It had to be obtained in

     9   Manila. However, she was clear that even if she overlooked

    10   that detail she still could not process his request for a

    11   replacement passport.

    12   101.   ROBERT explains that he is homeless and does not have the

   13    resources to be able to obtain a copy of the LCR. It is not just

   14    a matter of calling someone he knows in the Philippines

   15    to acquire one. A Special Power of Attorney specific to such a

   16    transaction has to be executed and transmitted there and the

   17    document transmitted via international mail. He simply does not

   18    have the financial wherewithal to do so. The end result was,

   19    ROBERT was told to arrange for another appointment because his

   20    original request was for an emergency travel document.

   21    102.   ROBERT left the counter and continued to wait for the

   22    consulate notarized documents.

   23    103.   A few minutes later Michelle goes on a break and is

   24    replaced by another lady (ROE #1), whose name was not obtained.

   25    ROBERT falls in line at COUNTER #1 (PROCESSING) to renew his

   26    request. The lady inspects the documents and noticed a variance

   27    on ROBERT'S first name. Only earlier it was not an issue for

   28    Michelle. His California Identification Card bore the name Robert
                                            27
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     1   Nelson L. Lacambra. However, the birth certificate bore the name

     2   Roberto Nelson Lagdameo Lacambra. Once again she takes notice of

     3   ROBERT'S mother's middle name, ~~Lagdameo" stating that it was not

     4   clear. She tells ROBERT to obtain a ~~Local Civil Registrar's Copy

     5   of Birth Certificate" (LCR)     His request for a replacement

     6   passport is denied.

     7   104.    The lady at the counter essentially said the same thing,

     8   suggesting that it was not only one person making a staff

     9   decision, but a consulate-wide procedure. Even if ROBERT had all

   10    his documents in order, they still required that he return for

   11    another appointment. This is despite the fact

   12    that both representatives agreed that all the documents for a

   13    replacement passport were presented.

   14    105.    However, to give the appearance of legitimacy for the

   15    denial, the middle name (Lagdameo) could not be read and

   16    the variances of his first name (Roberto & Robert) became

   17    insurmountable impediments. All that needed to be done was to

   18    review their database because ROBERT'S information was already

   19    entered at the time his first passport was issued.

   20    106.    At around noon, ROBERT is called at COUNTER #14 where he

   21    received his notarized document allowing him to make the return

   22    trip.

   23    107.    On the way back to Orange by train, ROBERT cannot stop

   24    thinking that the consulate was merely looking for excuses not to

   25    give him a replacement passport. In his experience, a person who

   26    wishes to travel to another country must prove that he/she has

   27    enough resources so as not to be a warden of the state at the

   28    country of destination. Countries often require an affidavit and
                                            28
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     1   proof of assets.

     2   108.    His experiences with the DEFENDANTS, with the cancelled

     3   appointment and unseemly excuses not to reissue a passport is

     4   proof they do not want him to return, because here in the USA he

     5   is homeless.

     6

     7                      DISCUSSION AND ANALYSIS OF ISSUES

     8   109.    Plaintiff incorporates by reference the allegations in all

     9   preceding paragraphs of this complaint as though fully set forth

    10   in this paragraph.

    11

   12           PHILIPPINES BLOCK ROBERT'S RETURN BECAUSE HE IS HOMELESS

   13    110.    All Philippine consulate offices around the globe are

   14    important components of the Philippine Department of Foreign

   15    Affairs whose main responsibility include contributing to the

   16    enhancement of national security and the protection of

   17    territorial integrity and national sovereignty of the

   18    Philippines. This necessitates preventing entry of travelers who

   19    may become a liability to the state.

   20    111.    It is a matter of policy for countries to ascertain a

   21    traveler's ability to finance their stay in a country so as not

   22    to be a financial liability to the host country. It is a sound

   23    policy if to prevent potential problems that could devolve into

   24    civil or criminal liability. Mitigating such situations also

   25    avoid unintended complications in diplomatic relations.

   26    112.    The Republic of the Philippines requires a host/sponsor of

   27    a traveler visiting the Philippines to sign an "Affidavit of

   28    Support", which states in relevant parts: (EXHIBIT F)
                                            29
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     1          "That I will take full responsibility for all his/ her

     2          expenses, subsistence and accommodation throughout the

     3          duration of his/her stay and ensure that he/she will not

     4          become a public charge while on travel;"

     5

     6   113.   In his interaction with members of the consulate staff,

     7   ROBERT revealed that he is homeless in this country (EXHIBIT C -

     8   ##'s 03, 06, 09, 11, 12, 14, 15, 22, 49). ROBERT was even

     9   informed that because of his homelessness, his case is being

   10    referred to the Nationals Team (EXHIBIT C - #10)       However, the

   11    death of his mother now requires him to travel to the Philippines

   12    to settle her estate, a fact known to them on his very first

   13    email to them (EXHIBIT C - #Ol, #06 & #52)      He was being candid

   14    about his homelessness, unwittingly painting himself as a

   15    potential liability to the government upon his arrival there,

   16    unfair though as it may seem.

   17    114.   ROBERT is informed and believes that consulate staff

   18    members are trained to detect such conditions and are instructed

   19    to prevent and or otherwise mitigate the occurrence of such

   20    diplomatically undesirable situations. Having informed the staff

   21    that ROBERT is homeless here in the USA, he was identified as

   22    someone unsuited for entry into the Philippines.

   23    115.   Preventing the entry of a traveler/visitor who may become a

   24    ward of the state is a policy that is wrongfully being applied to

   25    ROBERT, insofar as he is a Filipino national and not a mere

   26    visitor or tourist. The consulate staff in Los Angeles and San

   27    Diego were made aware of this fact through his emails and through

   28    the presentment of his birth certificate. He was, in fact,
                                            30
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     1   seeking the re-issuance of a replacement Philippine passport,

     2   which is presumptive of his Philippine citizenship.

     3

     4                  CANCELLED APPOINTMENT AND FURTHER DELAYS

     5   116.   The first signs of a concerted effort to exclude him from

     6   entry to the Philippines was the unilateral cancellation of an

    7    appointment at the San Diego consulate office for August 19,

    8    2021. In fact, ROBERT detected something amiss when his

     9   appointment was scheduled exactly one month upon his request. He

   10    requested the appointment on July 19, 2021. The appointment was

   11    scheduled for August 19, 2021, 30 days away. ROBERT rationalized

   12    that it may have been mere coincidence, but the thought that he

   13    was being delayed surreptitiously left a nagging imprint that was

   14    only later vindicated.

   15    117.   The appointment for August 19, 2021 in San Diego was for

   16    consulate notarial services for two documents that were to be

   17    filed at the Regional Trial Court in Quezon Province,

   18    Philippines. Philippine court procedures require that all

   19    documents executed outside the country be conformed to the rules.

   20    One such procedure that renders a document legally sufficient is

   21    through consulate notarial called ~~Red Ribbon." The other reason

   22    for the appointment was to obtain an "Emergency Travel Document,"

   23    a one-way permission for travel to the Philippines issued to

   24    Filipinos who could not obtain a passport. Alternatively, ROBERT

   25    hoped to obtain a replacement passport after he received a

   26    certified copy of his birth certificate from the Philippines in

   27    May of 2021.

   28    118.   On the morning of August 16, 2021 ROBERT traveled to
                                            31
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     1   the AmTrak Station in Santa Ana, California by bus to obtain a

     2   two-way ticket to San Diego where the consulate office was

     3   located (EXHIBIT G). He did so because he had planned to take the

     4   earliest train on the 19th.     To get there to the train station on

     5   the morning of the 19th, he had to take a bus from Orange early

     6   in the morning before 6AM. It would have been the first train

     7   trip he has ever taken to San Diego and he was not familiar with

     8   the travel procedures and the length of time it takes for pre-

     9   boarding. He wanted to have the ticket beforehand so he would not

   10    have to purchase it that morning and be delayed further.

   11    119.    Upon his return in the afternoon, an email from Ria Esteban

   12    from consulate office in San Diego was received ROBERT (EXHIBIT C

   13    - Email #24)    It read:

   14           "We regret to inform that we have to cancelled your

   15           appointment here in San Diego, as we cannot process your

   16           request for emergency travel document. This matter has

   17           been forwarded to the Philippine Consulate General in

   18           Los angeles and someone from LA will reach out to you.

   19           We apologize for the inconvenience this has caused."

   20

   21    120.    ROBERT immediately replied (EXHIBIT C - Email #26):

   22           "I requested an appointment with the consulate for two

   23           reasons. First, to get Red Ribbon for two separate

   24           documents. Second, to obtain emergency travel documents. I

   25           am aware of the problems with securing the travel documents.

   26           However, there is no reason to cancel the appointment for my

   27           request for red ribbon conformance. I have

   28           already purchased the train ticket for my appointment.
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     1          I will still plan to travel to San Diego, unless you can

     2          explain to me with adequate satisfaction why you cannot

     3          provide me with the Red Ribbon request."

     4

     5   121.    It was replied to by Kateryna Borge from

     6   the consulate office in San Diego (EXHIBIT C - Email#28)        It read

     7   in relevant parts:

     8          "Good afternoon Mr. Lacambra,

     9          Your appointment at San Diego is cancelled as San Diego

   10           Consulate has limited jurisdiction, however, your inquiry

   11           was relayed to Los Angeles Consulate and their staff will

   12           reach out to you with further assistance. Your inquiry wi11

   13           be fully handled by Los Angeles Consulate and their

   14           Assistance to Nationals team. Our apologies for any

   15           inconvenience, the staff from Los Angeles Consulate will

   16           reach out to you shortly."

   17

   18    122.   The next day, ROBERT returned to the AmTrak station and

   19    requested a refund, He was docked $14.67 for cancellation fee.

   20    (EXHIBIT H)

   21    123.   In a sign that ROBERT was being further delayed, no

   22    communication from the consulate office in Los Angeles was

   23    received on the matter prompting him to write a sternly worded

   24 I letter 13 days later.

   25    124.   On August 30, 2021, ROBERT emailed a letter bearing the

   26    heading ~~IN RE: PROMISED APPOINTMENT" (EXHBIT D) to both the San

   27    Diego and Los Angeles consulate offices demanding an

   28    appointment immediately. It was met with no reply.
                                             33
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     1   125.    On September 1, 2021, the same letter was resent bearing

     2   the heading "2ND REQUEST FOR IMMEDIATE RESPONSE." (EXHIBIT E)

     3   126.    On September 2, 2021 at 924AM an email from the consulate

     4   office in Los Angeles was received by ROBERT (EXHIBIT C - Email

     5   #33)    It read, in relevant parts:

     6               "Good day,

     7               This is to acknowledge receipt of your email.

    8                Further, this is my first time to know about your

     9          situation."

   10

   11    127.    This essentially confirmed that the Los Angeles consulate

   12    was not made aware of ROBERT'S situation despite assurances from

   13    the San Diego consulate, inferring the existence of disruptive

   14    activities by as yet unknown individuals/group. But after more

   15    exchange of emails, an appointment was finally granted.

   16    128.    On September 2, 2021 at 405PM, an email from the consulate

   17    office in Los Angeles was received by ROBERT. It read, in

   18    relevant parts:

   19               "Your schedule for Notarial Services will be on

   20           Tuesday, 07 Sep 2021 at 10 am.

   21                Just go to the Consulate and give your name to our

   22           receptionist.   Should the receptionist cannot find your name

   23           in the list, you may look for me,Hazel Mendoza (ATN

   24           Officer)."

   25

   26              THE COVID-19 PANDEMIC EXCUSE TO DENY APPLICATION

   27    129.   On September 7, 2021, ROBERT arrived at the 5th Floor

   28    of 3435 Wilshire Blvd where the Philippine consulate office in
                                            34
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     1   Los Angeles is located. He presented the appointment email to the

     2   security guard who excused himself with the document. He went to

     3   the back to confer with the back-office staff.

     4 ~ 130.   A few minutes later, a lady who introduced herself as Hazel

     5 ~ Mendoza appeared at the front desk. Before asking for his ticket,

     6 ~ ROBERT requested that he be sent to the consular officer who

     7   can assist him with obtaining a replacement passport instead of

     8   an emergency travel document. Ms. Mendoza denied his

     9   request stating that his original request was for an emergency

    10   travel document. She essentially said that if ROBERT needed to

    11   obtain a replacement passport he needed to reschedule and return

   12    on another day. ROBERT persisted and explained that he has all

   13    the documents required for a replacement passport with him,

   14    making an emergency travel document application unnecessary.

   15    131.   In short, ROBERT was told that the reason why his request

   16    for a passport replacement could not be made was because of

   17    COVID-19. His previous appointment for an "Emergency Travel

   18    Document" could not be changed. ROBERT persisted yet again

   19    explaining that he has all the documents needed. Ms. Mendoza gave

   20    ROBERT a stern look, reiterating that they can only accommodate

   21    his request for consulate notarial and an emergency travel

   22    document. The receptionist was instructed to provide ROBERT with

   23    two appointments in the form of tickets to be called at different

   24    windows. ROBERT was told to wait for his numbers, which will be

   25    flashed on the big screens inside the waiting area.

   26    132.   The first appointment to be called was the appointment for

   27    the consulate notarial which went without any complications.

         ROBERT paid an additional $10 per document for expedited service
                                            35
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     1 ~ (EXHIBIT I), and was promised receipt of the documents (Special

     2   Power of Attorney and Extra-judicial Settlement) before their

     3   lunch break.

     4   133.   The second appointment was called almost immediately, with

     5   the screen monitor asking ROBERT to proceed to COUNTER # 1. The

     6   sign said ~~PROCESSING." ROBERT was attended to by Michelle who

     7   would not give her last name. ROBERT presented his ticket,

     8   and asked for a replacement passport. He presented all the

    9    documents he prepared including:

   10      1. Confirmed appointment (EXHIBIT C)

   11      2. Passport application form (EXHIBIT K)

   12      3. Notarized affidavit of loss     (EXHIBIT Q)

   13      4. Police report of lost documents (EXHIBIT A)

   14      5. Birth certificate from the PSA (EXHIBIT L)

   15      6. California Identification Card (EXHIBIT 0)

   16      7. California Driver's License (EXHIBIT 0)

   17      8. Social Security Card (EXHIBIT N)

   18      9. Mother's death certificate (EXHIBIT B)

   19

   20    134.   Michelle pointed to the ticket that had ~~TD," which

   21    signified that the appointment was for an emergency travel

   22    document (EXHIBIT J). She said that she could accommodate his

   23    request for a replacement passport because the appointment was

   24    for an "Emergency Travel Document" (TD).

   25    135.   ROBERT explained that since the day the appointment was

   26    scheduled, he was able to gather all the documents required for a

   27    replacement passport. She replied that she cannot process a

   28    request for a passport replacement because the appointment was
                                            36
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     1   for emergency travel documents. Without trying to offend her

     2   person and authority, ROBERT asked her to review all his

    3    documents to determine whether he has all the documents needed to

     4   obtain a replacement passport.

    5    136.   After inspecting the documents, Michelle concluded that all

    6    the documents needed were presented to her. She made a note at

    7    the bottom of the Passport Application stating what was needed

    8    when ROBERT returns (EXHIBIT K)     Noteworthy is the fact that

    9    ROBERT presented those items to her.

   10    137.   With that determination, they were still at loggerheads

   11    with the question as to why they could not process the request

   12    for a replacement passport. In an instant an excuse conveniently

   13    developed in the form of what she said was my difficult to read

   14    middle name. Pointing to my middle name (Lagdameo) on the birth

   15    certificate (EXHIBIT L), she said that another copy of his birth

   16    certificate called the ~~Local Civil Registrar's Copy of Birth

   17    Certificate" (LCR) had to be obtained from Manila. The

   18    appointment essentially ended.

   19    138.   ROBERT had brought his mother's death (EXHIBIT B)

   20    certificate to prove the circumstances of his travel. On it the

   21    Lagdameo was more legible because the certificate was only

   22    recently published, unlike his birth certificate. She refused to

   23    inspect it and sent ROBERT away.

   24    139.   Lunch time was still a ways off, which gave ROBERT a moment

   25    to reflect on the appointment and the reason it failed. Both Ms.

   26    Mendoza and Michelle said that the reason his return

   27    was required was because of COVID-19 procedures that were

   28    recently put in place. However, looking around, it seemed like
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     1   nothing more than an excuse for mediocrity and to lessen their

     2   workload. About an hour before lunch time, the waiting area was

     3   packed full of people. In fact, it was standing room only in

     4   certain sections of the room. Visitors were sitting next to each

     5   other in chairs, and people were standing in lines with less than

     6   a pace between them. There were no attempts to enforce the now-

     7   expected 6 feet of separation.

    8    140.     ROBERT noticed that Michelle was replaced by another lady

     9   at COUNTER #1 (PROCESSING). ROBERT fell back in line determined,

   10    to get a replacement passport request processed. The lady behind

   11    the counter essentially echoed what Ms. Mendoza and Michelle had

   12    already told him. The appointment could not be changed from a

   13    request for emergency travel document to a request for a

   14    replacement passport. While reviewing the documents, she noticed

   15    something that Michelle had not. ROBERT'S name on his birth

   16    certificate is "Roberto" and my California Identification Card

   17    states ~~Robert." She asked me to obtain a copy of another birth

   18    certificate referred to as the "Local Civil Registrar's Copy of

   19    Birth Certificate" (LCR). Handing me all my documents, she called

   20    the next person in line. She then commanded me to move all my

   21    belongings to the ledge at the next window. The appointment

   22    ended.

   23    141.     Dejected and feeling that he was being treated unfairly,

   24    ROBERT returns to the seat closest to COUNTER #14. Passing by the

   25    window, he tells the lady who processed his notarial request that

   26    he will wait in that chair closest to her window, pointing at it,

   27    within easy view of her in case the notarized documents are

   28    issued before their lunch break.
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     1   142.   ROBERT sits down and doubles his mask protection, wearing

     2   his mask and wearing a bandana over it. The packed room had taken

     3   the aura of a super spreader event, but instead of jovial people

     4   contented by the euphoria of a concert or a professional sport

     5   contest, it had mostly aggravated people. Many were standing too

     6   close to each other, or sitting too close to each other, or

     7   walking too close to each other.

     8   143.   ROBERT sought an appointment in San Diego (EXHIBIT C -

     9   Email #1) calculating that less people can be expected at that

   10    consulate, a necessary precaution during a pandemic despite the

   11    added cost. The train ride to San Diego costs about $60 two-way.

   12    The train trip to Los Angeles was only about $22 round trip

   13    including the bus fare. But, considering the pandemic it seemed

   14    sensible. He also wanted to finish his consulate business that

   15    afternoon to avoid another DMV-like visit at the consulate in the

   16    future. Sitting there surrounded by a multitude of people, it

   17    gave the impression that the COVID-19 protections that the staff

   18    had been using to deny ROBERT a replacement passport were

   19    merely excuses to deprive him of his right to travel freely.

   20    144.   The excuse of COVID-19, though seemingly considerate, fails

   21    on its face as the consulate office in Los Angeles failed

   22    to enforce other guidelines such as 6 feet distancing. The

   23    waiting room seating forced visitors to sit close to each other.

   24    People in line at various windows experienced the same.

   25    145.   At 8:54AM, ROBERT snapped a picture (EXHIBIT M)       It was

   26    the moment he arrived at the reception desk. He was one hour

   27    early for his appointment. It showed the early crowd, who

   28    occupied seats without regard to social distancing guidelines. By
                                            39
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     1 ~~ the time he left, a few minutes before the noon hour, the

     2   consulate office was packed with a standing-room-only crowd.

     3 ~ ~ He failed to snap a picture before leaving, but discoveries

     4   requesting CCTV videos of the premises that morning will bear

     5   this out. More importantly, the consulate staff were not

     6   enforcing any of social distancing guidelines.

     7   146.    Using COVID-19, a pretended difficult to read middle name

     8   on a document and variance of Roberto and Robert as a reasons not

     9   to process his request for replacement passport could not be

    10   viewed as nothing less than a deprivation. The attendants already

    11   admitted that ROBERT had all the documents required for a

    12   replacement passport. Asking him to return for another

    13   appointment to a potentially crowded and standing-room-only

    14   consulate, defeats their claims of health precautions.

   15

   16                ALTERNATIVE DOCUMENTS PRESENTED WERE ADEQUATE

   17    147.    The two separate encounters at COUNTER #1 revealed two

   18    reasons for the pretended denial of ROBERT'S request for

   19    replacement passport. They are:

   20      1. The difficult to read middle name (Lagdameo) of ROBERT

   21      2. The variance of first names on his birth certificate

   22           (Roberto) and identification card (Robert).

   23           When ROBERT arrived in the USA in the `80's the lawyer who

   24 '~ prepared all his documents prevailed upon him to Americanize his

   25    name. According to him, in America, the middle name is the next

   26    name given to the person. His birth name is Roberto Nelson

   27    Lagdameo Lacambra. The very first official document ever issued

   28    to him by the US government was his Social Security Card. On
                                            40
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     1   the advise of his lawyer, the document bears the name Robert N.

     2   Lacambra. (EXHIBIT N)

     3   148.   When his identification card and driver's license were

     4   issued, both bore the names Robert Nelson L. Lacambra. All

     5   entries were influenced by the DMV representatives who processed

     6   his application and who entered his name in their respective

     7   databases. They based it on the birth certificate he

     8   presented. For the court's illumination are ROBERT'S California

     9   Identification Card and Driver's License (EXHIBIT 0).

    10   149.   At both times while at COUNTER #1, ROBERT presented his

    11   identification card, driver's license and social security card.

   12    During his interview with Michelle, he also produced a copy of

   13    his mother's death certificate (EXHIBIT B)      This is significant

   14    because his mother's maiden name is Linda Kirkwood Lagdameo. In

   15    the Filipino culture, the newborn is given the maiden name as

   16    middle name (EXHIBIT L), something the representatives would have

   17    been cognizant to. It was a cultural tradition that they

   18    conveniently forgot or ignored if to provide an excuse to deny

   19 '~ ROBERT a replacement passport.

   20    150.   Moreover, just a few minutes earlier the

   21    consular notary noticed a variance in the names that appeared on

   22    ROBERT'S documents and his identification card. She merely asked

   23    him to enter his name both ways designating the latter as his AKA

   24    (Also Known As), signified in the ~~Special Power of Attorney"

   25    (EXHIBIT P).

   26    151.   For the purpose of this complaint, ROBERT seeks a

   27    replacement of a lost passport. In other words, the Philippine

   28    government already has a record of him. The information on their
                                            41
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     1   database will show the staff how his middle name is spelled.

     2   152.   For the purpose of this pleading, ROBERT cannot change all

     3   the documents to show one or another. They were all issued

     4   several years ago and with the guidance of the attending

     5   officials processing his documents. They can only be explained in

     6   the way the consular notary had offered on the documents that

     7   they processed that morning. ROBERT is willing to sign the

     8   documents, stating his AKA if the consulate and this court

     9   should require.

   10

   11        UNREASONABLENESS OF EMERGENCY TRAVEL DOCUMENT REQUIREMENTS

   12    153.   Anyone seeking an emergency travel document must also

   13    present an itinerary, the actual airline travel ticket, before

   14    the application is granted (EXHIBIT C - Email ##'s 7 & 8).

   15    However, the travel document is only valid for 30 days. In other

   16    words, a significant expenditure for the air travel must first be

   17    made without even knowing whether all the documents are in order

   18    and that the application will be approved. This alone gave ROBERT

   19    good cause to opt for a replacement passport, instead.

   20    154.   As the consulate office in San Diego demonstrated, their

   21    appointments are made 30 days out. In the event a person needs to

   22    return because of missing documentation or any other reason, a

   23    change of travel date may have to be made requiring the payment

   24    of cancellation fee. As clearly shown, DEFENDANTS have no regard

   25    for the financial duress that such a policy may cause, having

   26    ROBERT incur a cancellation fee on his train reservations. Those

   27    who seek emergency travel documents do so generally under

   28    tremendous emotional and financial duress, which
                                            42
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     1 ~~ their assistance should seek to allay. Instead, they add to the

     2 II individual's troubles and burdens.

     3   155.   Moreover, another of the requirements of an emergency

     4   travel document is the need to purchase a one-way ticket. In

     5   effect, it also has to be non-stop once it leaves the USA to

     6   avoid detention at a foreign port. Depending on where the

     7   document was issued, the flight will have to originate from that

     8   city, in this case either San Diego or Los Angeles. A non-stop

     9   ticket usually carries a premium in pricing, making it

    10   unaffordable to ROBERT, a jobless homeless individual who simply

    11   wants to return to the land of his birth.

    12   156.   Nevertheless, the limitations imposed by such policies make

   13    it necessary for ROBERT to apply for a replacement passport,

   14    instead. With such a passport he will have certain flexibility to

   15    be able to make affordable travel arrangements and comply

   16    with restrictions imposed by the COVID-19 pandemic abroad.

   17    157.   Moreover, just for the transaction of obtaining travel

   18    documents, ROBERT had to obtain a mail box because of the newly

   19    instituted policy that states documents and passports can only be

   20    received through the mail (EXHIBIT C - Email #05)       Attached is a

   21    receipt for the second six-month lease term (EXHIBIT R).

   22    158.   DEFENDANTS would not accommodate ROBERT by allowing him to

   23    pick-up the documents. This is in view of the fact that he was

   24    able to wait for the notarized documents while he was there on

   25    September 7, 2021. Had DEFENDANTS exercised reasonable alacrity

   26    and care, ROBERT would not need to incur expenses that are wholly

   27    oppressive considering his indigence.

   28
                                            43
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     1                  CONSULAR FACILITIES REGARDED AS SOVEREIGN

     2   159.     28 USC § 1330 have exacting pleading requirements,

     3   including proving that DEFENDANT PHILIPPINES is a foreign

     4   state.    28 U.S. Code § 1603 provides the definition of a foreign

     5   state, stating in relevant parts:

     6               For purposes of this chapter—

     7               (a) A "foreign state", except as used in section 1608

     8          of this title, includes a political subdivision of a foreign

     9          state or an agency or instrumentality of a foreign state as

   10           defined in subsection (b).

   11                (b)An "agency or instrumentality of a foreign

   12           state" means any entity—

   13                (1) which is a separate legal person, corporate or

   14           otherwise, and

   15                (2) which is an organ of a foreign state or political

   16           subdivision thereof, or a majority of whose shares or other

   17           o wnership interest is owned by a foreign state or political

   18           subdivision thereof, ..."

   19

   20    160.    Moreover, The Vienna Convention of 1963 articulates the

   21    unique arrangement of consular premises in its receiving states.

   22    It has been interpreted as meaning that consular premises are

   23 I foreign territories as if it was an extension of the state that

   24    flies the flag. Article 31 of the Vienna Convention of 1963

   25    states in relevant parts:

   26                "ARTICLE 31 - Inviolability of the consular premises

   27                Consular premises shall be inviolable to the extent

   28           provided in this article.
                                             ~.
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     1               The authorities of the receiving State shall not enter

     2          that part of the consular premises which is used exclusively

     3          for the purpose of the work of the consular post except with

     4          the consent of the head of the consular post or of his

     5          designee or of the head of the diplomatic mission of the

     6          sending State. The consent of the head of the consular post

     7          may, however, be assumed in case of fire or other disaster

    8           requiring prompt protective action.

     9               Subject to the provisions of paragraph 2 of this

   10           article, the receiving State is under a special duty to take

   11           all appropriate steps to protect the consular premises

   12           against any intrusion or damage and to prevent any

   13           disturbance of the peace of the consular post or impairment

   14           of iis digni ty.

   15                The consular premises, their furnishings, the property

   16           of the consular post and its means of transport shall be

   17           immune from any form of requisition for purposes of

   18           national defence or public utility. If expropriation is

   19           necessary for such purposes, all possible steps shall be

   20           taken to avoid impeding the performance of consular

   21           functions, and prompt, adequate and effective compensation

   22           shall be paid to the sending State."

   23    161.    It is doubtful that DEFENDANT PHILIPPINES will deny that it

   24    is a sovereign nation. Nevertheless, the aforementioned

   25    definitions are herewith inserted for the court's review.                 ~

   26

   27           COMN~RCIAI~ ACTIVITY AN EXCEPTION TO CONSULAR IMMUNITIES

   28    162.    28 USC § 1330 (Actions against foreign states) provides in
                                            45
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     1   relevant parts:

     2               (a) The district courts shall have

     3          original jurisdiction without regard to amount in

     4          controversy of any nonjury civil action against a foreign

     5          state as defined in section 1603(a) of this title as to any

     6          claim for relief in personam with respect to which the

     7          foreign state is not entitled to immunity either under

     8          sections 1605-1607 of this title or under any applicable

     9          international agreement.

   10                28 USC ,~' 1603 (Definitions) provides in relevant

   11           parts:

   12               (d) A "commercial activity" means either a regular

   13           course of commercial conduct or a particular commercial

   14           transaction or act. The commercial character of an activity

   15           sha11 be determined by reference to the nature of the course

   16           of conduct or particular transaction or act, rather than by

   17           reference to its purpose.

   18               (e) A "commercial activity carried on in the United

   19           States by a foreign state" means commercial activity carried

   20           on by such state and having substantial contact with

   21           the United States.

   22

   23    163.   The cancelled appointment on August 19, 2021 for the

   24    meeting at the consulate office in San Diego was scheduled

   25    expressly for consulate notarial services and emergency travel

   26    documents. The appointment on September 7, 2021 was for the same

   27    with the hope of obtaining a replacement passport, after ROBERT

   28    was able to obtain his birth certificate from Manila.
                                            46
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     1   164.    On August 19, 2021 the consulate office of San Diego

     2   unilaterally cancelled the appointment with ROBERT, causing him

     3   to pay for cancellation fees in the amount of $14.67 (EXHIBIT H).

     4   The cancellation was unfair insofar as ROBERT had sought services

     5   that were part of their service offerings.

     6   165.    Furthermore, ROBERT'S appointment at the consular office in

     7   Los Angeles yielded notarized documents (EXHIBIT I), services

     8   that are commercial in nature, and falling under the ambit of

     9   this court's jurisdiction.

    10   166.    The transaction for the emergency travel document and the

    11   replacement passport have yet to be concluded. However, for the

    12   purpose of this action ROBERT asserts his rights on the basis

    13   that all appointments concluded were for commercial transactions

   14    in the meaning of 28 USC ~ 1330, irrespective of whether he was

   15    able to obtain a replacement passport or not.

   16

   17           CONSUL OFFICIALS' DUTY TO AID FILIPINOS IN DISTRESS

   18    167.    According to the Philippine Department of Foreign Affairs,

   19    consulate staff members are instructed to assist distressed

   20    Filipinos around the world. ROBERT, in no uncertain terms,

   21    informed the staff that he is homeless and pleaded for

   22    assistance. Culled from their website is the following verbiage,

   23    articulating a policy statement that needs to be heeded

   24    (https://www.philippineconsulatela.org/other-services/assistance-

   25    to-distressed-filipinos)

   26                Assistance to Distressed Filipinos

   27                Under the declared government policy of promoting and

   28           protecting the rights and well-being of all overseas
                                            47
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     1        Filipinos, it is the Consulate's responsibility to protect

     2        the right and interests of all distressed Filipinos under

     3        its jurisdiction (ex. detained or arrested) within the

     4        parameters allowed by the United States Government in the

     5        intervention of its official proceedings.

     6              The Assistance to Nationals (ATN) section of the

     7        Philippine Consulate General attends to cases involving

    8         Filipinos in distress. Actions taken by the ATN Section

    9         include, but are not limited to:

   10                 1. Assistance in facilitating repatriation to the

   11                    Philippines

   12                 2. Assistance in human trafficking cases

   13                 3. Monitoring of cases in court

   14                 4. Assistance in the Shipment of Remains

   15                 5. Assistance in criminal cases

   16                 6. Assistance in locating whereabouts of missing

   17                    Filipino nationals

   18                 7. Prison visitation

   19                 8. Provision of legal advice

   20                 9. Mediation/ conciliation

   21              The ATN Section is also in charge of taking note of

   22         consular notifications sent by U.S. authorities involving

   23         detained or arrested Filipino nationals. The Consulate calls

   24         the police or detention facility to check on the Filipino

   25         national and determine the case involved.

   26              The ATN Section also coordinates with non-government

   27         organizations and government agencies involving laws and

   28         policies affecting labor, human trafficking, anti-
                                             48
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     1          discrimination, among others.

     2               The ATN Section is available from Mondays to Fridays,

     3          9:OOam to 6:OOpm through telephone number 213-637-3024. For

     4          urgent concerns, Filipinos in distress may call the mobile

     5          A TN number at 1-213-587-0758 or hotline number 1-213-268-

     6          9990. You can also send an email to lapcg.atn@gmail.com

     7

     8   168.   The policy position clearly states a duty of care towards

     9   Filipinos experiencing distress around the world. They are by

   10    definition a call for vigilance and an attitude of readiness to

   11    extend aid to Filipinos abroad who cannot for themselves. Failing

   12    to heed such policies are tantamount to abandoning their posts

   13    and an outright act of negligence.

   14    169.   This is significant because, according to an email from the

   15    staff in San Diego, ROBERT'S emails were forwarded to the

   16    Nationals Team as early as April 7, 2021 (EXHIBIT C - Email #10).

   17    The emails would have informed them of ROBERT'S homelessness as

   18    it was mentioned numerous times on emails (EXHIBIT C - Emai1 ##'s

   19    #03, 06, 09, 11, 12, 14, 15, 22, 49). Moreover, he was also

   20    grieving for his mother's death - the reason his travel to the

   21    Philippines is required. It was treated on several emails,

   22    including the transmittal of his mother's death certificate

   23    (EXHIBIT C - Email ##'s Ol, 06, 52)     ROBERT even complained on an

   24    email that he is stuck in the USA (EXHIBIT C - Email #22)                 i

   25    170.   In light of the clear indication of someone in distress,

   26    can anyone make the argument that DEFENDANTS were comporting

   27    themselves in a manner consistent with their duties?

   28
                                            .•
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     1              MAT•ICIOUS,   OPPRESSIVE AND FRAUDULENT CONDUCT

     2   171.   All told, ROBERT'S failure to return home has been caused

     3   b y pretended and unseemly excuses that were malicious, oppressive

     4   and fraudulent conduct.

     5   172.   First, DEFENDANT CONGE/SD scheduled an appointment that

     6   they did not intend to keep, canceling it at the last minute

     7   after ROBERT had already made arrangements to travel by train.

     8   They did so without good cause as the services he sought were

     9   available at the San Diego consulate office.

   10    173.   Second, DEFENDANTS fraudulently claimed that the documents

   11    ROBERT presented were not suitable or complete, requiring him the

   12    added burden of obtaining a document in the Philippines that will

   13    tend to only repeat what was on the birth certificate, which he

   14    had already presented.

   15    174.   Third, they used the excuse of COVID-19 not to provide

   16    ROBERT a replacement passport despite having all documents.

   17    However, at all times that ROBERT was inside the consulate office

   18    in Los Angeles, COVID-19 social distancing guidelines were

   19    neither followed nor enforced.

   20    175.   Fourth, they fraudulently represented that the spelling of

   21    his middle name was not known to them or could not be ascertained

   22    through their database having issued ROBERT a passport before.

   23    176.   Fifth, they fraudulently claimed that ROBERT'S name was not

   24    known to them, having issued him a passport before. They used the

   25    variance between `Roberto" that was on his birth certificate and

   26    ~~Robert" that was on his California driver's license as an excuse

   27    to deny his request for a replacement passport. Only earlier the

   28    consulate notary simply had him enter AKA beside one of the names
                                            50
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     1   to execute a court-ready document (EXHIBIT P).

     2   177.    In view of the fact they are the only source for travel

     3   document available to ROBERT, and having knowledge of his

     4   homelessness and the purpose of his trip (to settle his deceased

     5   mom's estate), they were in dereliction of their duty of care.

     6   Their actions were malicious, oppressive and fraudulent.

     7

     8                       EXTREME AND OUTRAGEOUS CONDUCT

     9   178.    The California Supreme Court codified when extreme and

    10   outrageous conduct exists, holding:

    11               "A cause of action for intentional infliction of

    12          emotional distress exists when there is "'"~ (1) extreme and

    13          outrageous conduct by the defendant with the intention of

   14           causing, or reckless disregard of the probability of

   15           causing, emotional distress; (2) the plaintiff's suffering

   16           severe or extreme emotional distress; and (3) actual and

   17           proximate causation of the emotional distress by the

   18           defendant's outrageous conduct. """ (Potter v. Firestone

   19           Tire & Rubber Co. (1993) 6 Ca1.4th 965, 1001 X25 Ca1.Rptr.2d

   20           550, 863 P.2d 795]; see Christensen v. Superior Court (1991)

   21           54 Ca1.3d 868, 903 (2 Ca1.Rptr.2d 79, 820 P.2d 181].) A

   22           defendant's conduct is "outrageous" when it is so "'"extreme

   23           as to exceed all bounds of that usually tolerated in a

   24           civilized community.""' (Potter, at p. 1001.) And the

   25           defendant's conduct must be "~"intended to inflict injury or

   26           engaged in with the realization that injury will result.""'

   27           (Ibid.)" (Hughes v. Pair, 209 P. 3d 963 - Cal: Supreme Court

   28           2009 a t 1051)
                                            51
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     1   179.   Here we find a man who is not only homeless, but also

     2   grieving after the death of his mother. ROBERT was an open book

     3   to his interviewers, making his condition known to each and

     4   every consular representative involved in his quest to return

     5   home. Through emails he revealed that he was homeless. The reason

     6 ~ for his return is to settle his deceased mother's estate who

     7   bequeathed to him certain properties in the Philippines. These

     8   properties may very well be the only earthly possession of his

     9   mother left to him and something ROBERT viewed as his mother's

   10    legacy and part of his ancestral heritage.

   11    180.   The delays, excuses and ultimate denial of his request for

   12    a replacement passport amounts to extreme and outrageous behavior

   13    insofar as the consulate remains the only source of travel

   14    documents. It was calculated to inflict injury with the clear

   15    knowledge of its effects. All such actions and deprivations have

   16    caused him serious distress including feelings of suffering,

   17    anguish, fright, horror, nervousness, grief, anxiety, worry,

   18    shock, humiliation, shame, bitterness, frustration and

   19    interrupted sleep.

   20

   21       DEFENDANTS' APPOINTMENT CANCELLATION UNFAIR UNDER UCL LAWS

   22    181.   On July 19, 2021 ROBERT requested an appointment at the

   23    consulate office in San Diego. Weary of the pandemic, he

   24    calculated that because of its location less people are prone to

   25    seek appointments there. (SEE EXHIBIT C - Email #Ol) According to

   26    the staff, the soonest that could be scheduled was August

   27    19, 2021 at 1:15PM, which ROBERT accepted.

   28    182.   Uncertain of train travel procedures, ROBERT traveled from
                                            52
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     1   the City of Orange by bus to the AmTrak train station in Santa

     2   Ana on the morning of the 16th. He bought his round-trip

     3   ticket (EXHIBIT G) and acquainted himself with the boarding

     4   procedures. He had planned to take the earliest bus on the

     5   morning of the appointment to arrive at the train station at 7AM.

     6   It was going to be his first train ride to San Diego. He did not

     7   want to risk delays or other complications that would prevent him

     8   from arriving timely for his appointment. He doubted he would

     9   have the time to purchase the tickets that morning.

   10    183.    When he returned, an email from the consul office in San

   11    Diego was waiting in his inbox. They unilaterally cancelled his

   12    appointment for the 19th. The reason, the email read:

   13           "We regret to inform that we have to cancelled your

   14           appointment here in San Diego, as we cannot process your

   15           request for emergency travel document." (EXHIBIT C - Email #

   16           24)

   17

   18    184.    ROBERT had sought an appointment for two reasons. First, he

   19    needed consular notary service for two documents to be filed in a

   20    Philippine court. Second, he sought travel documents to the

   21    Philippines. At that time, he was only able to gather documents

   22    for an `Emergency Travel Document." At least in the days prior,

   23    he was in the process of collecting and copying all the papers

   24    required.

   25    185.    According to their website (www.philippineconsulatela.org),

   26    the consul office in San Diego offers all the services that

   27    ROBERT sought, including:

   28           Services being offered at the Honorary Consulate in San
                                            53
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     1           Diego, CA:

     2           - Consularization / authentication of documents;

     3           - Issuance of emergency Travel Document;

     4           - Issuance of mortuary certificates

     5

     6   186.    The cancellation of the appointment was unfair, in the

     7   meaning of California's Unfair Competition Laws (UCL), in that

     8   ROBERT had procured the things required of him by DEFENDANTS,

     9   made travel arrangements including the purchase of train tickets,

    10   among others. The cancellation caused him at least $14.67 and

    11   other expenses including cost for obtaining documents. To

   12    facilitate the (Self-Stamped Return Envelope) transaction, ROBERT

   13    even obtained a mailbox. Such expenditures may not

   14    be considerable to most other people. However, for a homeless

   15    individual on an extreme budget, it is oppressive.

   16

   17             ROBERT'S RIGHT TO EQUAL PROTECTION CLEARLY VIOLATED

   18    187.    ROBERT sought a passage back to the land of his birth.

   19    Although hampered by certain financial limitations, he found

   20    obtaining a replacement passport provides him the flexibility of

   21    the time and means to travel back to the Philippines. The

   22    original request for "Emergency Travel Document" proved to be too

   23    expensive and required purchasing travel tickets (travel

   24    itinerary) before even being granted travel credentials. It risks

   25    being declined and the applicant being subjected to cancellation

   26    fees.

   27    188.    Moreover, the "Emergency Travel Document" is only effective

   28    for 30 days, an untenable situation during a pandemic when travel
                                            54
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     1   is subject to delays and certain restrictions. Travelers to the

     2   Philippines, at least during the time of this controversy, were

     3   being quarantined, which would have added unplanned costs because

     4   travel must be undertaken within that timeframe.

     5   189.   For the purpose of this action, ROBERT invokes his right as

     6   a Philippine national to return to his home country. At the

    7    present time both the Philippines and the USA enjoy normal

    8    diplomatic relations such that he is not subject to any

     9   restrictions. Travel there is a right that is currently available

   10    to those similarly situated but not available to ROBERT, despite

   11    presenting all the documents required to obtain a replacement

   12    passport.

   13    190.   To deny ROBERT a replacement passport, DEFENDANTS stated

   14    that the original appointment was for an ~~Emergency Travel

   15    Document" and not a replacement passport. They were exercising

   16    COVID-19 precautions. It was a glaring act of inflexibility

   17    considering no added measures were required as both documents

   18    will result in his entry into the country. When ROBERT presented

   19    DEFEDANTS with all the documents for a replacement passport, they

   20    engineered pretended reasons that included an unreadable middle

   21    name (Lagdameo) on his birth certificate and a variance between

   22    the name (Roberto) that appeared on his birth certificate and the

   23    name (Robert) that appeared on his California-issue

   24    identification card.

   25    191.   As a matter of law, DEFENDANTS cannot deny ROBERT the same

   26    rights and privileges that they normally would to those similarly

   27    situated. For the purpose of this action, ROBERT asserts that one

   28    of the reasons for the denial of a replacement passport, which
                                            55
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     1   would allow him to travel to the Philippines, is his confessed

     2   homelessness. All such deprivations violate ROBERT'S rights to

     3   equal protection under the law, guaranteed by the 14th Amendment

     4   of the Constitution of the United States of America.

     5

     6            COLOR OF LAW VIOLATION ARISING FROM DIPLOMATIC TIES

     7   192.    The Philippine diplomatic mission in the USA exists because

     8   of treaties entered into by the governments of the USA and the

     9   Republic of the Philippines. The violations complained of in this

   10    action would not have been possible had it not been for the

   11    privileges accorded to it by the US government. Color of law

   12    violations require the nexus of relationship between the actor

   13    and the government. That fact is now beyond dispute.

   14    193.    ROBERT argues that DEFENDANTS were acting under color of

   15    law, principally in furtherance of Philippine and US diplomatic

   16    agreements and aspirations. Hence, the DEFENDANTS were clothed on

   17    authority, acting in their official and personal capacities.

   18    194.    The 9th Circuit once ruled that a chaplain within a state

   19    prison was a state actor in the meaning of 42 USC ~ 1983.

   20    Accordingly, it would be incomprehensible for the courts to rule

   21    that such a nexus does not exist between the two allied nations.

   22    The Philippine diplomatic mission is a government entity and

   23    exists here in the United States under the exclusive auspices of

   24    the US government.

   25           Case laws on 42 USC § 1983 provide:

   26               "A defendant has acted under color of state law where

   27           he or she has "exercised power `possessed by virtue of state

   28           law and made possible only because the wrongdoer is clothed
                                            56
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     1          with the authority of state law."' West v. Atkins, 487 U.S.

     2          42, 49 (1988) (quoting United States v. Classic, 313 U.S.

     3          299, 326 (1941)); see also Polk County v. Dodson, 454 U.S.

     4          312, 317-18 (1981); Anderson v. Warner, 451 F. 3d 1063, 1068

     5          (9th Cir. 2006); McDade v. West, 223 F.3d 1135, 1139-40 (9th

     6          Cir. 2000); Johnson v. Knowles, 113 F. 3d 1114, 1117 (9th

     7          Cir. 1997); Vang v. Xiong, 944 F. 2d 476, 479 (9th Cir.

     8          1991); see also Florer v. Congregation Pidyon Shevuyim,

     9          N.A., 639 F.3d 916, 922 (9th Cir. 2011) (determining whether

    10          private entities operating as contract chaplains within the

    11          Washington State prison system were state actors for

   12           purposes of ~' 1983 and RLUIPA)."

   13

   14    195.    Moreover, ROBERT alleges that the deprivations complained

   15    of were the result of DEFENDANT'S policy, practice and custom

   16    instituted by CONGEN/SD and CONGEN/LA and their leadership.

   17    Specific to these are the contributions by CONGEN/SD and

   18    CONGEN/LA who were heading the missions in their respective

   19    cities. It began with the wayward dealings at the consulate

   20    office in San Diego, with the delays and cancellation of

   21    appointments, which ended with the unreasonable denial of

   22    ROBERT'S application for a replacement passport at

   23    the consulate office in Los Angeles. There were at least two

   24    individuals in San Diego (Ms. Borge and Ms. Esteban) and at least

   25    three individuals in Los Angeles (Michelles,

   26    unnamed representative and Ms. Mendoza) whom, through their

   27    machinations, conspired to deprive ROBERT his passport.

   28    197.   An error by an employee or agent under the definition
                                            57
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     1   of respondeat superior will not hold in a Section 1983 case. Here

     2   we see a concerted effort by numerous individuals consistent with

     3   policy, practice and custom peculiar to DEFENDANTS, to deny

     4   ROBERT entry to the Philippines because of his homelessness and

     5   presumed future dependency on the government of the Philippines

     6   upon his return.

     7

     8          FEDERAL FINANCIAL AID PROHIBITS DISCRIMINATORY PRACTICES

     9   196.    According to the Foreign Assistance.gov, from January 2001

   10    until July 2021, the Philippines received $428,281,964 in aid of

   11    various forms from the United States.

   12           https://foreignassistance.gov/cd/philippines/

   13

   14    197.    According to US Aid, through an article published on April

   15    15, 2020:

   16           "The U.S. government has provided an additional Php66

   17           million ($1.3 million) to combat the COVID-19 outbreak in

   18           the Philippines, bringing total U.S. government assistance

   19           to more than Php203 million ($4 million) to date."

   20           https://www.usaid.gov/philippines/press-releases/apr-15-

   21    2020-us-provides-additional-php66-million-support-Philippines

   22    198.    According to the US Department of State:

   23       'Over the last decade, disaster relief and recovery has also

   24           become an increasingly important area of assistance to the

   25           Philippines.   The United States has provided over $143

   26           million in assistance to date to the people of the

   27           Philippines in relief and recovery efforts after Typhoon

   28           Haiyan/Yolanda devastated the country in 2013.     The United
                                            58
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     1          States continues to support long-term reconstruction and

     2          rebuilding efforts, and has allocated over $60 million to

     3          support ongoing humanitarian assistance and stabilization

     4          funding in response to the Marawi siege."

     5          h ttps://www.state.gov/u-s-relations-with-the-Philippines/

     6

     7   199.    In September 2021, the Manila Times reported:

     8          "(Presidential spokesman), Harry Roque Jr., said the

     9          Philippines had been receiving far less military assistance

   10           than other countries the US has a similar pact with. Roque

   11           said the Philippines should get at least what Pakistan is

   12           getting, about $16.4 billion in military aid."

   13           h ttps://www.manilatimes.net/2021/03/06/news/national/us-

   14    gives-in-to-duterte-demand-for-military-aid/847802/

   15

   16    200.   Assuming that the figures are incorrect by virtue of

   17    incomplete entry or accounting errors, it still cannot be denied

   18    the Philippine government receives aid from the US government,

   19    which is subject to the provisions and prohibitions of 42 USC ~

   20    2000d. This includes relief from this court in the form of an

   21    injunctive order and others that it deems fit and proper as a

   22    matter of private cause of action.

   23

   24                               CAUSES OF ACTION

   25                            FIRST CAUSE OF ACTION

   26                 (Fraud - California Civil Code 1709 ~ 1710)

   27    201.   Plaintiff incorporates by reference the allegations in all

   28    preceding paragraphs of this complaint as though fully set forth
                                            59
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     1   in this paragraph.

     2   202.    DEFENDANTS induced ROBERT to engage them in consulate

     3   services for legal documents to be filed in the Philippine

     4   courts. They are also the only source of passports for Filipino

     5   nationals who wish to travel to and from the country.

     6   203.    California Civil Code 1709 § 1710 provides.

     7               1 709.   One who willfully deceives another with intent

     8          to induce him to alter his position to his injury or risk,

     9          is liable for any damage which he thereby suffers.

    10               1 710. A deceit, within the meaning of the Last section,

    11          is either:

   12             1. The suggestion, as a fact, of that which is not true,

   13                by one who does not believe it to be true;

   14             2. The assertion, as a fact, of that which is not true, by

   15                one who has no reasonable ground for believing it to

   16                be true;

   17             3. The suppression of a fact, by one who is bound

   18                to disclose it, or who gives information of other facts

   19                which are likely to mislead for want of communication

   20                of that fact; or,

   21             4. A promise, made without any intention of performing           I~

   22                it.

   23

   24    204.    ROBERT claims that DEFENDANT PHILIPPINES made false

   25    representations that harmed his interests. To establish these

   26    claims, ROBERT will prove all of the following:

   27      1. That DEFENDANTS represented to ROBERT facts that were not

   28           true including:
                                            .~
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     1           a. DEFENDANTS, by and through the consulate office in San

     2              Diego, scheduled an appointment with ROBERT without any

     3             intention of honoring it. They cancelled the

     4             appointment without good cause, despite a request for

    5              services that they were able to perform, causing ROBERT

    6              to pay cancellation fees in the amount of $14.67 to

    7              Amtrak, among other expenses.

    8            b. DEFENDANTS, by and through the consulate office in Los

    9              Angeles, denied ROBERT a replacement passport using

   10              fraudulent reasons, including:

   11                   a)    Asserting that his middle name (mother's

   12                    maiden name) on the birth certificate was not

   13                    readable and could not be corroborated by his

   14                    mother's death certificate or information on their

   15                    database.

   16                  b)     Asserting that the COVID-19 pandemic did not

   17                    give them the flexibility to change their

   18                    appointment from a request for emergency travel

   19                    document to a replacement passport.

   20                  c)     Asserting that the variance of the name

   21                    ROBERTO that appears on his birth certificate and

   22                    ROBERT on his California Identification Card could

   23                    not be explained away, denying his request for a

   24                    replacement passport.

   25                  d)     ROBERT sought a replacement for his lost

   26                    passport. In his interactions with the consulate

   27                    officers, they hid the fact that all the

   28                    information such as his first and middle names are
                                            61                                     I
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     1                     already known to them. A replacement passport

     2                     means that a previous passport was already issued,

     3                     suppressing information and misleading ROBERT to

     4                     believe that his documents were inadequate and

     5                     that his return appointment was necessary.

     6     5. That DEFENDANTS, by and through its consulate offices knew

     7          the representations were false;

     8     6. That DEFENDANTS, by and through its consulate offices, knew

     9          that the representations were false when it was made it,

   10           doing so without regard for its truth;

   11      7. That DEFENDANTS, by and through its consulate offices,

   12           intended that ROBERT rely on the representations;

   13      8. That ROBERT reasonably relied on DEFENDANTS', by and through

   14           its consulate offices, representations;

   15      9. That ROBERT was harmed; and

   16      10.        That ROBERT'S reliance on DEFENDANTS representations

   17           was a substantial factor in causing his harm.

   18

   19                            SECOND CAUSE OF ACTION

   20                (Negligence - California Civil Code ~ 1714(a))

   21    205.     Plaintiff incorporates by reference the allegations in all

   22    preceding paragraphs of this complaint as though fully set forth

   23    in this paragraph.

   24    206.     California Civil Code ~ 1714(a), provides in relevant

   25    parts:

   26                "Everyone is responsible, not only for the result of

   27           his or her wi11fu1 acts, but also for an injury occasioned

   28           to another by his or her want of ordinary care or skill in
                                            62
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     1            the management of his or her property or person, except so

     2            far as the latter has, willfully or by want of ordinary

     3            care, brought the injury upon himself or herself."

     4

     5     207.    ROBERT claims that DEFENDANT PHILIPPINES' conduct caused

     6     him to suffer severe emotional distress. To establish this claim,

     7     ROBERT will prove all of the following:

    8        1. That DEFENDANTS' conduct was outrageous;

     9 '     2. That DEFENDANTS intended to cause ROBERT

   10             emotional distress;

   11        3. That ROBERT suffered severe emotional distress; and

   12        4. That DEFENDANTS conduct was a substantial factor in causing

   13             ROBERT's severe emotional distress.

   14

   15                              THIRD CAUSE OF ACTION

   16                  (Negligent Infliction of Emotional Distress)

   17      208.    Plaintiff incorporates by reference the allegations in all

   18      preceding paragraphs of this complaint as though fully set forth

   19      in this paragraph.

   20      209.    ROBERT claims that DEFENDANTS' conduct caused him to suffer

   21      severe emotional distress. To establish this claim, ROBERT will

   22      prove all of the following:

   23        1. That DEFENDANTS'conduct was outrageous;

   24        2. That DEFENDANTS negligently caused him emotional distress;

   25        3. That ROBERT suffered severe emotional distress;

   26        4. That DEFENDANTS conduct was a substantial factor in causing

   27             ROBERT's severe emotional distress; and

   28        5. That ROBERT experienced serious distress including: feelings
                                             63
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     1          of suffering, anguish, fright, horror, nervousness, grief,

     2          anxiety, worry, shock, humiliation, shame, bitterness,

     3          frustration and interrupted sleep.

     4

     5                          FOURTH CAUSE OF ACTION

     6               (Intentional Infliction of Emotional Distress)

    7    210.    Plaintiff incorporates by reference the allegations in all

    8    preceding paragraphs of this complaint as though fully set forth

    9    in this paragraph.

   10    211.    The cause of action intentional infliction of emotional

   11    distress include the following elements:

   12           "The elements of the tort of intentional infliction of

   13           emotional distress are: '"(1) extreme and outrageous conduct

   14           by the defendant with the intention of causing, or reckless

   15           disregard of the probability of causing, emotional distress;

   16           (2) the plaintiff's suffering severe or extreme emotional

   17           distress; and (3) actual and proximate causation of the

   18           emotional distress by the defendant's outrageous

   19           conduct...." Conduct to be outrageous must be so extreme as

   20           to exceed all bounds of that usually tolerated in a

   21           civilized community.' (Citation.] The defendant must have

   22           engaged in 'conduct intended to inflict injury or engaged in

   23           with the realization that injury will result." (Potter v.

   24           Firestone Tire & Rubber Co., 863 P. 2d 795 - Ca1: Supreme

   25           Court 1993 at 1001)

   26

   27    212.    ROBERT claims that DEFENDANTS' conduct caused him to suffer

   28    severe emotional distress. To establish this claim, ROBERT will
                                            64
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     1   prove all of the following:

     2     1. That DEFENDANTS' conduct was outrageous;

     3     2. That DEFENDANTS intended to cause ROBERT emotional distress;

     4     3. That ROBERT suffered severe emotional distress; and

     5     4. That DEFENDANTS' conduct was a substantial factor in causing

     6          ROBERT'S severe emotional distress.

     7

     8                            FIFTH CAUSE OF ACTION

     9            (Unruh Civil Rights Act - California Civil Code ~ 51)

    10   213.     Plaintiff incorporates by reference the allegations in all

    11   preceding paragraphs of this complaint as though fully set forth

    12   in this paragraph.

   13    214.     The California Unruh Civil Rights Act, provides in relevant

   14    parts:

   15           "All persons within the jurisdiction of this state are free

   16           and equal, and no matter what their sex, race, color,

   17           religion, ancestry, national origin, disability, medical

   18           condition, genetic information, marital status, sexual

   19           orientation, citizenship, primary language, or immigration

   20           status are entitled to the full and equal accommodations,

   21           advantages, facilities, privileges, or services in all

   22           business establishments of every kind whatsoever."

   23

   24    215.   ROBERT claims that DEFENDANTS denied him full and equal

   25    services, including but not limited to, denying his application a

   26    for replacement of his lost passport because of his confessed

   27    homelessness and perceived inability to support himself

   28    while traveling in the Philippines. To establish this claim,
                                            65
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     1     ROBERT will prove all of the following:

     2       1. That DEFENDANTS denied full and equal services by failing to

     3            issue a replacement for passport to ROBERT;

     4       2. That a substantial motivating reason for DEFENDANTS' conduct

     5            was its determination of ROBERT'S homelessness and condition

     6            of lack that would cause him to be a ward of the state upon

     7            his arrival there;

    8        3. That ROBERT was harmed; and

     9 ~     4. That DEFENDANTS' conduct was a substantial factor in causing

   10             ROBERT'S harm.

   11

   12                              SIXTH CAUSE OF ACTION

   13       (Bus & Prof Code § 17200 - California Unfair Competition Laws)

   14      216.    Plaintiff incorporates by reference the allegations in all

   15      preceding paragraphs of this complaint as though fully set forth

   16      in this paragraph.

   17      217.    ROBERT claims that he lost money and valuable time as a

   18      result of DEFENDANT CONGEN/SD unilaterally cancelling his

   19      appointment without good cause. Bus & Prof Code ~ 17200 prohibits

   20      unfair business practices that are harmful to consumers.

   21      218.    To establish this claim, ROBERT will prove all

   22      of the following:

   23        1. That DEFENDANT PHILIPPINES by and through DEFENDANT

   24             CONGEN/SD and CONGEN/LA, and because of exclusive offerings,

   25             compelled ROBERT to engage them in procuring consular

   26             services;

   27        2. That DEFENDANT PHILIPPINES by and through DEFENDANT

   28             CONGEN/SD, scheduled an appointment with ROBERT on August
                                              66
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     1          19, 2021 without the intention of honoring it and eventually

     2          cancelling it;

     3     3. That DEFENDANT PHILIPPINES by and through DEFENDANT

     4          CONGEN/SD, caused ROBERT to spend money for a mailbox,

     5          incurred expenses for the appointment including obtaining

     6          documents and making travel arrangements;

    7      4. That DEFENDANT PHILIPPINES by and through DEFENDANT

    8           CONGEN/SD, cancelled ROBERT'S appointment causing him to pay

    9           cancellation fees in the amount of $14.67 among others.

   10      5. That ROBERT was harmed;

   11      6. That DEFENDANTS' conduct amounts to ~~Unfair Practices" in

   12           the meaning of Bus & Prof Code ~ 17200 and was a substantial

   13           factor in causing ROBERT'S harm; and

   14      7. That DEFENDANTS' conduct was a substantial factor in causing

   15           ROBERT'S harm.

   16

   17                            SEVENTH CAUSE OF ACTION

   18     (42 U.S. Code ~ 1983 - Civil action for deprivations of rights)

   19    219.    Plaintiff incorporates by reference the allegations in all

   20    preceding paragraphs of this complaint as though fully set forth

   21    in this paragraph.

   22    220.    42 U.S. Code ~ 1983 provides:

   23               "Every person who, under color of any statute,

   24           ordinance, regulation, custom, or usage, of any State or

   25           Territory or the District of Columbia, subjects, or causes

   26           to be subjected, any citizen of the United States or other

   27           person within the jurisdiction thereof to the deprivation of

   28           any rights, privileges, or immunities secured by the
                                            67
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     1          Constitution and laws, shall be liable to the party injured

     2          in an action at law, suit in equity, or other proper

     3          proceeding for redress, except that in any action brought

     4          a gainst a judicial officer for an act or omission taken in

     5          such officer's judicial capacity, injunctive relief shall

     6          not be granted unless a declaratory decree was violated or

     7          declaratory relief was unavailable. For the purposes of this

     8          section, any Act of Congress applicable exclusively to the

     9          District of Columbia shall be considered to be a statute of

    10          the District of Columbia."

    11

    12   221.    ROBERT claims that DEFENDANTS, collectively and severally

   13    deprived him of rights protected by the US Constitution.

   14    Specifically, DEFENDANTS deprived him the right of travel and the

   15    freedom of movement, violating the 14th Amendment equal

   16    protection clause, which provides:

   17                 "A11 persons born or naturalized in the United States,

   18           and subject to the jurisdiction thereof, are citizens of the

   19           United States and of the State wherein they reside. No State

   20           shall make or enforce any law which sha11 abridge the

   21           privileges or immunities of citizens of the United States;

   22           nor shall any State deprive any person of life, liberty, or

   23           property, without due process of law; nor deny to any person

   24           within its jurisdiction the equal protection of the laws."

   25

   26    222.    To establish this claim, ROBERT will prove all of the

   27    following:

   28      1. That DEFENDANTS concocted pretended reasons and excuses to
                                             68
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     1          deny ROBERT'S application for a replacement of his lost

     2          passport;

     3     2. That DEFENDANTS were acting under the color of law as a

     4          foreign government under a diplomatic mission in the United

     5          States;

     6     3. That DEFENDANTS were in complete view of the harm they were

     7          causing having been told that ROBERT was traveling to settle

     8          his mother's estate and after having been presented with her

     9          death certificate;

   10      4. That ROBERT was harmed; and

   11      5. That DEFENDANTS' conduct was a substantial factor in causing

   12           ROBERT'S harm.

   13

   14                            EIGHTH CAUSE OF ACTION

   15           (42 U.S. Code § 2000d - Prohibition against exclusion)

   16    223.    Plaintiff incorporates by reference the allegations in all

   17    preceding paragraphs of this complaint as though fully set forth

   18    in this paragraph.

   19    224.    42 USC ~ 2000d provides:

   20           "No person in the United States shall, on the ground of

   21           race, color, or national origin, be excluded from

   22           participation in, be denied the benefits of, or be subjected

   23           to discrimination under any program or activity receiving

   24           Federal financial assistance."

   25

   26    225.   ROBERT claims that DEFENDANTS denied him full and equal

   27    accommodations, including but not limited to, failing to provide

   28    a replacement for ROBERT'S lost passport because of his confessed
                                            69
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     1   homelessness and their perceived inability to support himself

     2   while traveling in the Philippines. To establish this claim,

     3   ROBERT will prove all of the following:

     4     1. That DEFENDANT has a policy to exclude foreigners travelling

     5        to the Philippines who by appearance or admission may become

     6        a ward of the state during his/her travel;

     7     2. That the policy was wrongfully and unlawfully being applied

     8        to ROBERT who is a Philippine national;

     9     3. That DEFENDANTS knew that ROBERT was homeless;

   10      4. That DEFENDANTS knew that ROBERT was a Filipino national and

   11         not a visitor to the country;

   12      5. That DEFENDANTS, through misrepresentations and deceit,

   13         conspired to deprive ROBERT the means to travel there,

   14         cancelling an appointment with him, delaying assistance,

   15         using pretended excuses of typographical uncertainty

   16         (Lagdameo) and variances of his first name (Roberto &

   17         Robert) as excuses not to issue a replacement passport;

   18      6. That DEFENDANTS sought to deprive him of his right to travel

   19         and move freely by asking another document that is a

   20         functional duplicate of his birth certificate, which he

   21         already presented to them. And that the document could only

   22         be obtained in Manila at significant cost to ROBERT;

   23      7. That all the information DEFENDANTS needed to ascertain his

   24         true middle name and identity are available to them because

   25         ROBERT is seeking a replacement for his lost passport,

   26         meaning his information was already previously collected for

   27         his passport;

   28      8. That DEFENDANTS' actions were deliberate
                                            70
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     1           and disparate actions that were discriminatory towards

     2           ROBERT;

     3      9. That ROBERT was harmed; and

     4      10.       That DEFENDANTS were the direct cause of his injury.

     5

     6                              REQUEST FOR RELIEF

     7    226.    WHEREFORE, Plaintiff requests judgment against DEFENDANTS,

     8    as set forth herein below:

     9      1. Issue an injunctive order for DEFENDANTS to deliver to

   10 I          ROBERT a replacement for his lost Philippine passport;

   11       2. Declare that disparate impact policies instituted by

   12            DEFENDANTS discriminated against ROBERT;

   13       3. Declare that policies instituted by DEFENDANTS deprived

   14            ROBERT of his 14th Amendment Right to equal protection under

   15            the law.

   16       4. Pursuant to the First, Second, Third, Fourth, Fifth, Sixth,

   17            Seventh and Eighth Causes of Action, grant compensatory

   18            penalties and permissible damages according to proof;

   19       5. Pursuant to California Civil Code X3294, grant punitive

   20            damages according to proof;

   21       6. Pursuant to 42 USC ~ 1983, grant punitive damages according

   22            to proof;

   23       7. Enter all and such orders required to restore money and/or

   24            property, which may have been lost or displaced by means of

   25            these unlawful acts, as provided by applicable laws;

   26       8. Award Plaintiff his costs of suit;

   27       9. Grant such other and further relief as the Court deems just

   28            and proper.
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     1                           BENCH TRIAL COMPULSARY

     2   227.   28 USC ~ 1330 does not make available a trial by jury.

     3

     4   Respectfully submitted,

     5   Dated: September 22, 2021

     6

     7   /s/ Robert Lacambra

     8   ROBERT LACAMBRA - Plaintiff, In Pro Se

     9

    10

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     1                                VERIFICATION

     2        I, Robert Lacambra, am the Plaintiff in the above-entitled

     3   action. I have read the foregoing "Verified Complaint" and know

     4   the contents thereof. The same is true of my own knowledge,

     5   except as to those matters which are therein alleged on

     6   information and belief, and as to those matters, I believe it to

     7   be true.

     8        I declare under penalty of perjury under the laws of the

     9   United States of America that the foregoing is true and correct

    10   and that this declaration was executed at the City

    11   of Orange, California.

   12

   13    Dated: September 20, 2021

   14

   15    /s/ Robert Lacambra

   16    ROBERT LACAMBRA - Plaintiff, In Pro Se

   17

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                                                         US DISTRICT COURT
                                      CENTRAL DISTRICT - SOUTHERN DIVISION
                                   LACAMBRA V. REPUBLIC OF THE PHILIPPINES




                                 EXHIBIT LIST


   EXHIBIT A - BURGLARY POLICE REPORT

   EXHIBIT B - MOTHER'S DEATH CERITIFICATE

   EXHIBIT C - ALL EMAILS BETWEEN PARTIES

   EXHIBIT D - PROMISED APPOINTMENT LETTER

   EXHIBIT   E   - 2ND   REQUEST FOR IMMEDIATE RESPONSE

   EXHIBIT F - AFFIDAVIT OF SUPPORT

   EXHIBIT G - TRAIN TICKET TO SAN DIEGO

   EXHIBIT H - AMTRAK REFUND TICKET

   EXHIBIT I - NOTARY RECEIPT

   EXHIBIT J - APPOINTMENT TICKET

   EXHIBIT K - PASSPORT APPLICATION

   EXHIBIT L - ROBERT'S BIRTH CERTIFICATE

   EXHIBIT M - PICTURE OF RECEPTION AT 845AM

   EXHIBIT N - ROBERT'S SOCIAL SECURITY CARD

   EXHIBIT O - ROBERT'S CA/ID & CDL

   EXHIBIT P - SPECIAL POWER OF ATTORNEY

   EXHIBIT Q - RP FORM - AFFIDAVIT OF LOSS

   EXHIBIT R - MAILBOX-IT RECEIPT
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      Orange Police Department                                                                              a~~=•~~p~•~~~
      CA




      Case #:20-06-0584                                                      Incident #: 20-06-0584

                                                                 Event

        493 N Glassell St ORANGE, CALIFORNIA 92866
            Type of Incident:           PC 459 -VEHICLE BURGLARY
            Date(Tlme Reported:         06/18/2020 16:57:52
            DateTme Started:            06/18/2020 16:57:52
            Datelfime Ended:            06/18/2020 20:16:00
            RD:                         RD 23W
            Report Type:                INITIAL
            CHP 180:                    No
            Domestic Violence:          No
            Hate Crime /Incident:       No
            Serialized Property:        No
            Gang Related:               No                                                                                  7
            Elder Abuse:                No
            Homeland Security:          No
           PRCS, Parole, Probation:     No
           Transient:                   No                                                                                       d
           Evidence Collected:          Yes
           Latent Prints:               No                                                                                      '+
           Photos Taken:                Yes
                                                                                                                                 u
           Surveillance Video:          No
           DNA:                         Yes
           Blood:                       No
           Comments:

                                                              Suspects (1)

       U NKNOWN,
           Related Type of Crimes:      459 BURGLARY
        Person Number:                  1
        Home Phone #:
        Work Phone #:
        Cellular phone #:
        Misc:
        Occupation Code:

                                                    ORANGE POUC~D~E~AR~T~MENT AUTH~ QRUED SOP
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     Orange Police Department                                                                            a.ry. wua.nro.rv~.m

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                                                                                                                                         a
      Case #'20-06-0584                                                     Incident #: 20-06-0584
                                                                                                                                        .j
      i                                                        Victim (1)
          IACAMBRA,ROBERT NELSON
             Victim Type:                  PERSON !INDIVIDUAL(NOT A LAW ENFORCEMENT OFFICER)

             Person Number:                1                                                                                             %e
             Related Type of Crlmes:       459 BURGLARY

             Address:                      TRANSIENT                                                                               ..
                                                                                                                               F
             City:                         ORANGE

             State:                        CALIFORNIA                                                                                   ~.q

             Zip:                          92867

             County:                       ORANGE

             Country:                      USA (UNITED STATES OF AMERICA)

             Relationship To Offender:     UNKNOWN UNKNOWN ,Stranger -Unknown

             Victim Burglary, Larceny or   ABSENT
                                                                                                                                         6
             Robbery:
             Domeslfc Violence             No
             Date of Birth:                09/25/1965
             Age:                          54
             Sex:                          MALE
             Race:                         Filipino
             Ethnicity:                    NON-HISPANIC
             Injury:                       No
             Work Phane #:
             Cellular Phone #:             (949)-426-8730
             DL Number:                    C3301950
             DL State:                     CALIFORNIA
             Email:                        ROBERTSJUSTICE@LIVE.COM




                                                   ORANGE POLICED PARTMENT AUTHORIiEp CQP~I
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    Printed On06/29/2020                                    Page 2 of 9                              .v..:,
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      Orange Police Department                                                                                           °.~.a•°~~~.°•,.,,-..
      ca


       Case #:20-06-0584                                                                Incident #: 20-06-0584

                                                                    Offenses (1)

        459 BURGLARY
           UCR NIBRS Code:                   06d. Larceny/Thett d. From Motor Vehicles (except e.)
           Felony Alisdemeanor:              FELONY
           UCR Class:                        LARCENY THEFT (EXCEPT MOTOR VEHICLES)
           UCR Subclass:                     THEFT FROM MOTOR VEHICLE
          Degree:                            F
          State Code:                        400
           UCR Hierarchy:                    12900
          Offense Location:                  LIQUOR STORE
          Premise:                           GAS /SERVICE STATION
           Bias Motivation Crime:            NONE
           Method of Entry:                  SMASH GLASS
           Instr Tool Used:                  OTHER
          Point Of Entry:                    REAR WINDOW
           Forcible (Property Crime Only):   YES
          Scene Visibility:                  CLEAR
           Time Ot Day:                       Night
           Counts(Records Only):              t
           Crime Prevention Follow Up         No
           Needed:

                                                                     Vehicle (1)
         1990 GMC Suburban
           Related Offense:                  459 BURGLARY
           VIN:                               1 GKGR26N1 LF508535
           Vehicle Type:                      STATION WAGON
          Status:                             VICTIM VEHICLE
          Damage:                             REAR PASSENGER WINDOW SMASH
          Style:                              STATION WAGON
          Color(s):                           Blue
          Plate No.:                         80553M1
          Year of Plate:                     20t7
          State of Plate:                     CALIFORNIA
          Related To:                        LACAMBRA ROBERT NELSON

                                                                   Property(17)

        BAS                                                                             ORANGE POLIC DEPARTMENT AUTF(ORIZED CONY
          Related Type of Crimes:            459 BURGLARY                               RELEA E TO:          r- ~ 1 _ <S~ nn_(Yl►~Q
          Property Status:                   STOLEN                                    DATE:         Q.gy;       YJ 1~~
                                                                                       NOTICE: THIS COPY IS NOT TO BE DUPLICATED OR
          quantity:                          1.0000
                                                                                       TRANSFERRED TO ANOTHER PERSON OR AGENCY
          Color:                             Black                                     AND IS TO BE DESTROYED BY THE ABOVE NAMED
                                                                                       INDIVIDUAL OR AGENCY UPON COMPLETION OF ITS
          Property Value:                    ~                                         ORIGINAL USE. ORANGE POLICE DEPARTMENT.
          Related To:                        LACAMBRA R08ERT NELSON




     Printed On 06!29/2020                                     Page 3 of 9                                       Printed By 1378, KL
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    Orange Police Department                                                                               o..~r cdio wwnm.~~

    CA




     Case #:20-06-0584                                                 Incident #: 20-06-0584

      LAPTOP 15 INCH'vV CHARGING CABLE
          R elated Type of Crimes:   459 BURGLARY
          Property Status:           STOLEN
          Quantity:                  1.0000
          Color:                     Aluminum/Silver
          Make:                      HP
          Serial:                    NONE
          Property Value:            -
          Related To:                LACAMBRA ROBERT NELSON

       BATTERY PACK W CABLE
          Related Type of Crimes:    459 BURGLARY
          Property Status:           STOLEN
          quantity:                  1.0000
          Color:                     Black
          Make:                      ANKER
          Property Value:
          Related To:                LACAMBRA ROBERT NELSON

       PHILIPPINES BIRTH CERTIFICATE
          Related Type of Crimes:    459 BURGLARY
          Property Status:           STOLEN
          quantity:                  1.0000
          Property Value:            _
          Related To:                LACAMBRA ROBERT NELSON

         VEHICLE REGISTRATION
          Related Type of Crimes:    4598URGLARY
          Property Status:           STOLEN
          Quantlty:                  1.0000
          Serial:                    80553M 1
          Property Value:
          Related To:                LACAMBRA ROBERT NELSON

      HARDDRIVE 1TB
          Related Type of Crimes:    4596URGLARY
          Property Status:           STOLEN
          Quantity:                  7.0000
                                                                     ORANGE POUC~.pEPARTMENT AU~H,,O~RInt1 CQ~Y
          Color:                     Black
                                                                     RELEASE TO: ~'~~'~a= ~~ IXC1    a]     •^(1~~Q
          Make:                      WESTERN DIGITAL                 DATE:~~.         BY:    ~- ~3.`]$
          Property Value:                                            NOTICE: THIS COPY IS NOT TO BE OUr~IICATED OR
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          Related To:                LACAMBRA ROBERT NELSON          A ND IS TO BE DESTROYED BY THE A60VE NAMED
                                                                     INDIVIDUAL OR AGENCY UPON COMPLETION OF RS
                                                                     ORIGINAL USE. ORANGE POLICE DEPARTMENT.




   P ainted On06/29/2020                               Page 4 of 9                              Printed By 1378, KL
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    Orange Police Department                                                                               M~nge NNiu[N{~rtrmM
    CA




     Case #:20-06-0584
                                                                       I ncident #: 20-06-0584
                                                                                                                                 7
      PINK SLIP
         Related Type of Crimes:      4596URGLARY
         Property Status:             STOLEN
          Quantity:                   1.0000
          Serial:                     80553M 1
          Property Value:
          Related To:                 LACAMBRA ROBERT NELSON

       COURT DOCUMENTS
          Related Type of Crimes:     459 BURGLARY
         Property Status:             STOLEN
         Quantity:                    1.0000
         Property Value:
         Related To:                  LACAMBRA ROBERT NELSON

       CASE
         Related Type of Crimes:      4598URGLARY
         Property Status:             STOLEN
         Quantity:                    1.0000
         Color:                       Black
         Property Value:
         Related To:                  LACAMBRA ROBERT NELSON

       FLASHDRIVES
          Related Type of Crimes:    459 BURGLARY
         Property Status:            STOLEN
         Quantity:                   7.0000
         Property Value:
         Related To:                  LACAMBRA ROBERT NELSON

      BAG
         Related Type of Crimes:     4598URGLARY
         Property Sta[us:            STOLEN
         Quantity:                   1.0000
         Color:                      Black
         Property Value:
         Related To:                 LACAMBRA ROBERT NELSON         ORANGE POLICE DEPARTMENT AUYiJORi~'EB 80PY
                                                                    RELEA E TO: RA~On t'. t~1 ~~~t C O<(Ylh1C.~,
      LONG SLEEVE SHIRT                                             OATE:~BY:                 KL 5~.1~
                                     4598URGLARY                    N OTICE: THIS COPY IS NOT TO 8E DUPLICATED OR
         Related Type of Crimes
                                                                    TRANSFERRED TO ANOTHER PERSON OR AGENCY
         Property Status:            STOLEN                         A ND IS TO BE DESTROYED BY THE ABOVE NAMED
         quantity:                   1.0000                         INDIVIDUAL OR AGENCY UPON COMPLETION OF ITS
                                                                    ORIGINAL USE. ORANGE POLICE DEPARTMENT.
         Color.                      Black, Red, Aluminum/Silver
         Property Value:
         Related To:                 LACAMBRA ROBERT NELSON




                                    __ .~..
   Printed On06/29/2020                               Page 5 of 9                                Printed By 1378, KL
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   Orange Police Department                                                                                 ~m..~o.o.R,.,,,
   ca


    Case #:20-06-0584                                                     Incident #: 20-06-0584

     MISC TOOLS
       Related Type o1 Crimes:      4596URGLARY
       Property Status:             STOLEN
       Quantity:                    4.0000
       Color:                       Aluminum/Silver
       Property Value:
       Related To:                  LACAMBRA ROBERT NELSON

      BIKE LOCK
       Related Type of Crimes:      459 BURGLARY
       Property Status:             STOLEN
       Quantity:                    1.0000
        Color:                      Black
       Property Value:
        Related To:                 LACAMBRA ROBERT NELSON

      Camera sling bag
        Related Type of Crimes      459 BURGLARY
        Properly Status:            STOLEN
        q uantity:                   1.0000
        Color:                      Beige
        Property Value:
        Related To:                 LACAMBRA ROBERT NELSON

      Bag
        Related Type of Crimes:     459 BURGLARY
        Property Status:            STOLEN
        Quantity:                    1.0000
        Color.                       Blue, Gray
                                                                         ORANGE POLIC~j         - TMENT AUTHORISED C9PY
                                                                                          D~E~PAR
        Property Value:
                                                                         RELEASE TO: !  ~          f   1   ~C CC`1 iYl~7'~LL
        Related To:                  LACAMBRA ROBERT NELSON
                                                                         DATE: b~~BY: -               ~ 1 ~'i~'y
                                                                         NOTICE: THlS COPY IS NOT TO 8E DUPLICATED OR
      M iscellaneous court documents                                     TRANSFERRED TO ANOTHER PER90N OR AGENCY
        Related Type of Crimes:      459 BURGLARY                        A ND IS TO BE DESTROYED BY THE ABOVE NAMED
                                     STOLEN                              I NDIVIDUAL OR AGENCY UPON COMPLETION OF RS
        Property Status:                                                 ORIGINAL USE. ORANGE POLICE DEPARTMENT.
        Quantity:                    1.0000

        Property Value:             -
        Related To:                  LACAMBRA ROBERT NELSON




                                                        N arrative (1)
                                                                                                                06/79/2020
         M ondragon, Matthew 1662


         SYNOPSIS:
                                                                                   returned to his vehicle and
                                        parked at 493 N. Glassell Street. Lacambra
         R obert Lacambra's vehicle was

                                                      Page 6 of 9                                   Printed By 1378, KL
   Printed On06i29/2020
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    Orange Police Department                                                                                n.,,,,k.~„~,
    c,a



     Case #:20-06-0584
                                                                         Incident #: 20-06-0584
          d iscovered the rear passenger window smashed.

          F ACTS:

          On June 18, 2020, at approximately 1919 hours, I was working
                                                                       uniformed patrol in a marked Orange
          Police Department vehicle. My vehicle was equipped with a
                                                                    Mobile Audio Video(MAV) device, which
          was not active during this incident.

           was dispatched to Hooves Liquor (493 N. Glassell Street), reference
                                                                                a vehicle burglary investigation.
          Dispatch advised the calling party's vehicle had the rear passenger window
                                                                                       smashed. Dispatch advised
          the loss vas a computer and miscellaneous documents.

           arrived on scene and contacted the victim, Robert Lacambra (DOB: 09/25/65),
                                                                                       who told me the
          following:                                                                                                    ,

          Lacambra is homeless and lives out of his vehicle.




          Lacambra stated he works at Hooves Liquor and was allowed by the owner to park his vehicle to the rear
          of the business. Lacambra's vehicle has been parked in the rear alley for approximately three years and
          has not moved.

          On June 18, 2020, at approximately 0915 hours, Lacambra left his vehicle to go visit his family in the City
          of Costa Mesa. Lacambra ensured his vehicle was locked and secured.

          At approximately 1630 hours, Lacambra returned to his vehicle and discovered his rear passenger
          window was smashed. Lacambra stated he opened his driver side door and reached inside to open the
          rear passenger door. Lacambra noticed the door was already unlocked. Lacambra then put on a pair of
          gloves before he touched anything inside the vehicle. Lacambra noticed a black, metal rod was inside his
          vehicle where the window smash was. Lacambra moved the metal rod and placed it inside a trash bag
          prior to our arrival. Lacambra stated the metal rod was not his.

          Lacambra stated three different bags were missing with different items in each bag. Lacambra stated
          each bag was located in his backseat on the floorboard. Lacambra detailed the following items as
          m issing:

          Bag #1:                                                      O~ANGEPOUC        PARTMENTAUT ORIZEDCOPY
                                                                       RELEASE TO:              ~ ~~n`~1~"i
                                                                      DATE:~~BY:              K ~ ~~Z~
          Black computer bag _                                        N OTICE: THIS COPY IS NOT TO BE DUPLICATED OR
                                                                      TRANSFERRED TO ANOTHER PERSON OR AGENCY
          Silver HP 15inch laptop with charging cable_                AND IS TO BE DESTROYED BY THE ABOVE NAMED
                                                                      INDIVIDUAL OR AGENCY UPON COMPLETION OF RS
                                                                      ORIGINAL USE. ORANGE POLICE DEPARTMENT.
          Key to unlock vehicle

          A nker battery pack with charger_


 '
 """~°:                                  -:   J     Page 7 of 9                                   Printed By 7378, KL
  Printed On06/29!2020
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    Orange Police Department                                                                            r~~~n~~ eWr[e nr~.VlmrM

    ca



     Case #:20-06-0584                                                 Incident #: 20-06-0584
         P hilippines birth certificate

          Western Digital portable 1T6 hard drive_

          R egistration to his vehicle

          Pink slip for his vehicle

          Miscellaneous court documents

          Black case_

          7 flash drives-

          Bag #2:

          Black backpack _

          Long sleeve shirt_

          Miscellaneous tools(4j_

          Bike lock _
                                                                  ORANGE POLJC DEpARTMENT AU       R►tEB 80PY
                                                                  REl.EA         ithO~'i-_ 1` _   ~l ~ M{~n
          Black camera sling bag_
                                                                 DATE: ~T        BY;      k'~ ~~~ Sl T
                                                                 NOTICE: THIS COPY tS NOT TO BE DUPLICATED OR
          Bag #3:                                                TRANSFERRED TO ANOTHER PERSON OR AGENCY
                                                                 AND IS TO BE DESTROYED BY THE ABOVE NAMED
          Biue/grey bag _                                        INDIVIDUAI.OR AGENCY UPON COMPLETION OF ITS
                                                                 ORIGINAL USE.ORANGE POLIO GEPARTNtEhT.
          Miscellaneous court documents

         Lacambra estimated the loss at-

         Lacambra has two sets of keys for the vehicle. One key is kept on his person and the other key was
         located inside one of the stolen bags. Lacambra did not see anything suspicious when he left his vehicle.
         Lacambra did not give anyone permission to enter his vehicle and is desirous of prosecution. No
         witnesses or suspects were seen at the time of the incident.

          took digital photographs of the interior and exterior of Lacambra's vehicle. I later downloaded the
         images into the DIMS system.

          c hecked the surrounding area for surveillance cameras and located a camera affixed to the northwest
         corner of hooves Liquor. The camera was facing eastbound on Walnut Avenue, but did not have visual of
         the rear alley. At this time, there was no access to the surveillance footage.

         Lacambra stated there were hand imprints on the driver side windows of his vehicle. I observed hand
         prints on both windows. I used black fingerprint powder and attempted to dust the windows for
         f ingerprints. Due to dirt and debris, I was unable to locate any workable latent prints.


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     Orange Police Department
     ca



     Case #:20-06-0584                                                                Incident #: 20-06-0584
           Using a sterile DNA cotton swab and distilled water, I processed the following locations for DNA:

           Rear driver window

           Rear passenger interior door handle

           Rear passenger exterior door handle

           Lacambra provided an elimination DNA swab. I later booked the DNA swabs and the metal rod into OPD
           Property as evidence.

            provided Lacambra with an OPD report information pamphlet which contained the report number and
           Marsy's law victim's bill of rights.

           Forward to OPD Detectives for follow up.

           At the same location, a vehicle parked adjacent to Lacambra's had damage to the driver side door. Refer
           to DR 20-06-0586 for further.

           EVIDENCE:                                                         ORANGE POUC~DEPARTMENTAU          Ri~~~P~
                                                                             RELEA     TO: ~'t~f~ r fs         4Ln rYl
           Digital photographs                                               DATE:          ~BY:-     ~~- t3"1R
                                                                             NOTICE: THIS COPY IS NOT TO BE DUPLICATED OR
                                                                             TRANSFERRED TO ANOTHER PERSON OR AGENCY
           DNA cotton swab                                                   A ND tS TO BE DESTROYED BY THE ABOVE NAMED
                                                                             INDIVIDUAL OR AGENCY UPON COMPLETION OF ITS
           DNA elimination buccal swab                                       ORIGINAL USE. ORANGE POLICE DEPARTMENT.

          STATEMENTS:

           Melendez did not give anyone permission to enter his vehicle and is desirous of prosecution.

          DISPOSITION:

          Robert lacambra's vehicle was parked at 493 N. Glassell Street. Lacambra returned to his vehicle and
          discovered the rear passenger window smashed.

          Forward to OPD Detectives for further.



                                                                        Officer(2)
           Reporting Officer:                   Mondragon, Matthew (1662)        06/19/2020 17:29:00

           Approving Officer:                   Bevins, Thomas (0824)            06/20/2020 01:35:58



                                                                Attachment Data (1)
      Description:
      File Name:     20-06-0584 -PROP RPT.pdf




   Printed On06/29/2020                                         Page 9 of 9                                    Printed By 1378, KL
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                                                                 US DISTRICT COURT
                                              CENTRAL DISTRICT -SOUTHERN DIVISION
                                            LACAMBRA V. REPUBLIC OFTHE PHILIPPINES




                                 EMAIL INVENTORY LIST


      DATE      TIME      SOURCE

   1. 02.27.21 - 1205PM -ROBERT
   Z. 03.01.21 - 1023AM - ADMIN/SD
   3. 03.01.21 - 1 1 1 zAM -ROBERT
   4. 03.02.21 - 1050AM -STAFF/SD
   5. 03.02.21 - 0218PM - LAPCG/LA
   6. 03.03.21 - 1106AM -ROBERT
   7. 04.07.21 - 1 120AM - R08ERT
   8. 04.07.21 - 0300PM -STAFF/SD
   9. 04.07.21 - 0412PM -ROBERT
   10.04.07.21 - 0548PM -STAFF/SD
   1 1.05.28.21 - 0958PM -ROBERT
   1 Z.07.16.Z1 -0146PM-ROBERT
   1 3. 07.17.21 - 0140PM -STAFF/SD
   1 4. 07.17.21 - 073ZPM -ROBERT
   1 5. 07.17.21 - 0733PM -ROBERT
   1 6. 07.19.21 - 0934AM -STAFF/SD
   1 7. 07.19.21 - 0945AM -STAFF/SD
   18. 07.19.21 - 0946AM -STAFF/SD
   1 9. 08.13.21 - 09~ZAM -STAFF/SD
   20. 08.13.21 - 1 l 49AM -ROBERT
   21.08.13.21 - 1218PM -STAFF/SD
   Z2. 08.13.21 - 1226PM -ROBERT
   23. 08.13.21 - 0208PM -ROBERT
   24. 08.16.21 - 1043AM -STAFF/SD
   25. 08.16.21 - 1046AM - ADMIN/SD
   26. 08.16.21 - 0~55PM -ROBERT
   27. 08.16.21 - 0401 PM -ROBERT
   28. 08.16.21 - 041 SPM - ADMIN/SD
   29. 08.30.21 - 02Z5PM -ROBERT
   30.08.31.21 - 0231 PM -ROBERT
   31.09.01.21 - 0439PM -ROBERT
   32. 09.01.21 - 0445PM -ROBERT
   33. 09.02.21 - 0925AM - LAPCG
   34. 09.02.21 - 0944AM - LAPCG
   35. 09.02.21 - 1014AM - LAPGC
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 89 of 201 Page ID #:89




   36.09.02.21 - 0000000 -ROBERT
   37. 09.02.21 - 0249PM -ROBERT
   ~8. 09.02.21 - 0405PM - LAPGC
   39. 09.02.21 - 0410PM -ROBERT
   40. 09.02.21 - 041 ZPM -ROBERT
   41.09.02.2.1 - 0604PM - LAPGC
   4Z. 09.02.21 - 061 1 PM - LAPGC
   43. 09.02.21 - 0638PM -ROBERT
   44. 09.02.21 - 0639PM - LAPGC
   45. 09.02.21 - 0641 PM -ROBERT
   46. 09.02.21 - 0649PM -ROBERT
   47. 09.02.21 - 0652PM -ROBERT
   48. 09.02.21 - 0705PM - LAPGC
   49. 09.02.21 - 0739PM -ROBERT
   50.09.03.21 - 0915AM -ADM/SD
   5l. 09.07.21 - 0345PM -STAFF/SD
   52. ATT: TO LAPGC, DYANPASTRANA,PUSD
   53. 09.16.21 - 0910PM -ROBERT
   54. 09.17.21 - 0947PM - LAPCG
   55. 09.17.21 - l l ZSAM -ROBERT
   56. 09.17.21 - 0353PM - LAPGC
   57. 09.17.21 - 0423PM -ROBERT
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #O1




    From: ROBERTS JUSTICE (mailto:roberts~usticeCa~live.coml
    Sent: Saturday, February 27, 2021 12:05 PM
    To: Honorary Consulate of the Philippines <honconC~phconsulatesd.or~>
    Subject: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST

    KABABAYAN,

     a m a Filipino national based in Orange County, California. My mother died in December of
   ZOzO requiring me to return to the Philippines to settle her estate. My Philippine passport
   was lost over a decade ago. Accordingly, I would like to request a reissuance, or in the
   alternative a permission for emergency travel. Since I am equidistant to the Los Angeles and
   San Diego consulate offices, it may seem better advised forme to conduct business with
   your office. At the very least, there maybe less of a crowd to contend with.

   My questions are: Are you able to accommodate my request? Also, what documents will your
   office require from me?

   Sincerely,

    ROBERT LACAMBRA
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #02




    From: Philippine Consulate of San Diego <admin(aphconsulatesd.org>

    Mon 3/1 /2021 10:23 AM

   To: ROBERTS JUSTICE

    Good morning,

    Here at the Philippine Consulate of San Diego we do not have jurisdiction over passports,
    visas, nor dual citizenship. Our services include issuing emergency travel documents to
    Filipino citizens and the authentication of documents.

    Please visit the Philippine Consulate of Los Angeles website for more information about
    passport, visas, or dual citizenship services. https://www.philippineconsulatela.org/

   Please note that the San Diego Consulate does not have access to LA booking system,

   Sincerely,
   Kateryna Borge ~ Administrator
   Philippine Consulate, San Diego County

   701 B Street, Suite 1745
   San Diego, CA 9z10~
   Phone:(619)z41-21 14
   Fax:(619)702-9401
   admin(aphconsulatesd.org
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 92 of 201 Page ID #:92




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #03




   From: ROBERTS JUSTICE(mailto:robertsjustice(aLIVE.COM)
   Sent: Monday, March 1, 2021 1 1:1 Z AM
   To: Philippine Consulate of San Diego <adminC~phconsulatesd.or~>
   Subject: Re: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST

   Sir/Madam,

   Thank you for your reply.

    As mentioned, my passport was lost some years ago. An application for a reissuance will
   require other documents that have likewise been lost or stolen. For instance, my birth
   certificate, school documentation and others were stolen during in a car burglary. Such
   documents, it appears, can only be obtained in the Philippines a task unlikely while I am here
   Another element that magnifies my situation is the fact that I am homeless. All that raises
   this question: Can your office process my request as an emergency request for travel to the
   Philippines?

   Sincerely,

   ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 93 of 201 Page ID #:93




                       LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                     EMAIL #04




   Philippine Consulate of San Diego <staff(aphconsulatesd.org>
   Tue 3/Z/20Z1 10:50 AM
   To: ROBERTS JUSTICE
   Cc: Philippine Consulate of San Diego

    H i Robert,

   Thank you for your response. We understand your inquiry about emergency travel.

   The emergency travel document is allowed only for applicants who cannot be issued a
   Philippine passport and have emergency travel to the Philippines such as due to medical or
   legal reasons or death in the family. It can only be used one-way to the Philippines. For you to
   leave the Philippines, you will need to apply for a new passport.

   We can assist in processing emergency travel documents for Filipino's and dual citizens. If
   you are a US citizen, kindly reach out to the Philippine Consulate of Los Angeles for an
   emergency travel application.

   Also, kindly check this link for the requirements if you wish to apply for emergency travel:
   h ttps://www.philippineconsulatela.org/consular-services-2/passport/applicant-for-a-travel-
   document.

   Please be advised that San Diego may request from you additional requirements that is not
   listed in the Los Angeles website.

   We are temporarily accepting appointments for San Diego County residents only to avoid
   cross-contamination of the virus and in response to the rising number of Covid-19 cases. If
   you are outside San Diego County's jurisdiction, please contact the Philippine Consulate that
   has jurisdiction in your area.

   We highly appreciate your patience and understanding.

   Sincerely,
   Ria Esteban ~ Staff Member
   Philippine Consulate, San Diego County
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    *~.~
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-21 14
    Fax:(619)702-9401
    admin(~decastropc.com
    www.decastropc.com
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #05




   Requestfor issuance of travel document

   From: ATN-Philippine Consulate General Los Angeles <lapcg.atn(agmail.com>
   Tue 3/2/2021 2:18 PM
   To: robertsjusticeCa~live.com
   Cc Decastro PC Admin

   Dear Mr. Lacambra,

   This has reference to your request for issuance of a travel document from the Philippine
   Honorary Consulate in San Diego.

   For the issuance of a travel document,the following are the requirements:

   1. Birth Certificate or Copy of Philippine passport;
   2. Valid ID;
   3. Proof of Philippine Citizenship, i.e. resident card (green card)or dual citizenship documents;
   4. Travel itinerary;
   5. Proof of emergency in the Philippines, i.e. medical certificate or death certificate of an
   i mmediate family member that requires your immediate presence;
   6.4 pcs of 2x2 colored pictures with white background ;
   7. USD30.00; and
   8. Return envelope

   Please take note that a travel document is a one way travel document in lieu of a Philippine
   passport, which is issued to a Filipino citizen only, and is valid only for thirty(30)days, hence,
   a document proving your Philippine citizenship and travel itinerary are mandatorily required.

   Thank you

   Assistance-to-Nationals Section
   Philippine Consulate General in Los Angeles
   3435 Wilshire Blvd, Suite 550
   Los Angeles, CA 90010
   Desk: +1 (z13)637-3024
   Mobile: +1 (213)587-0758
   Website: philippineconsulatela.org
   Follow us in Facebook: Philippine Consulate General in Los Angeles
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                       LACAMBRA V. REPUBLIC OFTHE PHILIPPIfVES
                                     EMAIL #06




    Re: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST

   From: ROBERTS JUSTICE
   Tue 32/2021 1 1:06 AM
   To: Philippine Consulate of San Diego




   Madam,

   As mentioned on my previous email, I am a Filipino national who is currently homeless in The
   OC. I could understand the limitations imposed by the pandemic. But surely, because of our
   inherent isolation as indigents, an exception could be made. I no longer have any of the
   documents required for a passport reissuance (i.e. birth certificate etc.). Hence, my
   application will be for a one-way pass to affect my return. I would appreciate it very much if
   your office can accommodate me,allowing for an interview there in San Diego rather than
   Los Angeles.

   Attached is my mother's death certificate, si~nifyin~ the reason for my return -that being to
   settle her estate in the Philippines.

   Your assistance will be greatly appreciated.

   Sincerely,

   ROBERT LACAMBRA
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                        LACAMBRA V. REPUBLIC OF THE PHILIPPIfUES
                                      EMAIL #07




   From: ROBERTS JUSTICE <robertsjusticeCa~LIVE.COM>
   Sent: Wednesday, April 7, 2021 11:20 AM
   To: Philippine Consulate of San Diego <staff(a~hconsulatesd.or~>
   Subject: Re: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST

   Sir/Madam,

   The Philippine Consulate requires emergency travelers to state his/her travel itinerary. Does
   that require show of an actual airline ticket? Or simply, stating the travel plans wil l suffice.
   COVID-19 restrictions make it difficult and unwise to purchase the tickets without
   permission to travel. Currently, travelers from the US are banned into the country. I am in the
   process of collecting all the documents that you require. Please advice.

   Sincerely,
   ROBERT LACAMBRA
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                         LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                       EMAIL #OS




   From: Philippine Consulate of San Diego <staffCa~phconsulatesd.org>
   Wed 4/7/2021 3:00 PM
   To: You

    H i Robert,

   Yes, it is required for you to show the purchased airline tickets (itinerary). And only foreign
   passport holders are not allowed in the Philippines unless they can present a valid Visa.

    I n your case, since you are a Filipino citizen, you are allowed to travel, just secure all the
    requirements for your travel document to be processed.

   If you wish to submit your emergency travel application in San Diego, you would need to
   book a flight originating from San Diego airport then connecting flight to Los Angeles(or any
   US state only)to the Philippines. Please note that if you cannot find a direct flight, select a
   connecting flight within US territory ONLY,to avoid the possibility of detention in other
   countries.

   If you opted to submit the travel application in Los Angeles, originating flight can be in Los
   Angeles.

   Sincerely,
   Ria Esteban ~ Staff Member
   Philippine Consulate, San Diego County




     '
    ~
   701 8 Street, Suite 1745
   San Diego, CA 9Z'101
   Phone:(619)z4l -Z1 l 4
   Fax:(619)70Z-9401
   admin(adecastropc.com
   www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 99 of 201 Page ID #:99




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                             EMAIL #09




   From: ROBERTS JUSTICE <robertsjusticeC~LIVE.COM>
   Sent: Wednesday, April 7, 2021 4:12 PM
   To: Philippine Consulate of San Diego <staff(aphconsulatesd.org>
   Subject: Re: PASSPORT INQUIRYOR EMERGENCY TRAVEL REQUEST

    Ms. Esteban,

   I n a previous email, I mentioned that I am homeless. My financial situation requires that I take
   advantage of certain perks available to me through American Airlines. They do not have a
   direct flight to the Philippines. The most direct flight will be from LAX to Honk Kong via
   American Airlines. Then, Honk Kong to Manila via Cebu Pacific Air. In deference to your
   instructions this requires me to see the Los Angeles Consulate, which I will do. However,for
   the purpose of inquiry, what will the Honk Kong authorities do when you say they can detain
   m e.

    would appreciate your clarification.

   Sincerely,
   ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 100 of 201 Page ID #:100




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #10




     R E: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST
     From Philippine Consulate of San Diego <staff(aphconsulatesd.org>
     Wed y/7/z021 5:48 PM
     To: You
     H i Mr. Lacambra,

    My apologies, but I am not the right person to ask about being detained in other countries.
    a m saying that since you opted to travel using emergency travel, its use might be limited
    within the US territory only. That is why we advise that you book connecting flights within
    US only. And I understand that you are homeless, I had already sought assistance and
    forwarded your previous email to the Assistance to Filipino National section in Los Angeles so
    they can assist you further.

    As previously mentioned, we have limited services that we can offer here in San Diego. My
    a pologies for the confusion.

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




     .+.~~
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)z4~ -21 14
    Fax:(619)702-9401
    admin(adecastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 101 of 201 Page ID #:101




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPIfUES
                                      EMAIL #1 1




     REQUEST FOR APPOINTMENT

    From: ROBERTS JUSTICE
    Fri 5/28/2021 9:58 PM
    To: ATN-Philippine Consulate General Los Angeles

     Sir/Madam,

    This is a requestfor an appointment. As mentioned, I am homeless and transportation
    challenged. Fortunately, I was able to secure a ride on the 5th of June to present my
    documents, if a spot is available. I would appreciate very much a quick response.

    Sincerely,

     ROBERT LACAMBRA
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL#12




    From: ROBERTS JUSTICE <robertsjustice(alive.com>
    Sent: Friday, July 16, 202'1 1:46 PM
    To: Philippine Consulate of San Diego <staffC~phconsulatesd.org>
    Subject: PASSPORT &RED RIBBON NOTARIZATION

    Sir/Madam,

     a m in need of executing certain documents for filing in the Regional Trial Court of Quezon.
    An attorney based in the Philippines informed me thatthe Philippine Consulate is able to
    notarize and Red Ribbon documents that have the same effect as an Apostile conformed
    document. Please advise whether that is correct. And also, whether it can be issued at the
    consulate in-person by appointment. What is needed from me?

    My second question is: Can I apply for a new passport, but with special instructions for pick-
    up at the consulate? The reason is, I am homeless and without a reliable address. Surely, the
    consulate can make an exception considering my situation.

    Awaiting your reply,

    ROBERT LACAMBRA
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                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL#13




     R E: PASSPORT &RED RIBBON NOTARIZATION
     Philippine Consulate of San Diego <staffC~phconsulatesd.org>
     Sat 7/17/2021 1:40 PM
     To: ROBERTS JUSTICE

     Thank you for your inquiry. We understand that you need assistance with document
     a uthentication. We have a temporary restriction and can book appointments for San Diego
     County residents only. If you are outside San Diego County's jurisdiction, please contact the
     nearest Philippine Consulate that has jurisdiction in your area.

    We offer the following services: authentication/acknowledgment(i.e. red ribbon), mortuary
    certificates, and emergency travel documents for Filipino citizens and Dual citizens.
    We are also fully-booked forJuly.Our earliest appointment is in August.
    If you are from San Diego County and you wish to book an appointment, please provide the
    following:
            Address:
            Document type:
            Total number of documents far authentication:
            Total number of signers:

    Note: This email do not confirm your appointment. If we received your response, we will send
    another email confirming the appointment. You should be present on the appointment day.
    We do not have jurisdiction over passports, visas, civil registration, or dual citizenship. Please
    contact or go to the Philippine Consulate of Los Angeles website at
    w ww.philippineconsulatela.ore or https://www.philippineconsulatela.org/consular-services-
    2/passport.

    Thank you and we look forward to hear back from you and have a great day!

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




    .~r
     ~
    701 B Street, Suite 1745
    San Diego, CA 92101
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 104 of 201 Page ID #:104




     Phone:(619)241-21 1 y
     Fax:(619)702-9401
     adminC~decastropc.com
     www.decastropc.com
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                           LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                         EMAIL #14




     Re: PASSPORT &RED RIBBON NOTARIZATION

     From: ROBERTS JUSTICE
     Sat 7/172021 7:3Z PM
     To: Philippine Consulate of San Diego
     Bcc: Linda Rose Pedero

     Ms. Esteban,

      live in Orange County, equidistant between San Diego and Los Angeles. I would prefer an
     a ppointment at your office, if at all possible. I would like to arrange notarization and red
     ribbon for two sets of documents. In addition, I would like to secure emergency travel
     d ocuments to the Philippines.

     Having said that, may I request an appointment at your office?

    As per your requirement:

            Address: I AM HOMELESS
            Mailing :655 5. Main Street, Suite 200 - #160 Orange CA 92868
            Document type: Extra Judicial Agreement &Special Power of Attorney
            Total number of documents for authentication: zsets
            Total number of signers: 1

    Awaiting your reply,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 106 of 201 Page ID #:106




                         LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                       EMAIL#1 S




     From: ROBERTS JUSTICE <robertsjusticeCa~LIVE.COM>
     Sent: Saturday,July 17, 202.1 7:33 PM
    To: Philippine Consulate of San Diego <staff(aphconsulatesd.org>
    Subject: Re: PASSPORT &RED RIBBON NOTARIZATION

     Ms. Esteban,

      live in Orange County, equidistant between San Diego and Los Angeles. I would prefer an
    a ppointment at your office, if at all possible. I would like to arrange notarization and red
    ribbon for two sets of documents. In addition, I would like to secure emergency travel
    documents to the Philippines.

     Having said that, may I request an appointment at your office?

    As per your requirement:

            Address: I AM HOMELESS
            Mailing :655 S. Main Street, Suite 200 -#160 Orange CA 92868
           Document type: Extra Judicial Agreement &Special Power of Attorney
           Total number of documents for authentication: 2sets
           Total number of signers: 1

    Awaiting your reply,

    ROBERT LACAMBRA
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL#16




    From Philippine Consulate of San Diego <staffC~phconsulatesd.org>
    Mon 7/19/Z021 9:34 AM
    To: You

    Thank you for the information. I had set you the earliest appointment available on August 19
    at 1:15 PM. I will send you a separate email with the appointment confirmation and another
    email detailing the emergency travel documents requirements.

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




    s~..~►
      .~
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone: (619) 241-2114
    Fax: (619) 702-9401
    admin(adecastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 108 of 201 Page ID #:108




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL #17




    R ules and requirements for confirmed appointment of Robert Lacambra at the Philippine
    Consulate of San Diego.

    From: Philippine Consulate of San Diego <staff(aphconsulatesd.org>
    Man 7/19/2021 9:45 AM
    To: You

    This email confirms your appointment for document authentication at the Philippine
    Consulate in San Diego on 19 August 2021,Thursday at 1:15 P.M.for 2 documents with 1
    signer.

    Further to our telephone conversations, please be reminded of the following rules and
    requirements:

    On the day of your appointment:

    -    Please arrive no earlier than 5 minutes before your appointment.
    -    We will not be able to accommodate you if you were late for more than 10 minutes and
    you must call us again for a reschedule.
    -   Your temperature will be checked using a contactless thermometer.
    -   You will need access to het to the 17th floor. Please provide your name to the security at
    the front desk.
    -    We are in suite number 1745(de Castro PC).
    -    We do not valid ate parkin.
    -   Please wear your facemask at all times. We have a NO FACEMASK, NO ENTRY policy.

    Regarding the authentication:

    -    Please have the document/s filled out before your appointment except for signature,
    d ate and location.
    -    If you are unable to fill out or unsure of the details, please consult an attorney as we do
    not provide legal advice and cannot help with filling out the form.
    -    No prior si~nin~ of the document/s,the date/location and signature should be left blank.
    -    Do not bring your document/s to any local notary service.
    -    If witnesses are required to sign your document/s, you are responsible to brink your
    witness/s to the appointment.
    -    Consulate staff will not sign your document/s as witness/s.
    -    Please cal l us and let us know if you need to bring witness/s.
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     -  If you have less than 5 documents for authentication, you will get the documents on the
     same day.

     If you have mare than 4 documents:

    -    You have to bring aself-addressed envelope with sufficient postage stamps on it.
    (Please use USPS Priority Mail Express Envelope).
    -    If you are unsure of the number of stamps needed, you can brink your documents to the
     post office for assistance.
    -    Write your name and address on the "TO" portion of the envelope.
    -    DO NOT FORGET to take note of the tracking number of your envelope for easy tracing of
     your documents once we mail them.

     Requirements:

    -    All signers must be present.
    -    All signers must present one valid ID.
    - The ID has to be a Federal ID, state ID, driver's license, or passport. Onlythese IDs will be
    accepted.
    -    Brink photocopies of the IDs. Each copy of ID will be attached to every document/set
    that is authenticated.(Example: 4documents = 4 photocopies of each signer's ID).
    -    Make sure that the name on your ID is exactly matching the name on your
    document otherwise, we cannot authenticate the document.
    -    If you are known by a different name in the Philippines please add the statement "also
    knowns as", on your document.
    -     If you have a middle name and it is listed on your ID and not on your document, you will
    need to redo the documentto include your middle name.
    -     For women: If you are known in the Philippines by a different last name than your
    current one is, you need to also provide another ID that shows you are known by
    a nother name/last name.
    -    Bring your own pen.


    For Payment:

    -   Each authentication is $25. Every set is considered an original and not a copy.
    -   We accept cash, money orders, cashier's checks, no personal checks(no personal bank
    account checks).
    -   If you choose to pay in cash, please bring the exact amount.
    -   With a money order or cashier's check it should be payable to the Philippine Consulate
    General of Los Angeles.

     ~~^~^~ IMPORTANT REMINDERS ^`~`°`

    We will only process the number of documents that you initially booked. If you realize there
    are additional documents(including copies)for authentication, or you wish to reschedule or
    cancel your appointment please let us know by cal l ing us at least Z days before your
    a ppointment.

    We can only accommodate 2 persons per household. Additional persons must wait in the
    lobby.
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     We do not authenticate marriage /death /birth certificates. If your certificate is issued by
     U.S.A please reach out to the Secretary of State in which the certificate originally came from.
     If your document is issued in the Philippines, the document should ~o to the D.F.A. also
     known as Department of Foreign Affairs in the Philippines for authentication.

     Should you have questions please call our contact details below.

     Sincerely,
     Ria Esteban ~ StaffMember
     Philippine Consulate, San Diego County




     *~..~
      ,~
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-21 14
    Fax:(619)70z-9401
    adminCa~decastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 111 of 201 Page ID #:111




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL #18




     Emergency travel documents requirements
     From: Philippine Consulate of San Diego <staffCaphconsulatesd.org>
     Mon 7/19/2.021 9:46 AM
     To: Yo u

     Thank you for reaching out Philippine Consulate of San Diego.

    We can assist in processing emergency travel documents. The emergency travel document is
    for Filipino/Dual citizens who cannot be issued a Philippine passport and have emergency
    travel to the Philippines due to medical or legal reasons or death in the family. It can only be
    used one-way to the Philippines.

     Here are the requirements for an emergency travel application.

        1. Must be Filipino or Dual citizen.
        Z. 4 copies ofthe filled out travel application form from this link.
           https://www.philippineconsulatela.org/wp-
           content/uploads/2015/11 /TravelDocument.pdf
            NOTE: Leave the signature blank and the finger stamp blank.
        ~. 4 copies of expired Philippine Passport.
                   I n case of lost passport, present the following:
                            Notarized Affidavit of Loss
                            Birth Certificate or Marriage Certificate
                            Documents as proof of Philippine Citizenship (ex. Philippine driver
                            license, baptismal certificate, voter's affidavit Professional Regulatory
                            Commission Card, etc.).
        1. 4 copies of proof of citizenship.
        2. 4 copies of flight ticket or itinerary with an originating flight from San Diego
           I nternational Airport. The connecting flight should be within US territory only and
           does not go to another country.(Example: San Diego —Los Angeles —Manila).
        3. 4 copies of proof of emergency. Stating the urgency/need for travel, and indicating
           your phone number and email address for ease of contact.
                   I nclude here, original or photocopy of Proof of Urgency(e.~, Medical
                   Certificate, Death Certificate, Subpoena Ad Testificandum, etc.)
        4. 4 pieces passport photo aka 2x2 photos with white background taken at most six (6)
           m onths from date of applying for a travel document;
        5. 4 copies of one valid form of ID such as a US passport. Driver license or State ID.
        6. $~o processing fee. Cash payment only.
        7. Scheduled appointment at the consulate for drop-off and pickup of the document.
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     Please call us at the number below to book your appointment.

     Please note that we do not have jurisdiction over dual citizenship, passports, visas, or civil
     registration. Please contact or ~o to the Philippine Consulate of Los Angeles website at
     w ww.philippineconsulatela.or~ or https://www.philippineconsulatela.org/consular-services-
     z/dual-citizenshl p-ra-9zz5.

     Thank you and have a great day.


     Sincerely,
     Ria Esteban ~ StaffMember
     Philippine Consulate, San Diego County




     .~'.

    701 B Street, Suite 1745
    San Diego, CA 92l Ol
    Phone:(619)Z4"1 -Z1 14
    Fax:(6l 9)702-9401
    admin(adecastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 113 of 201 Page ID #:113




                          LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                        EMAIL #19




     R E: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.

    From: Philippine Consulate of San Diego <staffC~phconsulatesd.org>
    Fri 8/13/zOz1 9:32 AM
    To: You

    Please confirm that you have a valid ID to present on your appointment on August 19.

    Either a drivers license or a State ID will do.

    If one of these ID's are not available, we would have to cancel your appointment and forward
    your inquiry to Los Angeles Consulate for better assistance.

    Your response is greatly appreciated.

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




    .y~s
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-21 14
    Fax:(619)702-9401
    admin(adecastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 114 of 201 Page ID #:114




                           LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                         EMAIL #20




     From: ROBERTS JUSTICE <robertsjustice(aLIVE.COM>
     Sent: Friday, August l3,z021 1 1: 19 AM
     To: Philippine Consulate of San Diego <staff~phconsulatesd.org>
     Subject: Re: Rules and requirements for confirmed appointment of Robert Lacambra at the
     Philippine Consulate of San Diego.
     Ms. Esteban,

     Yes, I have a California ID card and a driver's license.
     Is there anything else you need?

     Sincerely,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 115 of 201 Page ID #:115




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPIfVES
                                      EMAIL #Z 1




     R E: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.
     From: Philippine Consulate of San Diego <staffcaphconsulatesd.org>
     Fri 8/13/2021 l 2:18 PM
     To: You

    Thank you for the confirmation, Sir.

     Regarding the emergency travel document, I am afraid we are unavailable to process this for
     you as it requires proof of citizenship like passport. And you had mentioned that your
     passport was stolen.

     We had forwarded your emergency travel document request to Los Angeles. Someone form
     LA wil l reach out to you.

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




     *~.~
      ._
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)z4'1 -Z1 14
    Fax:(6l 9)702-9401
    admin(~decastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 116 of 201 Page ID #:116




                       LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                     EMAIL#22




     Re: Rules and requirements for confirmed appointment of Robert Lacambra at the
     Philippine Consulate of San Diego.

    From: ROBERTS JUSTICE
    Fri 8/132021 12:26 PM
    To: Philippine Consulate of San Diego

    N o, the passport itself was not stolen. It was lost during an eviction of my storage
    facility. It was the other documentation that could provide me with a passport that
    dot stolen (i.e. birth certificate, school records and other official documents). I will
    brink what I have with me to see if a way could be found to help me return home.
    a m quite literally stuck in the U5.That is why I need the consulate's assistance
    because my situation is very unusual, my homelessness notwithstanding.
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                         LACAMBRA V. REPUBLIC OF THE PHILIPPIfVES
                                       EMAIL #z3




    From: ROBERTS JUSTICE <robertsjusticeC~LIVE.COM>
    Sent: Friday, August 1 ~,ZOZ1 2:08 PM
    To: Philippine Consulate of San Diego <staffC~phconsulatesd.or~>
    Subject: Re: Rules and requirements for confirmed appointment of Robert ~acambra at the
    Philippine Consulate of San Diego.

     Ms. Esteban,

     was able to obtain my birth certificate only because it can now be acquired online.
    Here it is for you reference.
    Most of the other documents for a passport can only be obtained once I am home.
    That is understandable as most are stored indifferent locations.
    An example is my school records, which will require proper identification.

     stil l need to find a way to return home.
    Please help.

    Sincerely,
    ROBERT LACAMBRA
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                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #Z4




     R E: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.

    From: Philippine Consulate of San Diego <staffC~phconsulatesd.org>
    Mon 8/162021 10:43 AM
    To: You
    Cc:'Kateryna Bor~e(kborgeCadecastropc.coml'

    We regret to inform that we have to cancelled your appointment herein San Diego, as we
    cannot process your request for emergency travel document. This matter has been
    forwarded to the Philippine Consulate General in Los an~eles and someone from LA will reach
    out to you.

     We apologize for the inconvenience this has caused.

    Sincerely,
    Ria Esteban ~ Staff Member
    Philippine Consulate, San Diego County




      -~.   ..~
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(6l 9)241-21 14
    Fax:(619)70Z-9401
    adminCa~decastropc.com
    www.decastropc.com
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                         LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                       EMAIL #25




     Philippine Consulate of San Diego <admin(aphconsulatesd.org>
     Mon 8/16/202.1 10:46 AM
     To: Yo u
     Cc: Philippine Consulate of San Diego

     Good morning Mr. Lacambra,

     We are sorry to hear about your situation. Unfortunately, the Philippine Consulate of San
     Diego is an honorary consulate and does not have the same jurisdiction as Los Angeles
     Consulate, we do not have jurisdiction over passports, civil records and cannot provide legal
     advice, your appointment at San Diego is cancelled, however, your inquiry was relayed to Los
     Angeles Consulate and their staff will reach out to you with further assistance.

    Sincerely,
    Kateryna Bore ~ Administrator
    Philippine Consulate, San Diego County

        f_



    ~r
    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-Z1 14
    Fax:(619)702-9401
    adminCaphconsulatesd.org
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 121 of 201 Page ID #:121




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL #26




     Re: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.

    From: ROBERTS JUSTICE
    Mon 8/16/z021 3:55 PM
    To: Philippine Consulate of San Diego




    Ms. Esteban,

     requested an appointment with the consulate for two reasons. First, to het Red Ribbon for
    two separate documents. Second,to obtain emergency travel documents. I am aware of the
    problems with securing the travel documents. However,there is no reason to cancel the
    a ppointment for my request for red ribbon conformance. I have already purchased the train
    ticket for my appointment.

     will still plan to travel to San Diego, unless you can explain to me with adequate satisfaction
    w hy you cannot provide me with the Red Ribbon request.


    Sincerely,
    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 122 of 201 Page ID #:122




                        LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                      EMAIL #27




     Fw: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.

    From: ROBERTS JUSTICE
    Mon 8/16/2021 4:01 PM
    To: kborge~decastropc.com;
    Philippine Consulate of San Diego
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 123 of 201 Page ID #:123




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #Z8




     R E: Rules and requirements for confirmed appointment of Robert Lacambra at the Philippine
     Consulate of San Diego.

    From: Philippine Consulate of San Diego <adminCaphconsulatesd.org>
    Mon 8/16/2021 4:15 PM
    To: You
    Cc: Philippine Consulate of San Diego

     Good afternoon Mr. Lacambra,

    Your appointment at San Diego is cancelled as San Diego Consulate has limited jurisdiction,
    however, your inquiry was relayed to Los Angeles Consulate and their staff will reach out to
    you with further assistance. Your inquiry will be fully handled by Los Angeles Consulate and
    their Assistance to IUationals team. Our apologies for any inconvenience, the staff from Los
    Angeles Consulate will reach out to you shortly.

    Sincerely,
    Kateryna Borge ~ Administrator
    Philippine Consulate, San Diego County




     .
     ~`~
     s..........~
    701 B Street, Suite "1745
    San Diego, CA 92~O1
    Phone:(619)Z4l -zl 14
    Fax:(619)70Z-9401
    admin(aphconsulatesd.org
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 124 of 201 Page ID #:124




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                            EMAIL #2,9




     I N RE: PROMISED APPOINTMENT

    From: ROBERTS JUSTICE
    Mon 8/30/Z021 2:25 PM
    To: Philippine Consulate of San Diego +2 others
    Bcc: Linda Rase Pedero




    00 - zOMOM,COR -Philippine Consulate re Appointment.pdf 1 drv.ms
    03 - RNL's Birth Certificate.pdf 1 drv.ms
    Show all 4 attachments

    Sir/Madam,

    Please find the following documents served to you herewith:
    Correspondence - In re: Promised Appointment
    I mage of purchased tickets to/from SNA and SAN
    I mage of cancellation confirmation w/ charged fee
    Copy of Robert Lacambra's Birth Certificate

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 125 of 201 Page ID #:125




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #30




     Fw: IN RE: PROMISED APPOINTMENT

    From: ROBERTS JUSTICE
    Tue 8/31 /zOZ~ z:31 PM
    To: ATN-Philippine Consulate General Los Angeles




    00 - zOMOM,COR -Philippine Consulate re Appointment.pdf 1 drv.ms
    03 - RNL's Birth Certificate.pdfl drv.ms
    4 attachments


    From: R08ERT5 JUSTICE <roberts~ustice(~live.com>
    Sent: Monday, August 30, 202'1 z:25 PM
    To: Philippine Consulate of San Diego <staff(~phconsulatesd.or~>; Philippine Consulate of San
    Diego <adminC~phconsulatesd.org>; admin.philcon~enlaCagmail.org
    <admin.philcongenlaCagmail.org>
    Subject: IN RE: PROMISED APPOINTMENT

    Sir/Madam,

    Please find the following documents served to you herewith:
       1. Correspondence - In re: Promised Appointment
       2. Image of purchased tickets to/from SNA and SAN
       3. Image of cancellation confirmation w/ charged fee
       4. Copy of Robert Lacambra's Birth Certificate
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 126 of 201 Page ID #:126




     Sincerely,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 127 of 201 Page ID #:127




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #31




     2ND REQUEST FOR IMMEDIATE RESPONSE

    From: ROBERTS JUSTICE
    Wed 9/1 /ZOZ"1 4:39 PM
    To: Philippine Consulate of San Diego +Z others




    00 - ZOMOM,COR -Philippine Consulate re Appointment l .pdf 1 drv.ms
    03 - RNL's Birth Certificate 1.pdf 1 drv.ms
    Show all 4 attachments

    Sir/Madam,

    Please find the following documents served to you herewith:
       1. Correspondence - In re: Promised Appointment
       z. Image of purchased tickets to/from SNA and SAN
       3. Image of cancellation confirmation w/charged fee
       4. Copy of Robert Lacambra's Birth Certificate

    Sincerely,
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 128 of 201 Page ID #:128




                       LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                     EMAIL #3Z




    2ND REQUEST FOR IMMEDIATE RESPONSE

    From: ROBERTS JUSTICE
    Wed 9/1/Z021 4:45 PM
    To: ATN-Philippine Consulate General Los Angeles




    00 - 20MOM,COR -Philippine Consulate re Appointment 2.pdf 1 drv.ms
    03 - RNL's Birth Certificate z.pdf 1 drv.ms
    Show all 4 attachments

    Sir/Madam,

    Please find the following documents served to you herewith:
       1. Correspondence - In re: Promised Appointment
       Z. Image of purchased tickets to/from SNA and SAN
       3. Image of cancellation confirmation w/charged fee
       4. Copy of Robert Lacambra's Birth Certificate

    Sincerely,



    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 129 of 201 Page ID #:129
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 130 of 201 Page ID #:130




                          LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                        EMAIL #33




     Re: 2ND REQUEST FOR IMMEDIATE RESPONSE

    From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnCa~gmail.com>
    Thu 9/Z/2021 9:Z5 AM
    To: ROBERTS JUSTICE
    Cc: Philippine Consulate of San Diego

     Good day,

    This is to acknowledge receipt of your email.

     Further, this is my first time to know about your situation. If you are in need of a Travel
     Document(TD), kindly mail the following requirements to:

    Philippine Consulate General
    c/o Assistance to National Section
    3435 Wilshire Blvd, Los Angeles, CA 90010

    1. Copy of your Philippine Birth Certificate
    2. Copy of your expired or lost PHL passport
    3. Proof of Philippine Citizenship (i.e. resident card, Dual Citizenship documents)
    4. Copy of your Travel Itinerary
    5. 4 pcs zxZ colored pictures with white background
    6. Postal Money Order amounting to $2.5.00 payable to the Philippine Consulate General
    7. Return envelope
    8. Short request letter indicating your emergency and your mobile contact number

    Kindly accomplished the attached TD Application Form and mailed it together with the
    a bove-mentioned requirements.

    Please take note that TD is a one way travel document to the Philippines and is valid only for
    30 days. Hence, your application for TD should be mailed to the Consulate at least 3 weeks
    prior to yourfli~ht to the Philippines.

    Thank you.

    Assistance-to-Nationals Section
    Philippine Consulate General in Los Angeles
    X435 Wilshire Blvd, Suite 550
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 131 of 201 Page ID #:131




     Los Angeles, CA 90010
     Desk:+1(213)637-3024
     Mobile: +1 (213)587-0758
     Website: phil~oineconsulatela.org

     Follow us in Facebook: Philippine Consulate General in Los Angeles
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 132 of 201 Page ID #:132




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL #34




     On Thu,Sep 2, 20Z"I at 9:44 AM MARIA ALNEE GAMBLE <alnee.gambleC~dfa.gov.ph> wrote:

     Hazel, please find outfrom the Consulate whether they actually forwarded the request of
     M r. Lacambra to us. Based on his email, he is in need of an apostille for his document/s and an
     ETD. Let us properly advise our clients about the procedures for document authentication as
     well as on setting appointments for consular documents with us and with any HonCon office
     under our jurisdiction for us to avoid complaints .

    Thank you.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 133 of 201 Page ID #:133




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                             EMAIL#35




     Re: ZND REQUEST FOR IMMEDIATE RESPONSE

     From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnCa~mail.com>
     Thu 9/2/2021 10:14 AM
     To: staff[aphconsulatesd.org;
     Philippine Consulate of San Diego
     Cc: robertsjustice(alive.com

     Good day,

    This has reference to the case of Mr. Robert Lacambra on his application for Apostille and
    Emer~encyTravel Document(ETD).

    I n one of your correspondence, you mentioned that his application for ETD has been referred
    to the Philippine Consulate General in Los Angeles. May I request the details of your referral,
    i.e. date of referral and what section did you refer to the application?

     I mmediate response on this matter would be highly appreciated.

    Thank you

    Assistance-to-Nationals Section
    Philippine Consulate General in Los Angeles
    3435 Wilshire Blvd, Suite 550
    Los Angeles, CA 90010
    Desk: +1 (213)6~7-3024
    Mobile: +1 (Z13)587-0758
    website: philiRpineconsulatela.org

    Follow us in Facebook: Philippine Consulate General in Los Angeles
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 134 of 201 Page ID #:134




                       LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                     EMAIL #36




     RED RIBBON & EMERGENCYTRAVEL DOCUMENT

    From: ROBERTS JUSTICE
    To: ATN-Philippine Consulate General Los Angeles

    Sir/Madam,

    The correspondence and attached emails I sentyou specifically requested an appointment
    for "Red Ribbon" conformance of two documents relating to a case on docket at the Regional
    Trial Courtin Quezon Province. That is of paramount importance and for which an
    a ppointment at your office is currently required. If you can return my email with an
    a ppointment date and time, I would appreciate it.

    As for the "Emergency Travel Document," I could bring the documents you specified below
    when I meet with a consulate officer.

    Thank you very much for your assistance.

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 135 of 201 Page ID #:135




                        LACAMBRAV. REPUBLIC OFTHE PHILIPPINES
                                     EMAIL #37




     RED RIBBON &EMERGENCYTRAVEL DOCUMENT

    From: ROBERTS JUSTICE
    Thu 9/2/2021 2:49 PM
    To: ATN-Philippine Consulate General Los Angeles

    Sir/Madam,

    The correspondence and attached emails I sent you specifically requested an appointment
    for "Red Ribbon" conformance of two documents relating to a case on docket at the Regional
    Trial Court in Quezon Province. That is of paramount importance and for which an
    a ppointment at your office is currently required. If you can return my email with an
    a ppointment date and time, I would appreciate it.

    As for the "Emergency Travel Document," I could bring the documents you specified below
    when I meet with a consulate officer.

    Thank you very much for your assistance.

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 136 of 201 Page ID #:136




                          LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                        EMAIL #38




     Re: RED RIBBON &EMERGENCY TRAVEL DOCUMENT

    From: ATN-Philippine Consulate General Los Angeles <lapc~.atn(~~mail.com>
    Thu 9/2/2021 ~I:05 PM
    To: ROBERTSJUSTICE

         Fr     ~,   -~

         '
         F

        i        ~ ~



                          _`




    Your schedule for Notarial Services wil l be on Tuesday,07 Sep 2021 at 10 am.

    J ust ~o to the Consulate and give your name to our receptionist. Should the receptionist
    cannot find your name in the list, you may look for me,Hazel Mendoza(ATN Officer).

    Thank you

    Assistance-to-Nationals Section
    Philippine Consulate General in Los Angeles
    3435 Wilshire Blvd, Suite SSO
    Los Angeles, CA 90010
    Desk: +1 (213)637-302.4
    Mobile: +1 (213)587-0758
    Website: philippineconsulatela.org

    Follow us in Facebook: Philippine Consulate General in Los Angeles
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 137 of 201 Page ID #:137
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 138 of 201 Page ID #:138




                        LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                      EMAIL #39




     Re: RED RIBBON & EMERGENCYTRAVEL DOCUMENT

    From: ROBERTS JUSTICE
    Thu 9/2/2021 4:10 PM
    To: ATN-Philippine Consulate General Los Angeles
    Bcc: Linda Rose Pedero

    Ms. Mendoza,

     m ust to take the train from Orange County.
    Could you please set an appointment for early afternoon to make sure I arrive there on time?
     would very much appreciate it.

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 139 of 201 Page ID #:139




                         LACAMBRA V. REPUBLIC OF THE PHILIPPIfUES
                                       EMAIL #40




     O n Thu, Sep 2, 2021 at 4:1 Z PM ROBERTS JUSTICE <robertsjusticeCa~live.com> wrote:

     Ms. Mendoza,

      m ust to take the train from Orange County.
     Could you please set an appointment for early afternoon to make sure I arrive there on time?
      would very much appreciate it.

     Sincerely,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 140 of 201 Page ID #:140




                         LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                       EMAIL #41




     From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnCo~~mail.com>
     Sent: Thursday, September 2, ZOz1 6:04 PM
     To: ROBERTS JUSTICE <robertsjustice(~live.com>
     Subject: Re: RED RIBBON &EMERGENCY TRAVEL DOCUMENT

     N oted on this.

     can you email me the copy of the document that needs to be notarized so I can assess if we
     accept such document?

    thanks
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 141 of 201 Page ID #:141




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #42




     Re: RED RIBBON &EMERGENCYTRAVEL DOCUMENT

     From: ATN-Philippine Consulate General Los Angeles <lapcg.atn(agmail.com>
    Thu 9/2/Z021 6:11 PM
    ~C.3iCti77~:i~~i~~r[~1

     N oted on this.

    can you email me the copy of the document that needs to be notarized so I can assess if we
    accept such document?



    thanks
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 142 of 201 Page ID #:142




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #43




     Re: RED RIBBON & EMERGENCYTRAVEL DOCUMENT

    17~.Ti7iti1:l~~~~1~~~~[~
    Thu 9/22021 6:38 PM
    To: ATN-Philippine Consulate General Los Angeles
    ZOMOM,GQ - EJS Revised.pdf 100 KB
    20MOM,GQ - Power of Attorney.pdf 56 KB
    Show all 2 attachments(156 KB)Download all Save all to OneDrive

     Officer Mendoza,

    Here are the two documents that need your Red Ribbon notarization.
    They are to be filed in the Regional Trial Court, Quezon Province.

    Awaiting your reply on an appointment around 1:30PM for the 7th of September, if possible

    Sincerely,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 143 of 201 Page ID #:143




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #44




     Re: RED RIBBON & EMERGENCYTRAVEL DOCUMENT

    Translate message to: English ~ Never translate from: Filipino

    From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnCa~gmail.com>
    Thu 9/Z/2OZl 7:05 PM
    To: ROBERTS JUSTICE

     yes, pwede po Basta dumating kayo n~ before 3 pm.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 144 of 201 Page ID #:144




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #y5




     On Thu, Sep z, 2021 at 6:41 PM ROBERTS JUSTICE <roberts~usticeC~live.com> wrote:

     Officer Mendoza,

    Here are the two documents that need your Red Ribbon notarization.
    They are to be filed in the Regional Trial Court, Quezon Province.

     Awaiting your reply on an appointment around 1:30PM for the 7th of September, if possible

    Sincerely,

     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 145 of 201 Page ID #:145




                           LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                         EMAIL #46




     Re: RED RIBBON &EMERGENCY TRAVEL DOCUMENT

     Translate message to: English ~ Never translate from: Filipino

     From: ROBERTS JUSTICE
     Thu 9/2/2021 6:49 PM
     To: ATN-Philippine Consulate General Los Angeles

    Salamat, po.
    Paki confirm kung pwede ilipat ang appointment ko sa 1:30PM ng September 7.
    Ang appointment ko ay kasalukuyang nakalagda ng 10:OOAM.
    Kailangan ko pong sumakay ng train gating sa Orange County at baka magipit at hindi makaabot.
    Paki email nalang ninyo ako.
    Salamat sa inyong tulong.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 146 of 201 Page ID #:146




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPIfVES
                                      EMAIL#47




     On Thu, Sep 2, 2021 at 6:52 PM ROBERTS JUSTICE <robertsjustice(a~live.com> wrote:

    Salamat, po.

    Paki confirm kung pwede ilipat ang appointment ko sa ~:3oPM ng September 7.
    Ang appointment ko ay kasalukuyang nakalagda ng ~ O:OOAM.
    Kailangan ko pond sumakay ng train ~alin~ sa Orange County at 6aka ma~ipit at hindi
    m akaabot.
    Paki email nalan~ ninyo ako.

    Salamat sa inyong tulon~.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 147 of 201 Page ID #:147




                         LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                       EMAIL#48




     Re: RED RIBBON & EMERGENCYTRAVEL DOCUMENT

     Translate message to: English ~ Never translate from: Filipino

     From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnC~gmail.com>
    Thu 9/2/2021 7:05 PM
    ~[•~:ZiI]~:i~~11~~~[~1

     yes, pwede po Basta dumating kayo n~ before 3 pm.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 148 of 201 Page ID #:148




                                           LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                                         EMAIL #49




     Re: RED RIBBON & EMERGENCYTRAVEL DOCUMENT

    Imo•,7~iGZiIl~l i~~l~~~r[~
    Thu 9/Z/2021 7:39 PM
    To: ATN-Philippine Consulate General Los Angeles
    Bcc: Linda Rose Pedero



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     ~      ~ V'.            r             y~

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                    '            t         ;j

                                      a:


    I MG_5485.JPG"1 drv.ms




     ,.._      c..,....~..




    Z attachments

    Maramin~ salamat, po.
    Luluwas po ako ng maa~a at tutuloy ako agad sa opisina ninyo.
    Kung ano mangy oras akong makaratin~, ma~papakilala nalang ako sa security guard.

    Matanon~ ko po sa inyo.
    Dahil kailan~an ko pond makabalik sa Pilipina upang maayos ko ang estate n~ aking namatay
    na ina.
    l yon~ unan~ pasaporte ko ay nawala Hang na-forclose and storage locker ko.

    Tini~nan ko ang listahan ng mga kailan~an upan~ makakuha n~ bagong(replacement)
    pasaporte.
    Kamalasan Haman,iyong m~a tamang dokumento na pwedeng maipakita sa inyo nanakaw sa
    isan~ burglary.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 149 of 201 Page ID #:149




     Ito po and parte n~ police report nakasilid dito sa email.

     IUakakuha na po ako n~ birth certificate dahil pwedeng makuha online.
     N akita po ninyo iyon sa nakalipas na email sa inyo.
     N gunit and baptismal ko at high school records ko ay hindi ko makuha.
     Sa kasalukuyan ay homeless ako at wala pang trabaho.
     Sa madalin~ salita, wala po akong pondo para makakuha Hung iba pang dokumento na Hasa
     Pilipinas.
     Kung maipakita ko po and police report at mapatunayan ko sa aking pananalita na ako'y
     Pilipino,
     pwedo ho ba ninyo akon~ tulungan~ makabalik sa Pilipinas?


     And inyon~ linkod,
     ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 150 of 201 Page ID #:150




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #50




     R E: ZND REQUEST FOR IMMEDIATE RESPONSE

     From: Philippine Consulate of San Diego <admin(aphconsulatesd.org>
    Fri 9/3/021 9:15 AM
    To: ATN-Philippine Consulate General Los Angeles +1 other
    Cc: robertsiustice[~live.com

     Good morning,

     HonCon forwarded the request to ConGen and was informed that Mr. Lacambra's request will
     be handled by the Assistance to Nationals team,

    Sincerely,
    Kateryna Borge ~ Administrator
    Philippine Consulate, San Diego County




     ~
     ~~
    701 B Street, Suite 1745
    San Diego, CA 9Z'101
    Phone:(619)241-21 14
    Fax:(619)70z-9401
    admin(aphconsulatesd.org
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 151 of 201 Page ID #:151




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                             EMAIL #51




     R E: ZND REQUEST FOR IMMEDIATE RESPONSE

     From: Philippine Consulate of San Diego <staffcaphconsulatesd.or~>
     Tue 9/72021 3:45 PM
     To: ATN-Philippine Consulate General Los Angeles
     Cc: robertsjustice(~live.com; Philippine Consulate of San Diego

    R E: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST
    601 KB

     Apologies for the delayed response. Please refer to the attached email.

    Thank you so much for your assistance with this.



    Sincerely,
    Ria Esteban Staff Member
    Philippine Consulate, San Diego County




    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-21 14
    Fax:(619)702-9401
    admin(adecastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 152 of 201 Page ID #:152




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                      EMAIL #5Z




     RE: PASSPORT INQUIRY OR EMERGENCYTRAVEL REQUEST

    Some content in this message has been blocked because the sender isn't in your Safe senders
    list. Show blocked content
    Some content in this message has been blocked because the sender isn't in your Safe senders
    list.

     From: Philippine Consulate of San Diego <staff(aphconsulatesd.org>
    To:~atnC~~mail.com
        Iapce
    Cc: dyanmiranda.pastrana (dyanmiranda.pastrana(~gmail.com)'; Philippine Consulate of San
    Diego




    H i Ms. Hazel,

    Good afternoon. Are you able to assist this constituent who is unable to provide supporting
    documents for his emergency travel request. I had attached his mother's death certificate for
    your perusal. Or if you can direct me to the right department please. My apologies for the
    added work.

    Sincerely,
    Ria Esteban Staff Member
    Philippine Consulate, San Diego County

    701 B Street, Suite 1745
    San Diego, CA 92101
    Phone:(619)241-21 14
    Fax:(619)702-9401
    admin(~decastropc.com
    www.decastropc.com
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 153 of 201 Page ID #:153




                        LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                            EMAIL #53




     PRE-LITIGATION MEET &CONFER

    R08ERT5 JUSTICE
    Thu 9/16/zOzl 9:10 PM

    To: Honcon(~phconsulatesd.org; Philippine Consulate of San Diego +4 others
    Bcc: Linda Rose Pedero
    Z1 PHI, COR -Pre-Litigation Meet & Confer.pdf 61 1 KB
    Z1 PHI, DEC - Adetoro v. King Abdullah Academy.pdf 1 MB
    Show all 2 attachments(Z MB)Download all Save all to OneDrive

    Sir/Madam,

     Please find the following documents served to you herewith:
        1. Pre-litigation Meet &Confer Letter
        2. USDC Decision - Adetoro v. Kind Abdullah Academy

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 154 of 201 Page ID #:154




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL #54




    From: ATN-Philippine Consulate General Los Angeles <lapcg.atn(a~mail.com>
    Sent: Friday, September 17, 2021 9:47 AM
    To: ROBERTS JUSTICE <robertsjustice(~live.com>
    Cc: Honcon(aphconsulatesd.or~ <HonconCo~phconsulatesd.org,>; Philippine Consulate of San
    Diego <admin(aphconsulatesd.org>; Kateryna Bore(kborgeCo~decastropc.com)
    < kborgeC~decastropc.com>; Philippine Consulate of San Diego <staff(o~phconsulatesd.org>;
    admin_philcon~enlaC~gmail.org <admin.philcongenla(agmail.org>
    Subject: Re: PRE-LITIGATION MEET &CONFER

     Good day,

    This is to acknowledge receipt of your email dated 16 Sep 2021 on Pre-Litigation Meet and
    Confer.

    Per your attached document,the lawsuit is against Kind Abdullah Academy, a Saudi Arabian
    international school in Virginia, and the Saudi Embassy in the U5. The court's instruction is for
    the plaintiffs to comply with the service requirement to theForei~n Ministry of Saudi Arabia.

    If you are one of the teachers involved in the case,the service requirement should be
    addressed to the Saudi Foreign Ministry, as the diplomatic mission involved in the case is the
    Saudi Embassy, not the Philippine Embassy. Also, if any of the plaintiffs is a Filipino, then
    they should be advised to visit the Philippine Embassy in Washington, D.C., to determine
    w hether assistance can be extended to him/her in this case.

    If the documents are related to this case, the Philippine Consulate cannot notarize said
    documents. You may have your documents Apostilled by the Secretary of State where the
    documents were executed to be accepted by the Royal Embassy of the Kingdom of Saudi
    Arabia in the US.

    Thank you and kind regards
    Assistance-to-Nationals Section
    Philippine Consulate General in Los Angeles
    3435 Wilshire Blvd, Suite 550
    Los Angeles, CA 90010
    Desk: +1 (Z13)637-3024
    Mobile: +1 (Z13)587-0758
    Website: philippineconsulatela.org

    Follow us in Facebook: Philippine Consulate General in Los Angeles
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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 156 of 201 Page ID #:156




                         LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                       EMAIL#55




     Re: PRE-LITIGATION MEET &CONFER

    :I Ti7]~li~~11~~~
    Fri 9/17/2021 1 1:Z5 AM
    To: ATN-Philippine Consulate General Los Angeles
    Cc: Honcon(aphconsulatesd.org,+4 others
    Bcc: Linda Rose Pedero

     Sir/Madam,

    Your reply only demonstrates the continued misunderstanding we experience that may have
    led to my grievance.

    The case law "Adetoro v. Kind Abdullah Academy" was attached to signify the unique service
    of process requirements when suing a foreign sovereign. My letter sought to arrange service
    of the complaint and summons here in the United States, presumably by serving it to the
    consulate offices, instead of serving it to the Secretary of Foreign Affairs office in Manila.
    The lawsuit will be entitled Lacambra v. Republic ofthe Philippines, invoking an array of
    federal and state statutes for deprivations experienced in the course of my quest for a
    replacement passport. It will be lodged in the US District Court Central District of California
    on Monday the 20th of September.

    Let me repeat my request in this way: May I serve the complaint and summons to either the
    Los Angeles or San Diego consulate offices via electronic email?

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 157 of 201 Page ID #:157




                          LACAMBRA V. REPUBLIC OFTHE PHILIPPINES
                                        EMAIL #56




    From: ATN-Philippine Consulate General Los Angeles <Iapcg.atnCa~gmail.com>
    Sent: Friday, September 17,zOz1 3:53 PM
    To: ROBERTS JUSTICE <robertsjusticeCa~live.com>
    Subject: Re: PRE-LITIGATION MEET &CONFER

     Dear Mr. Lacambra,

    With reference to your previous email, we wish to inform you that as per our records,the
    Consulate General had provided you with advice and guidance concerning passport renewal
    as well as travel document issuance in view of your intention to return to the Philippines and
    your declaration that your passport had already expired. The Consulate had likewise
    accommodated you and provided you with an appointment for the consular service you
    require.

    As to your intention to file a suit against the Consulate General regarding our alleged failure
    to attend to your passport renewal, may we advise you instead to review the information
    provided to you re~ardin~ our passport renewal process and to comply with these
    requirements in order far you to secure a new passport.

    Thank you.
    Assistance-to-Nationals Section
    Philippine Consulate General in Los Angeles
    3435 Wilshire Blvd, Suite 550
    Los Angeles, CA 90010
    Desk: +1 (213)637-3024
    Mobile: +1 (213)587-0758
    Website: philippineconsulatela.org

    Follow us in Facebook: Philippine Consulate General in Los Angeles
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 158 of 201 Page ID #:158




                        LACAMBRA V. REPUBLIC OF THE PHILIPPINES
                                      EMAIL #57




    From: ROBERTS JUSTICE
    Fri 9/17/ZOZ1 4:Z3 PM
    To: ATN-Philippine Consulate General Los Angeles
    Cc: Honcon@phconsulatesd.org +9 others
    Bcc: Linda Rose Pedero

     Sir/Madam,

    Your recent reply is just another example of the stonewalling that you have used to deprive
    me of my right to return to the land of my birth.

    J ust as you suggested that I consult the list of documents for a replacement passport (all of
    w hich I have already presented to your colleague on the 19th), I will su~~estthat it is time
    that you refer this case to your legal department. Without trying to impugn your expertise,
    you are clearly outofyour depth.

     will take your reply as an answer in the negative and request the US District Court to serve
    the lawsuit package directly to the Secretary of Foreign Affairs in Manila.

    Sincerely,

    ROBERT LACAMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 159 of 201 Page ID #:159
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 160 of 201 Page ID #:160




    F   Fw: IN RE: PROMISED APPOINTMENT

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        Tue 8,31l2J21 t31 Pld
        To: ATN-Philippine Consulate General Las Mgeles




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        Ta: ?hilippine Consuls.=_ of San Dievo <staff~phconsulatesd.wy>; Philippine Consul eta o.San D;eso <admin[~phmnsulatesd.ore>; admin.philcorae Na~~maii.orY <aymin.philwng=n!a¢BmaiLora
        Subjea:IN RE: P70MISED APPOINTMENT

        Sir/Madam,

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        Sinrerely,

        ROBERTfACgMBRA
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 161 of 201 Page ID #:161




                                          ROBERT LACAMBRA
                                                I NDIGENT LITIGATOR
                                               NO CURRENT ADDRESS
                                              robertsjustice@live.com




    August 30, 2021

    Philippine Consulate General
    3435 Wilshire Blvd Ste 550
    Los Angeles, CA 90010 U.S.A.

    VIA EMAIL TRANSMISSION TO:
    staff@phconsulatesd.org
    admin@phconsulatesd.org
    admin.philcongenla@gmail.org

    Sir/Madam,

    This letter responds to correspondence from your office cancelling my appointment with the consulate
    office in San Diego. The reason stated was that the San Diego office was not authorized to process
    passport applications. In the email, your office stated that my information is being forwarded to the
    consulate office in Los Angeles who will in turn set an appointment for me. The correspondence was
    received on the 16th of August, 2021. As of today, no such communication from the Los Angeles
    consulate office pertaining to an appointment or any other matter has been received.

    The appointment with the San Diego office was made for two reasons: First, to obtain Red Ribbon
    conformance for documents to be filed at the Regional Trial Court, Quezon Province. Second, to obtain
    emergency travel documents for my return to the Philippines. Previous communications with the San
    Diego office made it clear that the reason for my trip was to settle my mom's estate in the Philippines.
    She died in December of 2020.

    Having said that, the appointment cancellation cannot be viewed as anything less than irregular as a
    Philippine passport was not being sought, only emergency travel documents. Based on a review of your
    website, a request for Red Ribbon conformance and emergency travel documents are well within the
    scope of the services offered by the San Diego consulate office. This abrupt and unilateral cancellation of
    m y appointment has caused undue harm including, but is not limited to:

        1.   Incurring cancellation fees for train reservations amounting to $14.67
        Z.   Delaying a pending real property transaction in the Philippines.
        3.   Delaying the final resolution of my decedent mother's estate.
        4.   Obstructing judicial proceedings at the Regional Trial Court in Quezon Province.
        5.   Denying the return of a Philippine national back to his own country.

    The highly undesirable situation your actions have caused cannot be overstated, as none of the services
    requested are available anywhere else without considerable cost and inconvenience. This is particularly
    true for an individual who, like myself, is homeless and is seeking a way back to the country of his birth.
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 162 of 201 Page ID #:162




     For the time being, we shall dispense with the customary threats of legal action that situations like these
     usually warrant. However, having explained the circumstance that we find ourselves, I trust that the
     consulate will treat this with all seriousness and accord it with all possible dispatch.

     Sincerely,

    /s/ Robert Lacambra

     ROBERT LACAMBRA



     ATTACHMENTS:

     Train tickets to/from SNA to SAN

     Cancellation of tickets w/ cancellation fee

     Birth Certificate of Robert Lacambra
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 163 of 201 Page ID #:163




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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 166 of 201 Page ID #:166
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 167 of 201 Page ID #:167




    ~      2ND REQUEST FAR IMMEQIATE RESPONSE

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           Sincerely,

           fi08FRT LACAMBr~A
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 168 of 201 Page ID #:168




                                          ROBERT LACAMBRA
                                                I NDIGENT LITIGATOR
                                               NO CURRENT ADDRESS
                                              robertsjustice@live.com




     August 30, 2021

    Philippine Consulate General
    3435 Wilshire Blvd Ste 550
    Los Angeles, CA 90010 U.S.A.

    VIA EMAIL TRANSMISSION TO:
    staff@phconsulatesd.org
    admin@phconsulatesd.org
    admin.philcongenla@gmail.org

    Sir/Madam,

    This letter responds to correspondence from your office cancelling my appointment with the consulate
    office in San Diego. The reason stated was that the San Diego office was not authorized to process
    passport applications. In the email, your office stated that my information is being forwarded to the
    consulate office in Los Angeles who will in turn set an appointment for me. The correspondence was
    received on the 16th of August, 2021. As of today, no such communication from the Los Angeles
    consulate office pertaining to an appointment or any other matter has been received.

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    conformance for documents to be filed at the Regional Trial Court, Quezon Province. Second, to obtain
    emergency travel documents for my return to the Philippines. Previous communications with the San
    Diego office made it clear that the reason for my trip was to settle my mom's estate in the Philippines.
    She died in December of 2020.

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        2.   Delaying a pending real property transaction in the Philippines.
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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 169 of 201 Page ID #:169




     For the time being, we shall dispense with the customary threats of legal action that situations like these
     usually warrant. However, having explained the circumstance that we find ourselves, I trust that the
     consulate will treat this with all seriousness and accord it with all possible dispatch.

     Sincerely,

    /s/ Robert Lacambra

     ROBERT LACAMBRA



     ATTACHMENTS:

     Train tickets to/from SNA to SAN

     Cancellation of tickets w/cancellation fee

     Birth Certificate of Robert Lacambra
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 170 of 201 Page ID #:170




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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 173 of 201 Page ID #:173
Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 174 of 201 Page ID #:174
                                                                              REPUBLIC OF THE PHILIPPINES
                                                                                                                                            NOT FOR SAL
            ~r                                                              DEPARTMENT OF FOREIGN AFFAIRS
    ~'~~~ ~"                                                                AFFIDAVIT OF SUPPORT

                                                                                                                                                      DATE
  'hwuN,w.aw~+
                             Foreign Service Post:                                                                                           ~Ex. January oi,2oi z)


                                                                           AFFIDAVIT OF SUPPORT

                                                                                                                                           citizen,

        of legal age, holder of passport no.                                                                  ,and presently residing at



        after having been duly sworn to in accordance with the law, do hereby depose and say:


                    1.            That I am presently working as a/an

                                    at                                                                                          with address at



                    2.            That I would like to invite my




                                    Filipino national, of legal age, and presently residing at

                                                                                                                                      Philippines,

                                    to come and visit in                                                  ;

                   3.            That I will take full responsibility for all his/ her expenses, subsistence and accommodation
                                 throughout the duration of his/her stay and ensure that he/she will not become a public
                                 charge while on travel;

                   4.            That I am executing this affidavit for whatever legal purpose it may serve.

                    I N WITNESS WHEREOF, I hereby affix my signature this                                        day of

       in the year                                              in



       PHILIPPINE EMBASSY
       CONSULAR SECTION                                )S.S.                                                         Signature of Affiant
                                                       1

       SUBSCRIBED AND SWORN to before me this                                              day of                           in the year

       in                                                       ,affiant having exhibited to me his/her                     passport no.

       issued in                                                            on                            and valid until

     :..................................................................
     :Doc. No:
     :Service No.:
      O.R. No.:
     :Fee Paid:
     :.................................................................:
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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 177 of 201 Page ID #:177
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Case 8:21-cv-01563-CAS-KES Document 1 Filed 09/23/21 Page 179 of 201 Page ID #:179
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                                                                                 PHILIPPINE CONSULATE GENERAL
       DEPARTMENT OF FOREIGN AFFAIRS                                   ~            LOS ANGELES, CALIFORNIA                                                                              PASSPORT APPLICATION FORM
       Office of Consular Affairs                                                                                                                                                                 THIS fORM IS HOT FOR SALE
       Revised as of 06 JUNE 2020                                                ff, ~                                                 ADULT APPLICANT                                    MINOR APPLICANT"
       I NSTRUCTIONS:                                                                                  ~+                                  (Check One)                              ••below 18 yeprs old (Check OneJ
      • Read CAREFULLY.                                              ~~ ^~"~                       ~~ v'              NEW APPLICANT                                                 'JNEWAPPLICANT
      • Please PRINT entries legibly using black or blue ink o~lv.
                                                                                                                   ~gENEWA~                                                         ORENEWAL
      • Supply the necessary information.
      • Indicate "N/A" for entries with no answers.                                                                X1057 PASSPORT                                                   ❑LOST PASSPORT

      • Tick boxes a5 appropriate.                                                                                 ❑DUAL CITIZEN UNDER R.A. 9225                                    ❑DUAL CITIZEN UNDER R.A.9225

                                                                                                   APPLICJINT'S PASSPORT DEfAllS                                                                _
               lATFST PASSPO RT NUMBER                     I          DATE ISSUED                               $TATU$OF CURRENT PASSPORT(CHECK ONE, LEA VE B[ANK IG NEW PASSPOFI APFLI[AN ~J
                                                           ~                                       - Passpon Intact       L Lost Valid Passport  E Lost Expired Passport          ❑Damaged Passport
                                                                                                       APPLICANTS IDENTRV
       NAME TO BE PRINTED IN                                        LAST NAME                               FIRST NAME(INCLUDE SUFFIX, I.E. lR.,111 etc.J                                        MIDDLE NAME
       YOUR NEW PH PASSPORT
                                           ~CAMBRA                                                          ROBERTO               A
                                                                                                                                  ,
                                                                                                                                 (7 ~ L~ ~IC/                                      L ~~~~7 C~ O
  ~      SIX jCHEIX ONEJ                 DATE OF BIRTH (MONTH-DAY•YEAR)(Ex. IUtY 131%I!                     PLACE OF BIRTH (IF BOFN WITHIN THE PHILIPGINES. WRI7F TH£MUNICIFAUTY/CITY AND VROVINCE is BORN
        Y MALE .:.IFEMAIE                                                                                   OU73fOE THE PHILIFGINES, WRITE THE COUMItY)
                                      SEPTEMBER 25, 1965                                                    MAKATI,PHILIPPINES
       CMl5TAN5                 _ SINGIE          —' MARRIED         `WIDOW/ER             ❑ANNULLED/NUIUFIE~ 8Y PHILIPPINE COURT                     L DIVORCE/ANNULMENT RECOGNIZED BV PHILIPPINE COURT
        NAME Of APPLICANT'S SPOUSE                                                                                                                    SPOUSE'S CRIZENSHIP

       ARF 1HEREOiANG6lN                    ~~VES              RE/lSONS FOR NAME CHANGE     ❑ PH GOVT REPORTED     FEMALE APPLICANT OPTED   ❑YES                   ❑ NO
       YOUR NAME?(CHECK ONE1                ? NO               (CHECK ONE;PRESEM CERTIFIED COPYJ
                                                                                           MARRIAGE                TO USE MAIDEN SURNAME    (If YfS, APPLICANT TO PUT INITIALS
                                                                                            ❑ PH COURT ORDER                                HERE:)
                                                    APPLIUNT'S CONTAR INFORMATION (FOR MINORS,INDICATE PARENT'/GUARDIAN'S CONTACT INFORMATION)
       US.HOMEADDRESS
                                  HOMELESS
 !i PHONE NUMBER                                       EMAIL.                                                     EMERGENCY CONTAR    NAME
                                                             robertsjustice@live.com                                                                                                          PHONE NUMBER
                                                                                                                  INFORMATION        N ELSON LACAMBRA                                         ~
                                                                                                   APPl1CANr'S PARENTAL HISTORY
                 FATHER                                 LAST NAME                                    FIRST NAME                    MIDDLE NAME                                            CITIZENSHIP AT THE TIME OF
       (FILL UP EVEN IF DECEASED;
                                             u+CAMBRA                                NELSON                                                                                                   APPLICANT'S BIRTH
            N/A If UNKNOWN)                                                                                                             AGCAOILI
                                                                                                                                                                                      FILIPINO
                 MOTHER                            MAIDEN UISf NAME                                 FIRST NAME                                      MIDDLE NAME                            CITIZENSHIP AT THE TIME OF
       (FILL UP EVEN IF DECEASED;
                                                                                                                                                                                               APPLICANT'S BIRTH
            N/A If UNKNOWN)                  LAGDAMEO                                 LINDA                                              KIRKWOOD
                                                                                                                                                                                      FILIPINO

                                                             MODE OF ACQUIRING PHILIPPINE CITIZENSHIP(CHECK ONE)
        r BY BIRTH TO FILIPINO PARENT/5 ~ BY NATURALIZATION AS A FILIPINO ❑ BY ELECTION AS
                                                                                           A FILIPINO ❑ BY RECOGNITION AS A FILIPINO ❑ BY DUAL CITIZENSHIP UNDER R.A.
                                                                                                                                                                      9225
                  BIRTH STATUS (CHECK ONE)                              = IEGRIMATE                    ❑ILLEGITIMATE                       C LEGRIMATED BY PARENTS SUBSEQUENT MARRIAGE
         ARE YOU CURRENTLY A CRIZEN OF ANOTHER COUNTRY?                               DID YOU EVER LOSE YOUR PHILIPPINE CITIZENSHIPT                               HAVE YOU SERVED IN ANY FOREIGN MILRARY7
        ~ YES ~iF YES, FROM WHAT COUNTRY?)                                         ❑ yE5 CIF YES, FROM WHAT COUNTRY?)                                         ❑ VES(IF YES, FROM WHAT COUNTRY?)
          NO                                                                       ❑ NO                                                                       D NO
        DISl7NGU1SHING MARKS ON THE FACE                          TANNED BECAUSE OF HOMELESS LIVING
                                                                                       FOR MINOR APPLICANTS ONLY:
       Is the Minor subject of an adoption proceeding or in the partial/full care and custody of
                                                                                                 an orphanage?
                                                                                                     Is there any court order or legal arrangements pertaining to the
       ', YES. (IF YES, PLEASE PROVIDE PERTINENT DOCUMENTS)               ❑ NO                                                                                        Minor?
                                                                                                     ❑YES. (IF YES, VLEASE PROVIDE PERTINENT DOCUMENTS)                ❑ NO
                                   All passport applications processed after 19 March 2020 will
                                                                                                   be released by mail only.
  ~           Kindly bring along with your other documents, a USPS envelope
                                                                                 that is self-addressed with sufficient prepaid postage for
                                                                                                                                                       USPS tracking.
                                                    DECLARATION OF APPLICANT OR PARENT/GUARDIAN OF MINOR APPLICANT

          HEREBY DECLARE AND AFFIRM THAT(1) I/the minor applicant am/is a Filipino
                                                                                              citizen;(2) I am the parent or legal guardian
       of the minor applicant;(3)The information provided in this application is true and conect;
                                                                                                  (4)The attached supporting documen s
       are authentic; (5) I consent to the verification by the Philippine Government of the information I
                                                                                                             provided to establish my/the
       minor applicants personal particulars and further consent to the use of said information for any lawful
      that the information provided in this application will be treated in accordance with relevant
                                                                                                                  purpose;(6) I am aware                                                     ~-~m 1~ r
                                                                                                      privacy regulations; (7) I am aware                                ~~
      that under the law, Ilthe applicant am/is only allowed to hold one valid regular Philippine passport a!                                                                   ERT L~C~M~
                                                                                                              a given time;(8) I am aware                                                                   ~
      that making false statements in this passport application and furnishing falsified or forged documents
                                                                                                                 are punishable by fine or                               SIGNATURE OVER PRINTED NAME OF
      imprisonment, and grounds for suspension or denial of application;(9) I understand and accept that the
                                                                                                                   release of the passport                               APPLICANT OR PARENT/LEGAL GUARDIAN
      could be subject to delay due to unforeseen events beyond the control of the Department of Foreign Affairs.
                                                                                                                                                                         DATE SIGNED: ~~~05 ~2~
      pp MQf yypJTE 1pDW TNIS U1E EON ME COIlSUU7F GEMEIIAL'S IlSE ONl'/.

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                                ORANGE, CA 92863
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                    CONSULATE GENERAL OF THE REPUBLIC OF THE PHILIPPII~tES
          ' ~`      LOS ANGELES
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                                                ACKNOWLEDGMENT
                           BEFORE ME, MARIA ALNEE A. GAMBLE, CONSUL in the City of
                    Los Angeles, California, U.S.A., on this day of 07 SEP 2021, personally
                    appeared:
   ~~
                                            ROBERT NELSON L. ~ACAMBRA

                    with CALIFORNIA DL NO. C3301950 EXP ON 25 SEPTEMBER 2025
                    known to me to be the same persons) who executed the annexed
                    instrument of SPECIAL POWER OF ATTORNEY and being inforrned by
                    me of the contents of said instrument, he/she/they acknowledged and
                    swore before me that he/she/they executed the same of his/her/their own
                    free will and deed for the use and purpose therein set forth.

                    For the contents of the annexed document, this Consulate General assumes
                    no responsibility.

                          I N WITNESS WHEREOF, I have hereunto set my hand and affixed
                    the seal of the Consulate General of the Republic of the Philippines in Los
                    Angeles, California, U.S.A., on the above date.



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                                                                                Republic of the Philippines


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                                   SPECIAL POWER OF ATTORNEY
            f~NOW ALL MEN Bl' THESE PRESENTS:
                            s~vBEczC NEiso~-1 ~.• L.P~nMB~ A~
                    That I, ROBERTO NELSON L. LACAMBRA, of legal age, Filipino,
                                                                                        and presently
            h omeless in the Cit}• of Orange and whose mailing address
                                                                         is General Delivery 1075 N.
            'Rzstin Si. Orange CA 92863, do hereby name, constitute and appoint,
                                                                                         and by these
            presents, have NAMED, CONSTITUTED and APPOINTED my cousin
                                                                                     LINDA ROSE L.
            PEDERO, of legal age, married, Filipino, and with residence and
                                                                                 postal address in 39
            Firefly St. Unit 304, Vine Villas Condominium, Valle Verde 6, Pasig City 1604,
                                                                                               to our
            true and lawful attorney-in-fact for us and in our names, place, and stead, and
                                                                                              for our
            o~~~n use and benefits, to do and perform any of the following acts:

                    1. To make, sign or execute Deed of Extra-Judicial Settlement of Estate of
             Aurora Lagdameo and Adela Lagdameo, and the Deed of Partition/Segregation of
             Estate of Aurora Lagdameo and Adela Lagdameo, in my capacity being one of the heirs
             of Linda K. Lagdameo who in turn was one of the heirs Aurora and Adela Lagdameo,
             consisting of real property situated in Barangay Calimpak, Guinayangan, Quezon,
             Philippines;

                    2. To make, sign or execute represent me in the pending case for Expropriation
             under Special Civil Action No. 1205-C pending before the Regional Trial Court of
             Calauag, Quezon, and to represent us in the negotiation for the termination of the
             case, with authority to make, sign or execute Compromise Agreement, subject to such
             reasonable terms that may be agreed upon by parties, in order to terminate the said
             case;

                    3. To offer and negotiate for sale with prospective bu}•er/s my share as one of
             the heirs of Linda K. Lagdameo in the real property covered by Transfer Certificate of
             Title No. T-63020, situated in Brgy. Calimpak, Guinayangan, Quezon, with authority
             to make, execute or sign in a deed of conveyance for my aforesaid share, and to
             perform such other task as may be required or necessary for the purposes this
             authorization is issued.

                    HEREBY GIVING AND GRANTING unto my said attorney-in-fact full power and
             authority to do and perform all and every act and thing whatsoever requisite and
             necessazy to be done in and about the premises, as fully, to all intents and purposes,
             as 1 might or could do as if personally present, with all the power of substitution and
             revocation, and hereby ratifying and confirming all that my said attorney or her
             substitute shall lawfully do or cause to be done as if 1 were personals}~ present.

               IN W[TNESS WHEREOF, I have hereunto set our hand this TTY''` day of
             ~~~~ , 2021 at ~~~       —~~S_ ~ USA


             tZG~EQT NEL~~~ L • ~-~-UMBRA
             ROBERTO NELSON L. LACAMBRA
                      Principal


             With my confornvty:



            LINDA ROSE L. PEDERO
                     Attorney-in-fact



                                                   Witnesses
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                                    AFFIDAVIT OF LOSS OF PASSPORT


              The    undersigned, Filipino citizen,         single/married, presently residing at
         N~vt~~~Ss ~N -~-~~ ccN o~ r~c~n.~E                              after having duly sworn to in
        accordance with law, hereby deposes and says:

               That the undersigned was issued Philippine Passport No. ~~~               by the
        Department of Foreign       Affairs in    Manila/Consular    Extension Office/Philippine
        E mbassy/Consulate in ~`^~"-~             on    ~.uW<+.rp.~hl

               That said   passport was lost on ~"~8           bR   2~x-~            under the following
        circumstances:
                   F-~AD JL.1•SC- REGrr~TL~ P~~/~~ F-~~TA~~SS A ~ ~H~ TIME. .
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                ~ NGLt~~~~~ M~         PASSR~R~




               That the undersigned exerted all efforts possible to locate said passport to no avail;

               That the undersigned fully understands that the said passport is automatically deemed
        cancelled upon declaration of loss, and that if found, it can no longer be used;

                That undersigned is executing this affidavit of loss in connection with his/her present
        a pplication for a new passport;

               That further Affiant/s sayeth none.

              I N WITNESS WHEREOF, undersigned hereby affixes his/her                       signature   this
             ~~       day of S~v`~g~.~ in Lis t~~'~S. ,USA.
                                                      CA
                                                                ~-~1
                                                                —~L—o,ca.M h~
                                                                                    Affiant

                      SUBSCRIBED AND SWORN to before me this _               day of
        in                     USA. The Affiant having exhibited to me his/her Identification card No.
                         issued on                        at




                                                                 Adm   stering Officer/Notary Public
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                A notary public or other officer completing this certificate verifies only the identity of the individual who signed the   I
                document to which this certificate is attached, and not the truthfulness, accurary, or validity of that document.



           State of California
            County of Los Angeles

           Subscribed and sworn to (or affirmed) before me on this~day of                                                       20~




           whc p.oved .o me o^the basis szLisfactory~ evidence to be the persor~l who appeared before me

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                        `"                                                                                     JUDY A. LAYLAND
           AFFIDAVIT OF LOSS OF PASSPORT                                                      ~
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                                                                                                               NOTARY PUgUC ~Cq~Fpq~ L~
                                                                                                                LOS ANGELES COUNTY
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                                                                                                                               26.2022
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                           655 S Main St Ste 200
                              ORANGE, CA 92868
                                714--543-645


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              Term: 9/17,'21 to 3/17,'22

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